            Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 1 of 281




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                            GREENBELT DIVISION

RAMI KHALED EL ALI, by and through
his guardian Mariam Ahmad Ghaddar;
MIA KHALED EL ALI; by and through
her guardian Mariam Ahmad Ghaddar;
KHALED EL ALI;
MUTASEM JARDANEH;
JOHN DOE;                                    Case No. 8:18-cv-02415-PX
BILAL ABDURRASHID;                           Hon. Paula Xinis
MOHAMMAD PARYAVI;
HAWA WEHELIE;                                FIRST AMENDED COMPLAINT
ABDIRIZAK WEHELIE;                           FOR INJUNCTIVE AND
SHAMSA HASHI NOOR;                           DECLARATORY RELIEF
FATIMA WEHELIE;                              AND DAMAGES
MAHAD MOHALLIM;
MOUSTAFA EL-SHAHAT;
FARID SULAYMAN;
FADI SULIMAN;                                JURY TRIAL DEMANDED
JOHN DOE 2;
BABY DOE, by and through
his guardian Father Doe 2;
CHILD DOE, by and through
his guardian Father Doe;
CHILD DOE 2, by and through
her guardian Father Doe;
HASHEM NADER SEHWAIL;
MOHAMAD ALBADAWI;
HICHAM HALL;
FAATIMAH KNIGHT;
KHALIL THADI;
ESMAEEL PARYAVI;
FARAZ SIDDIQUI; and,
ZIJAD BOSNIC;                                                            Formatted: Font: Bold
ABDU WAKIL CYEEF DIN
MIRRAKHMAT MUMINOV
ANISA MUJANOVIC
MOHAMAD HACHEM;
ASHRAF RIAD;
MUSTAFA KAMEL;
ALAA ABUNIJEM;
ABDALJALIL HIJAZ;
ABDALLAH SOUEIDAN;
ABDELMONIEM ELAMIN;
                                     1
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 2 of 281




HASSAN SHIRWA;
IMAD KADOUMI; and
FADHEL AL-SAHLANI,




       Plaintiffs,

       v.

JEFFERSON SESSIONSWILLIAM BARR,
Attorney General of the United States,
United States Department of Justice, in his
official capacity, only;

CHRISTOPHER WRAY, Director of the
Federal Bureau of Investigation, in his
official capacity, only;

CHARLES H. KABLE, IV, Executive
Assistant Director of the Terrorism
Screening Center, in his official capacity,
only;

RUSSEL TRAVERS, ActingJOSEPH
MAGUIRE, Director of the National
Counterterrorism Center, Office of the
Director of National Intelligence, in his
official capacity, only;

JOHN C. DEMERS, Assistant Attorney
General for National Security, National
Security Division, United States
Department of Justice, in his official
capacity, only;

BETH A. WILLIAMS, Assistant Attorney
General, Office of Legal Policy, United
States Department of Justice, in her
official capacity, only;

PETER A. WINN, Acting Chief Privacy and
Civil Liberties Officer, Office of Privacy
and Civil Liberties, United States


                                              2
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 3 of 281




Department of Justice, in his official
capacity, only;

DANIEL R. COATS, Director National
Intelligence, Office of the Director of
National Intelligence, in his official
capacity, only;

KIRSTJEN NIELSON, Secretary of
Homeland Security, United States
Department of Homeland Security, in her
official capacity, only;

KEVIN K. MCALEENAN, Commissioner,
United States Customs and Border
Protection, in his official capacity, only;

DAVID P. PEKOSKE, Administrator,
Transportation Security Administration,
United States Department of Homeland
Security, in his official capacity, only;

L. FRANCIS CISSNA, Director, United
States Citizenship and Immigration
Services, United States Department of
Homeland Security, in his official capacity,
only;

RONALD D. VITIELLOTRACY RENAUD,
Deputy Director, United States
Immigration and Customs Enforcement,
in hisher official capacity, only;

CAMERON QUINN, Officer, Office for Civil
Rights and Civil Liberties, United States
Department of Homeland Security, in her
official capacity, only;

DAVID J. GLAWE, Under Secretary, Office
of Intelligence and Analysis, United States
Department of Homeland Security, in his
official capacity, only;

JOHN MITNICK, General Counsel, United
States Department of Homeland Security,
in his official capacity, only;
                                               3
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 4 of 281




JAMES W. MCCAMENT, Deputy Under
Secretary, Office of Strategy, Policy, and
Plans, United States Department of
Homeland Security, in his official capacity,
only;

SAM KAPLAN,JONATHAN R. CANTOR,
Acting Chief Privacy Officer, Privacy
Office, United States Department of
Homeland Security, in his official capacity,
only;

MIKE POMPEO, Secretary of State, United
States Department of State, in his official
capacity, only;

JAMES N. MATTIS,PATRICK M.
SHANAHAN, Acting Secretary of Defense,
United States Department of Defense, in
his official capacity, only;

GENERAL PAUL M. NAKASONE,
Commander, United States Cyber
Command and Director, National Security
Agency/Chief, Central Security Service,
United States Department of Defense, in
his official capacity, only;

LIEUTENANT GENERAL ROBERT P.
ASHLEY, JR., USA, Director, Defense
Intelligence Agency, in his official
capacity, only;

STEVEN MNUCHIN, Secretary of
Treasury, United States Department of
Treasury, in his official capacity, only;

KEN BLANCO, Director, Financial Crimes
Enforcement Network, Office of
Terrorism and Financial Intelligence,
United States Department of Treasury, in
his official capacity, only;




                                               4
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 5 of 281




GINA HASPEL, Director, Central
Intelligence Agency, in her official
capacity, only;

WATCHLISTING ADVISORY COUNCIL;

UNIDENTIFIED FBI AGENTS, in their
individual capacities only; and,

UNIDENTIFIED CBP AGENTS, in their
individual capacities only;

        Defendants.
_______________________________________________________________________________________________________

                           FIRST AMENDED COMPLAINT FOR
                  INJUNCTIVE AND DECLARATORY RELIEF AND DAMAGES

                                     JURY TRIAL DEMANDED


        Plaintiffs Rami Khaled El Ali, by and through his guardian Mariam Ahmad Ghaddar,

Mia Khaled El Ali, by and through her guardian Mariam Ahmad Ghaddar, Khaled El Ali,

Mutasem Jardaneh, John Doe , Bilal Abdurrashid, Mohammad Paryavi, Hawa Wehelie,

Abdirizak Wehelie, Shamsa Hashi Noor, Fatima Wehelie, Mahad Mohallim, Moustafa

El-Shahat, Farid Sulayman, Fadi Suliman, John Doe 2, Baby Doe, by and through his

guardian Father Doe 2, Child Doe, by and through his guardian Father Doe, Child Doe 2, by

and through her guardian Father Doe, Hashem Nader Sehwail, Mohamad Albadawi,

Hicham Hall, Faatimah Knight, Khalil Thadi, Esmaeel Paryavi, Faraz Siddiqui, and

Zijad BosnicZijad Bosnic,          Abdu Wakil Cyeef Din, Mirrakhmat Muminov, Anisa

Mujanovic, Mohamad Hachem, Ashraf Riad, Mustafa Kamel; Alaa Abunijem, Abdaljalil

Hijaz, Abdallah Soueidan, Abdelmoniem Elamin, Hassan Shirwa, Imad Kadoumi, and

Fadhel Al-Sahlani, by and through their attorneys, CAIR Legal Defense Fund (“CAIR”), CAIR-                Formatted: Font color: Auto


Florida (“CAIR-FL”), CAIR-Michigan (“CAIR-MI”), CAIR-Washington (“CAIR-WA”), CAIR-New
                                                   5
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 6 of 281




Jersey (“CAIR-NJ”), CAIR-Minnesota (“CAIR-MN”), and Pastor & Associates, P.C., state as

follows:


                                        Introduction

       1.     The federal government has imposed a kind of second-class citizenship on the

Plaintiffs. Without charges, without arrests, without even an investigation sometimes—the

agency Defendants act in concert to deprive thousands of innocent Americans, mostly

Muslim, of their right to be free from a government that extrajudicially designates them as

worthy of permanent suspicion.

       2.     That permanent suspicion, embodied in the federal government’s watchlisting

enterprise, has sweeping consequences for the Plaintiffs as well as the more than one million

others who bear it.      They are separated from their children, denied employment

opportunities, prevented from traveling by air to attend weddings and funerals, and denied

or delayed immigration benefits. The rights of Plaintiffs to purchase firearms, to wire money

and keep a bank account, to receive their passports and be granted visas are all constrained.

For several Plaintiffs, the Defendants’ actions have diminished his standing and ability to

provide religious leadership to his community. For others, Defendants have leveraged their

presence on the No Fly List to coerce them into becoming informants against the Muslim

community.

       3.     Through an interagency watchlisting system, led by Defendants’ Watchlisting

Advisory Council, the Defendants have identified the Plaintiffs as worthy of permanent

suspicion, imposing burdens and disabilities on them in all aspects of their lives.




                                              6
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 7 of 281




       4.      In deciding to target the Plaintiffs, the watchlisting system behaves lawlessly,

acting absent Congressional approval and oversight, and even in direct opposition to

Congressional directives.

       5.      To identify its targets, some parts of the watchlisting system, such as the

Terrorism Screening Database (“TSDB”), utilize a nonsense-on-stilts inclusion standard that

is always satisfied. Other parts, such as the TSA’s Quiet Skies initiative – —a program that

also behaves lawlessly and without Congressional approval and oversight – —and other

“rules-based” lists, do not use any standard and instead rely upon the inarticulate hunches

of federal officials, rank profiling, and vulgar guilt-by-association practices.

       6.      Through their watchlisting system, the federal government makes it known—

to every law enforcement agency in the country, every part of the federal government, more

than 60 foreign countries, an unknown number of private companies, international bodies,

and other third parties—that the Plaintiffs should be treated as dangerous threats. The

Plaintiffs’ friends, family, and others with whom the Plaintiffs associate are punished for

their relationship with a watchlisting system’s target.

       7.      Plaintiffs and almost all others targeted by the watchlisting system have never

been arrested, charged, or convicted of any type of terrorism-related offense. Nonetheless,

the federal government has designated them as “known or suspected terrorists,” wreaking

havoc on Plaintiffs’ personal, religious and professional lives.

       8.      The Defendants know that their watchlisting system has never prevented an

act of terrorism inside the United States and is completely ineffective, but they continue to

expand it anyways. In the last 10 years alone, Defendant CBP reports that its encounters




                                                7
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 8 of 281




with individuals suspected of having terrorism-related or national security concerns has

skyrocketed from 365 per year (in 2008) to more than 550,000 per year (in 2017).

       9.     The federal government’s watchlisting system uses secret and automated

“rules” to monitor Americans’ travel patterns and their associations. Americans who travel

to the Middle East, speak or study Arabic, donate to Muslim charities, are family members of

already-watchlisted    individuals,   travel   with   already-watchlisted    individuals,      or

communicate with already-watchlisted individuals are routinely flagged for heightened

scrutiny. The government designates these individuals as “unknown or partially known

terrorists,” monitors and investigates them, and then uses any information learned to

nominate them as “known or suspected terrorists.” The Boston Globe unearthed one such

“risk-based passenger targeting rules” program on July 28, 2018; it is called “Quiet Skies.”

       10.    The federal government uses guilt-by-association presumptions to place

family members, friends, traveling companions, and associates of listed persons under

intense surveillance and on the watchlist. Many Americans, including children, end up

targeted by the watchlisting system based on who their mother or father is, what mosque

their family attends, how they exercise their constitutional rights, where they travel, with

whom they associate, or their perceived religious beliefs.

       11.    Speaking Arabic, traveling to Muslim-majority countries, and even

undertaking religious pilgrimages—activities that American Muslims are likely to engage

in—qualify as bases and factors for rules-based monitoring, Quiet Skies listing, watchlist

nominations, and watchlist placements.

       12.    The federal government adds many Americans to the watchlist or subjects

them to terrorist-level scrutiny due to typos, coincidentally similar names and outright


                                               8
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 9 of 281




mistakes. This happens as a result ofbecause the government employingemploys few checks

or quality assurance standards before permitting names to be added.

       13.    Leaked government documents as well as public governmental reports, reveal

that the federal government’s terrorist watchlisting system is discriminatory, standardless,

and devoid of adequate procedures. These documents include the March 2013 Watchlisting

Guidance (Exhibit     1), the Directorate        of   Terrorist   Identities   (DTI):   Strategic

Accomplishments 2013 (Exhibit 2), the Department of Justice's March 2014 Audit of the

Federal Bureau of Investigation's Management of Terrorist Watchlist (Exhibit 3), and a 2018

informational bulletin on the “Quiet Skies” program (Exhibit 4).

       14.    The federal government’s additions to the TSDB have dramatically increased

over the last decade. The number of individuals Defendants added to the TSDB in 2016 is

more than triple the number added in 2009. Approximately 99% of all proposed additions

are accepted each year. There are now more than one million people in the TSDB.

       15.    Although the Department of Homeland Security operates the DHS Traveler

Redress Inquiry Program (“DHS TRIP,”), ostensibly to assist Americans in resolving travel

complaints including those related to their watchlist status, the DHS TRIP is largely

ineffective. DHS TRIP refuses to discuss specific facts and refuses to even process many

redress complaints related to watchlisteeswatchlisted individuals or those subjected to

rules-based “terrorist” monitoring.   Moreover, the DHS TRIP redress process often only

affects air travel, not land border crossings or other watchlist consequences. Meanwhile,

innocent Americans suffer paralyzing consequences.




                                             9
                 Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 10 of 281




        16.      Each of the Plaintiffs’ injuries are directly attributable to Defendants’

compilation, implementation and dissemination of the federal terrorist watchlisting system,

including rules-based monitoring, Quiet Skies, and the TSDB.

                                            Plaintiffs

        17.      Plaintiff Rami Khaled El Ali, by and through his guardian Mariam Ahmad

Ghaddar, is a United States citizen and a Muslim residing in Michigan. Venue is proper

because a substantial part of the events or omissions giving rise to his claims occurred within

this district.

        18.      Plaintiff Mia Khaled El Ali, by and through her guardian Mariam Ahmad

Ghaddar, is a United States citizen and a Muslim residing in Michigan. Venue is proper

because a substantial part of the events or omissions giving rise to his claims occurred within

this district.

        19.      Plaintiff Khaled El-Ali is a Belgium national and a Muslim residing in Belgium.

Venue is proper because a substantial part of the events or omissions giving rise to his claims

occurred within this district.

        20.      Plaintiff Mutasem Jardaneh is a United States citizen and a Muslim residing in

Orlando, Florida. Venue is proper because a substantial part of the events or omissions

giving rise to his claims occurred within this district.

        21.      Plaintiff John Doe is a United States citizen and a Muslim residing in Mexico.

Venue is proper because a substantial part of the events or omissions giving rise to his claims

occurred within this district.




                                               10
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 11 of 281




       22.     Plaintiff Bilal Abdurrashid is a United States citizen and a Muslim residing in

Orlando, Florida. Venue is proper because a substantial part of the events or omissions

giving rise to his claims occurred within this district.

       23.     Plaintiff Mohammad Paryavi is a United States citizen and a Muslim residing

in Rockville, Maryland. Venue is proper because this is the district within which Mr. Paryavi

resides, and because a substantial part of the events or omissions giving rise to his claims

occurred within this district.

       24.     Plaintiff Hawa Wehelie is a United States citizen and a Muslim residing

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       25.     Plaintiff Abdirizak Wehelie is a United States citizen and a Muslim residing

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       26.     Plaintiff Shamsa Hashi Noor is a United States citizen and a Muslim residing

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       27.     Plaintiff Fatima Wehelie is a United States citizen and a Muslim residing

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       28.     Plaintiff Mahad Mohallim is a United States citizen and a Muslim residing in

Kenya. Venue is proper because a substantial part of the vents or omissions giving rise to

his claims occurred within this district.




                                               11
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 12 of 281




       29.     Plaintiff Moustafa El-Shahat is a United States citizen and a Muslim residing

Indiana. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       30.     Plaintiff Farid Sulayman is a United States citizen and a Muslim residing in

Washington state. Venue is proper because a substantial part of the events or omissions

giving rise to his claims occurred within this district.

       31.     Plaintiff Fadi Suliman is a United States citizen and a Muslim residing in

Florida. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       32.     Plaintiff John Doe 2 is a Syrian national and a Muslim residing in New Jersey.

Venue is proper because a substantial part of the events or omissions giving rise to his claims

occurred within this district.

       33.     Plaintiff Baby Doe, by and through his guardian Father Doe 2, is a United States

citizen and a Muslim residing in Virginia. Venue is proper because a substantial part of the

events or omissions giving rise to his claims occurred within this district.

       34.     Plaintiff Child Doe, by and through his guardian Father Doe, is a United States

citizen and a Muslim residing in New Jersey. Venue is proper because a substantial part of

the events or omissions giving rise to his claims occurred within this district.

       35.     Plaintiff Child Doe 2, by and through her guardian Father Doe, is a United

States citizen and a Muslim residing in New Jersey. Venue is proper because a substantial

part of the events or omissions giving rise to his claims occurred within this district.




                                               12
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 13 of 281




       36.     Plaintiff Hashem Nader Sehwail is a United States citizen and a Muslim

residing in Florida. Venue is proper because a substantial part of the events or omissions

giving rise to his claims occurred within this district.

       37.     Plaintiff Mohamed Albadawi is a United States citizen and a Muslim residing

in Kansas. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       38.     Plaintiff Hicham Hall is a United States citizen and a Muslim residing in

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       39.     Plaintiff Faatimah Knight is a United States citizen and a Muslim residing in

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       40.     Plaintiff Khalil Thadi is a United States citizen and a Muslim residing in

Virginia. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       41.     Plaintiff Esmaeel Paryavi is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       42.     Plaintiff Faraz Siddiqui is a United States citizen and a Muslim residing in New

Jersey. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.




                                               13
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 14 of 281




       43.     Plaintiff Zijad Bosnic is a United States citizen and a Muslim residing in Florida.

Venue is proper because a substantial part of the events or omissions giving rise to his claims

occurred within this district.

       44.     Plaintiff Abdu Wakil Cyeef Din is a United States citizen and a Muslim residing

in New Mexico. Venue is proper because a substantial part of the events or omissions giving

rise to his claims occurred within this district.

       45.     Plaintiff Mirrakhmat Muminov is a United States citizen and a Muslim residing

in Ohio. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       46.     Plaintiff Anisa Mujanovic is a United States citizen and a Muslim residing in

North Dakota. Venue is proper because a substantial part of the events or omissions giving

rise to her claims occurred within this district.

       47.     Plaintiff Mohamad Hachem is a United States citizen and a Muslim residing in

Florida. Venue is proper because a substantial part of the events or omissions giving rise to

his claims occurred within this district.

       48.     Plaintiff Ashraf Riad is a United States citizen and a Muslim residing in Florida.

Venue is proper because a substantial part of the events or omissions giving rise to his claims

occurred within this district.

       49.     Plaintiff Mustafa Kamel is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.




                                               14
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 15 of 281




       50.     Plaintiff Alaa Abunijem is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       51.     Plaintiff Abdaljalil Hijaz is a Palestine national and a Muslim residing in

California. He is a permanent U.S. resident. Venue is proper because a substantial part of the

events or omissions giving rise to his claims occurred within this district.

       52.     Plaintiff Abdallah Soueidan is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       53.      Plaintiff Abdelmoniem Elamin is a United States citizen and a Muslim residing

in Maryland. Venue is proper because this is the district within which Mr. Elamin resides,

and because a substantial part of the events or omissions giving rise to his claims occurred

within this district.

       54.     Plaintiff Hassan Shirwa is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       55.     Plaintiff Imad Kadoumi is a United States citizen and a Muslim residing in

California. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.

       56.     Plaintiff Fadhel Al-Sahlani is a United States citizen and a Muslim residing in

New York. Venue is proper because a substantial part of the events or omissions giving rise

to his claims occurred within this district.




                                               15
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 16 of 281




                                        Defendants

       44.57. Defendant Jefferson SessionsWilliam Barr is United States Attorney General of

the U.S. Department of Justice (“DOJ”). The DOJ is a regular agency attendee of the

Watchlisting Advisory Council (“WLAC”), a government agency that promulgates decisions

regarding all policies, procedures, practices and instructions pertaining to the federal

terrorist watchlist, including, but not limited to: (1) watchlist nomination and removal

procedures; (2) specific criteria used to nominate persons to the TSDB; (3) redress

procedures; (4) vetting of information used to nominate persons to the TSDB; and, (5)

dissemination of a person’s designation in the TSDB to state and local authorities, courts,

foreign governments, private corporations, private contractors, airlines, gun sellers,

financial institutions, the captains of sea-faring vessels, and others. The DOJ is represented

at WLAC meetings by the Federal Bureau of Investigation (“FBI”); the Terrorism Screening

Center (“TSC”) (one of two cochairs of the WLAC); and various USDOJ headquarters offices,

including the National Security Division (“NSD”); the Office of Legal Policy (“OLP”); and the

Office of Privacy and Civil Liberties (“OPCL”). Because the WLAC operates by consensus, the

DOJ and/or its agency subcomponents have both decision-making authority and veto power

over all decisions made by the WLAC. Upon information and belief, the DOJ and/or its agency

subcomponents accepted the nominations of some or all of the Watchlisted Plaintiffs and

continues to accept the nominations of other similarly situated American citizens,individuals

to the federal terrorist watchlist. The DOJ and/or its agency subcomponents also oversee

the dissemination of the “known or suspected terrorists” stigmatizing label attached to the

Watchlisted Plaintiffs and other similarly situated American citizensindividuals to state and

local authorities, courts, foreign governments, private corporations, private contractors,


                                             16
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 17 of 281




airlines, gun sellers, financial institutions, the captains of sea-faring vessels, and others.

Additionally, DOJ utilizes the TSDB in order to screen persons against it that are applying for

security clearances or employment to work with DOJ and/or its agency subcomponents in

order to deny them employment. Defendant SessionsBarr is being sued in his official

capacity, only.

       45.58. Defendant Christopher Wray is Director of the Federal Bureau of Investigation

(“FBI”). The FBI is a regular agency attendee of the WLAC, a government agency described

more fully in paragraph 44 supra.Paragraph 82. The FBI represents the DOJ at WLAC

meetings.    Because the WLAC operates by consensus, the FBI and/or its agency

subcomponents have both decision-making authority and veto power over all decisions

made by the WLAC. Upon information and belief, the FBI and/or its agency subcomponents

nominated some or all of the Watchlisted Plaintiffs, and continue to nominate other similarly

situated American citizens, to the federal terrorist watchlist. Additionally, the FBI utilizes

the TSDB in order to screen persons against it that are applying for security clearances or for

employment to work with the FBI and/or its agency subcomponents in order to deny them

employment. Defendant Wray is being sued in his official capacity, only.

       46.59. Defendant Charles H. Kable, IV is the Executive Assistant Director of the

Terrorism Screening Center (“TSC”) of the Federal Bureau of Investigation (“FBI”). The TSC

is one of two cochairs of the WLAC, a government agency described more fully in paragraph

44 supra.Paragraph 82. The TSC represents the DOJ at WLAC meetings. Because the WLAC

operates by consensus, the TSC has both decision-making authority and veto power over all

decisions made by the WLAC. Upon information and belief, the TSC develops and maintains

the federal government’s consolidated Terrorism Screening Database (“TSDB”), accepted the


                                              17
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 18 of 281




nominations of some or all of the Watchlisted Plaintiffs, and continues to accept the

nominations of other similarly situated American citizens, to the federal terrorist watchlist.

Additionally, the TSC utilizes the TSDB in order to screen persons against it that are applying

for security clearances or for employment to work with the TSC in order to deny them

employment. Defendant Kable, IV is being sued in his official capacity, only.

       47.60. Defendant Russel TraversJoseph Maguire is Acting Director of the National

Counterterrorism Center (“NCTC”) of the Office of the Director of National Intelligence

(“ODNI”). The NCTC is one of two cochairs of the WLAC, a government agency described

more fully in paragraph 44 supra.Paragraph 82. The NCTC represents the ODNI at WLAC

meetings. Because the WLAC operates by consensus, the NCTC has both decision-making

authority and veto power over all decisions made by the WLAC. Upon information and belief,

the NCTC nominated some or all of the Watchlisted Plaintiffs, and continues to nominate

other similarly situated American citizens, to the federal terrorist watchlist. Additionally,

the NCTC utilizes the TSDB in order to screen persons against it that are applying for security

clearances or for employment to work with the NCTC and/or its agency subcomponents in

order to deny them employment. Defendant TraversMaguire is being sued in his official

capacity, only.

       48.61. Defendant John C. Demers is Assistant Attorney General for National Security

of the National Security Division (“NSD”) of the U.S. Department of Justice (“DOJ”). The NSD

represents the DOJ at WLAC meetings. Because the WLAC operates by consensus, the NSD

has both decision-making authority and veto power over all decisions made by the WLAC.

Upon information and belief, the NSD nominated some or all of the Watchlisted Plaintiffs,

and continues to nominate other similarly situated American citizens, to the federal terrorist


                                              18
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 19 of 281




watchlist. Additionally, the NSD utilizes the TSDB in order to screen persons against it that

are applying for security clearances or for employment to work with the NSD in order to

deny them employment. Defendant Demers is being sued in his official capacity, only.

       49.62. Defendant Beth A. Williams is Assistant Attorney General for the Office of Legal

Policy (“OLP”) of the U.S. Department of Justice (“DOJ”). The OLP represents the DOJ at WLAC

meetings. Because the WLAC operates by consensus, the OLP has both decision-making

authority and veto power over all decisions made by the WLAC. Upon information and belief,

the OLP nominated some or all of the Watchlisted Plaintiffs, and continues to nominate other

similarly situated American citizens, to the federal terrorist watchlist. Additionally, the OLP

utilizes the TSDB in order to screen persons against it that are applying for security

clearances or for employment to work with the OLP in order to deny them employment.

Defendant Williams is being sued in her official capacity, only.

       50.63. Defendant Peter A. Winn is Acting Chief Privacy and Civil Liberties Officer of

the Office of Privacy and Civil Liberties (“OPCL”) of the U.S. Department of Justice (“DOJ”).

OPCL represents the DOJ at WLAC meetings. Because the WLAC operates by consensus,

OPCL has both decision-making authority and veto power over all decisions made by the

WLAC. Upon information and belief, OPCL nominated some or all of the Watchlisted

Plaintiffs, and continues to nominate other similarly situated American citizens, to the

federal terrorist watchlist. Additionally, OPCL utilizes the TSDB in order to screen persons

against it that are applying for security clearances or for employment to work with OPCL in

order to deny them employment. Defendant Winn is being sued in his official capacity, only.

       51.64. Defendant Daniel R. Coats is Director of National Intelligence of the Office of

the Director of National Intelligence (“ODNI”). The ODNI is a regular agency attendee of the


                                              19
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 20 of 281




WLAC, a government agency described more fully in paragraph 44 supra.Paragraph 82. The

ODNI is represented at WLAC meetings by the National Counterterrorism Center (“NCTC”),

one of two cochairs of the WLAC. Because the WLAC operates by consensus, the ODNI has

both decision-making authority and veto power over all decisions made by the WLAC. Upon

information and belief, the ODNI accepted the nominations of some or all of the Watchlisted

Plaintiffs and continues to accept the nominations of other similarly situated American

citizens, to the federal terrorist watchlist. Additionally, ODNI utilizes the TSDB in order to

screen persons against it that are applying for security clearances or for employment to work

with ODNI in order to deny them employment. Defendant Coats is being sued in his official

capacity, only.

       52.65. Defendant Kirstjen M. Nielson is Secretary of U.S. Department of Homeland

Security (“DHS”). DHS is a regular agency attendee of the WLAC, a government agency

described more fully in paragraph 44 supra.Paragraph 82. DHS is represented at WLAC

meetings by U.S. Customs and Border Protection (“CBP”); Transportation and Security

Administration (“TSA”); U.S. Citizenship and Immigration Services (“USCIS”); U.S.

Immigration and Customs Enforcement (“ICE”); and various DHS headquarters offices,

including the Office for Civil Rights & Civil Liberties (“OCRCL”); the Office of Intelligence &

Analysis (“OIA”); the Office of the General Counsel (“OGC”); the Office of Strategy, Policy, and

Plans (“DHS Policy”); and the Privacy Office. Because the WLAC operates by consensus, DHS

and/or its agency subcomponents have both decision-making authority and veto power over

all decisions made by the WLAC. Upon information and belief, DHS and/or its agency

subcomponents act as front-line agencies that utilize the TSDB to screen individuals against

the TSDB, including the Watchlisted Plaintiffs and other similarly situated American citizens,


                                              20
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 21 of 281




in order to deny them government benefits and impose consequences upon them, including

but not limited to: (1) impeding air travel at airports; (2) burdening travel at land border

crossings and other ports of entry; (3) denying participation in programs that allow for

expedited screening at ports of entry; and (4) indefinitely delaying or denying immigration

benefits.   Additionally, DHS is responsible for overseeing and administering the DHS

Traveler Redress Inquiry Program (“DHS TRIP”),, the only administrative complaint process

by which the Watchlisted Plaintiffs and other similarly situated American citizensindividuals

may challenge their nominations to the TSDB. DHS also utilizes the TSDB in order to screen

persons against it that are applying for security clearances or for employment to work with

DHS and/or its agency subcomponents in order to deny them employment. Defendant

Nielson is being sued in her official capacity, only.

       53.66. Defendant McAleenan is Commissioner of the United States Customs and

Border Protection (“CBP”) of the United States Department of Homeland Security (“DHS”).

CBP is a regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. CBP represents DHS at WLAC meetings. Because the

WLAC operates by consensus, CBP has both decision-making authority and veto power over

all decisions made by the WLAC. Upon information and belief, CBP acts as a front-line agency

that utilizes the TSDB to screen individuals against the TSDB, including the Watchlisted

Plaintiffs and other similarly situated American citizens, in order to deny them government

benefits and impose consequences upon them, including but not limited to: (1) impeding air

travel at airports; (2) burdening travel at land border crossings and other ports of entry; (3)

denying participation in programs that allow for expedited screening at ports of entry; and

(4) indefinitely delaying or denying immigration benefits. Moreover, upon information and


                                               21
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 22 of 281




belief, CBP nominated some or all of the Watchlisted Plaintiffs, and continues to nominate

other similarly situated American citizens, to the federal terrorist watchlist. Additionally,

CBP utilizes the TSDB in order to screen persons against it that are applying for security

clearances or for employment to work with CBP in order to deny them employment.

Defendant McAleenan is being sued in his official capacity, only.

       54.67. Defendant David P. Pekoske is Administrator of the Transportation Security

Administration (“TSA”) of the United States Department of Homeland Security (“DHS”). TSA

is a regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. TSA represents DHS at WLAC meetings. Because the

WLAC operates by consensus, TSA has both decision-making authority and veto power over

all decisions made by the WLAC. Upon information and belief, TSA acts as a front-line agency

that utilizes the TSDB to screen individuals against the TSDB, including the Watchlisted

Plaintiffs and other similarly situated American citizens, in order to deny them government

benefits and impose consequences upon them, including but not limited to: (1) impeding air

travel at airports; (2) burdening travel at land border crossings and other ports of entry; (3)

denying participation in programs that allow for expedited screening at ports of entry; and

(4) indefinitely delaying or denying immigration benefits. Moreover, upon information and

belief, TSA nominated some or all of the Watchlisted Plaintiffs, and continues to nominate

other similarly situated American citizens, to the federal terrorist watchlist. Additionally,

TSA utilizes the TSDB in order to screen persons against it that are applying for security

clearances or for employment to work with TSA in order to deny them employment. The

TSA also implements the “Quiet Skies” program., and its international counterpart, “Silent

Partner.” The “Quiet Skies” program cross-references the TSDB as part of a system of


                                              22
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 23 of 281




targeting rules that identifies and then flags for investigation and surveillance “unknown or

partially known terrorists.” “Quiet Skies” scrutiny results in individuals being treated like

TSDB Listees and may result in nomination to the TSDB. The “Quiet Skies” program does this

for flights originating from the United States. “Silent Partner” is similar, except it applies to

flights originating from foreign destinations. Defendant Pekoske is being sued in his official

capacity, only.

       55.68. Defendant L. Francis Cissna is Director of the United States Citizenship and

Immigration Services (“USCIS”) of the Department of Homeland Security (“DHS”). USCIS is a

regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. USCIS represents DHS at WLAC meetings. Because the

WLAC operates by consensus, USCIS has both decision-making authority and veto power

over all decisions made by the WLAC. Upon information and belief, USCIS acts as a front-line

agency that utilizes the TSDB to screen individuals against the TSDB, including the

Watchlisted Plaintiffs and other similarly situated American citizens, in order to deny them

government benefits and impose consequences upon them, including but not limited to: (1)

impeding air travel at airports; (2) burdening travel at land border crossings and other ports

of entry; (3) denying participation in programs that allow for expedited screening at ports

of entry; and (4) indefinitely delaying or denying immigration benefits. Moreover, upon

information and belief, USCIS nominated some or all of the Watchlisted Plaintiffs, and

continues to nominate other similarly situated American citizens, to the federal terrorist

watchlist. Additionally, USCIS utilizes the TSDB in order to screen persons against it that are

applying for security clearances or for employment to work with USCIS in order to deny them

employment. Defendant Cissna is being sued in his official capacity, only.


                                               23
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 24 of 281




       56.69. Defendant Ronald D. VitielloTracy Renaud is Deputy Director of the United

States Immigration and Customs Enforcement (“ICE”) of the Department of Homeland

Security (“DHS”). ICE is a regular agency attendee of the WLAC, a government agency

described more fully in paragraph 44 supra.Paragraph 82. ICE represents DHS at WLAC

meetings. Because the WLAC operates by consensus, ICE has both decision-making authority

and veto power over all decisions made by the WLAC. Upon information and belief, ICE acts

as a front-line agency that utilizes the TSDB to screen individuals against the TSDB, including

the Watchlisted Plaintiffs and other similarly situated American citizens, in order to deny

them government benefits and impose consequences upon them, including but not limited

to: (1) impeding air travel at airports; (2) burdening travel at land border crossings and

other ports of entry; (3) denying participation in programs that allow for expedited

screening at ports of entry; and (4) indefinitely delaying or denying immigration benefits.

Moreover, upon information and belief, ICE nominated some or all of the Watchlisted

Plaintiffs, and continues to nominate other similarly situated American citizens, to the

federal terrorist watchlist. Additionally, ICE utilizes the TSDB in order to screen persons

against it that are applying for security clearances or for employment to work with ICE in

order to deny them employment. Defendant VitielloRenaud is being sued in hisher official

capacity, only.

       57.70. Defendant Cameron Quinn is Officer of the Office for Civil Rights and Civil

Liberties (“CRCL”) of the United States Department of Homeland Security (“DHS”). CRCL is

a regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. CRCL represents DHS at WLAC meetings. Because the

WLAC operates by consensus, CRCL has both decision-making authority and veto power over


                                              24
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 25 of 281




all decisions made by the WLAC. Additionally, CRCL utilizes the TSDB in order to screen

persons against it that are applying for security clearances or for employment to work with

CRCL in order to deny them employment. Defendant Quinn is being sued in her official

capacity, only.

       58.71. Defendant David J. Glawe is Under Secretary of the Office of Intelligence and

Analysis (“OIA”) of the United States Department of Homeland Security (“DHS”). OIA is a

regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. OIA represents DHS at WLAC meetings. Because the

WLAC operates by consensus, OIA has both decision-making authority and veto power over

all decisions made by the WLAC. Upon information and belief, OIA utilizes the TSDB to screen

individuals against the TSDB, including the Watchlisted Plaintiffs and other similarly

situated American citizens, in order to deny them government benefits and impose

consequences upon them, including but not limited to: (1) impeding air travel at airports;

(2) burdening travel at land border crossings and other ports of entry; (3) denying

participation in programs that allow for expedited screening at ports of entry; and (4)

indefinitely delaying or denying immigration benefits. Additionally, OIA utilizes the TSDB in

order to screen persons against it that are applying for security clearances or for

employment to work with OIA in order to deny them employment. Defendant Quinn is being

sued in his official capacity, only.

       59.72. Defendant John Mitnick is General Counsel (“GC”) of the United States

Department of Homeland Security (“DHS”). The GC is a regular agency attendee of the WLAC,

a government agency described more fully in paragraph 44 supra.Paragraph 82. The GC

represents DHS at WLAC meetings. Because the WLAC operates by consensus, the GC has


                                             25
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 26 of 281




both decision-making authority and veto power over all decisions made by the WLAC.

Additionally, the GC utilizes the TSDB in order to screen persons against it that are applying

for security clearances or for employment to work with the GC in order to deny them

employment. Defendant Mitnick is being sued in his official capacity, only.

       60.73. James W. McCament is Deputy Under Secretary of the Office of Strategy, Policy,

and Plans (“DHS Policy”) of the United States Department of Homeland Security (“DHS”).

DHS Policy is a regular agency attendee of the WLAC, a government agency described more

fully in paragraph 44 supra.Paragraph 82. DHS Policy represents DHS at WLAC meetings.

Because the WLAC operates by consensus, DHS Policy has both decision-making authority

and veto power over all decisions made by the WLAC. Upon information and belief, DHS

Policy develops policies for front-line screening agencies regarding utilizing the TSDB to

screen individuals against the TSDB, including the Watchlisted Plaintiffs and other similarly

situated American citizens, in order to deny them government benefits and impose

consequences upon them, including but not limited to: (1) impeding air travel at airports;

(2) burdening travel at land border crossings and other ports of entry; (3) denying

participation in programs that allow for expedited screening at ports of entry; and (4)

indefinitely delaying or denying immigration benefits. Moreover, upon information and

belief, DHS Policy nominated some or all of the Watchlisted Plaintiffs, and continues to

nominate other similarly situated American citizens, to the federal terrorist watchlist.

Additionally, DHS Policy utilizes the TSDB in order to screen persons against it that are

applying for security clearances or for employment to work with DHS Policy in order to deny

them employment. Defendant McCament is being sued in his official capacity, only.




                                             26
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 27 of 281




       61.74. Sam Kaplan isJonathan R, Kantor is the Acting Chief Privacy Officer of the

Privacy Office (“DHS Privacy”) of the United States Department of Homeland Security

(“DHS”). DHS Privacy is a regular agency attendee of the WLAC, a government agency

described more fully in paragraph 44 supra.Paragraph 82. DHS Privacy represents DHS at

WLAC meetings. Because the WLAC operates by consensus, DHS Privacy has both decision-

making authority and veto power over all decisions made by the WLAC. Upon information

and belief, DHS Privacy develops policies for front-line screening agencies regarding the

collection of information for inclusion on the TSDB and the utilization of the TSDB to screen

individuals against the TSDB, including the Watchlisted Plaintiffs and other similarly

situated American citizens, in order to deny them government benefits and impose

consequences upon them, including but not limited to: (1) impeding air travel at airports;

(2) burdening travel at land border crossings and other ports of entry; (3) denying

participation in programs that allow for expedited screening at ports of entry; and (4)

indefinitely delaying or denying immigration benefits. Moreover, upon information and

belief, DHS Privacy nominated some or all of the Watchlisted Plaintiffs, and continues to

nominate other similarly situated American citizens, to the federal terrorist watchlist.

Additionally, DHS Privacy utilizes the TSDB in order to screen persons against it that are

applying for security clearances or for employment to work with DHS Privacy in order to

deny them employment. Defendant KaplanCantor is being sued in his official capacity, only.

       62.75. Defendant Mike Pompeo is Secretary of State, U.S. Department of State

(“DOS”). DOS is a regular agency attendee of the WLAC, a government agency described

more fully in paragraph 44 supra.Paragraph 82. DOS is represented at WLAC meetings by

Consular Affairs and the Bureau of Counterterrorism. Because the WLAC operates by


                                             27
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 28 of 281




consensus, DOS and/or its agency subcomponents have both decision-making authority and

veto power over all decisions made by the WLAC. Upon information and belief, DOS and/or

its agency subcomponents act as front-line agencies that utilize the TSDB to screen

individuals against the TSDB, including the Watchlisted Plaintiffs and other similarly

situated American citizens, in order to deny them government benefits and impose

consequences upon them, including but not limited to indefinitely delaying or denying visas

and visa waivers. Additionally, DOS utilizes the TSDB in order to screen persons against it

that are applying for security clearances or for employment to work with DOS and/or its

agency subcomponents in order to deny them employment. Defendant Pompeo is being sued

in his official capacity, only.

       63.76. Defendant James N. MattisPatrick M. Shanahan is Acting Secretary of Defense,

U.S. Department of Defense (“DOD”). DOD is a regular agency attendee of the WLAC, a

government agency described more fully in paragraph 44 supra.Paragraph 82. DOD is

represented at WLAC meetings by the National Security Agency (“NSA”) and the Defense

Intelligence Agency (“DIA”). Because the WLAC operates by consensus, DOD and/or its

agency subcomponents have both decision-making authority and veto power over all

decisions made by the WLAC.       Upon information and belief, DOD and/or its agency

subcomponents utilize the TSDB to screen individuals against the TSDB, including the

Watchlisted Plaintiffs and other similarly situated American citizens, in order to impose

consequences upon them, including but not limited to denying them access to military bases.

Additionally, DOD utilizes the TSDB in order to screen persons against it that are applying

for security clearances or for employment to work with DOD and/or its agency




                                            28
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 29 of 281




subcomponents in order to deny them employment. Defendant MattisShanahan is being

sued in his official capacity, only.

        64.77. Defendant General Paul M. Nakasone is Commander of the United States Cyber

Command and Director of the National Security Agency/Chief (“NSA”), Central Security

Service of the U.S. Department of Defense (“DOD”). The NSA is a regular agency attendee of

the WLAC, a government agency described more fully in paragraph 44 supra.Paragraph 82.

The NSA represents the DOD at WLAC meetings. Because the WLAC operates by consensus,

the NSA has both decision-making authority and veto power over all decisions made by the

WLAC. Upon information and belief, the NSA utilizes the TSDB to screen individuals against

the TSDB, including the Watchlisted Plaintiffs and other similarly situated American citizens,

in order to impose consequences upon them, including but not limited to denying them

access to military bases. Additionally, the NSA utilizes the TSDB in order to screen persons

against it that are applying for security clearances or for employment to work with the NSA

in order to deny them employment. Defendant Nakasone is being sued in his official capacity,

only.

        65.78. Defendant Lieutenant General Robert P. Ashley, Jr., USA is Director of the

Defense Intelligence Agency (“DIA”) of the U.S. Department of Defense (“DOD”). The DIA is

a regular agency attendee of the WLAC, a government agency described more fully in

paragraph 44 supra.Paragraph 82. The DIA represents the DOD at WLAC meetings. Because

the WLAC operates by consensus, the DIA has both decision-making authority and veto

power over all decisions made by the WLAC. Upon information and belief, the DIA utilizes

the TSDB to screen individuals against the TSDB, including the Watchlisted Plaintiffs and

other similarly situated American citizens, in order to impose consequences upon them,


                                             29
                  Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 30 of 281




including but not limited to denying them access to military bases. Additionally, the DIA

utilizes the TSDB in order to screen persons against it that are applying for security

clearances or for employment to work with the DIA in order to deny them employment.

Defendant Ashley, Jr. is being sued in his official capacity, only.

       66.79. Defendant Steven Mnuchin is Secretary of Treasury, U.S. Department of

Treasury (“DOT”). DOT is a regular agency attendee of the WLAC, a government agency

described more fully in paragraph 44 supra.Paragraph 82. DOT is represented at WLAC

meetings by the Financial Crimes Enforcement Network (“FinCEN”). Because the WLAC

operates by consensus, DOT and/or its agency subcomponents have both decision-making

authority and veto power over all decisions made by the WLAC. Upon information and belief,

DOT and/or its agency subcomponents oversaw the dissemination of the “known or

suspected terrorists” stigmatizing label attached to the Watchlisted Plaintiffs, and continue

to oversee the dissemination of the “known or suspected terrorists” stigmatizing label

attached     to    the Watchlisted   Plaintiffs and other similarly situated       American

citizensindividuals to financial institutions so that the financial institutions impose

consequences upon them, including, but not limited to, closing their bank accounts without

notice and blocking them from conducting wire transfers. Additionally, DOT utilizes the

TSDB in order to screen persons against it that are applying for security clearances or for

employment to work with DOT and/or its agency subcomponents in order to deny them

employment. Defendant Mnuchin is being sued in his official capacity, only.

       80.        Defendant Ken Blanco is Director of the Financial Crimes Enforcement

Network (“FinCEN”) of the Office of Terrorism and Financial Intelligence of the United States

Department of Treasury. FinCenFinCEN is a regular agency attendee of the WLAC, a


                                               30
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 31 of 281




government agency described more fully in paragraph 44 supraParagraph 82. FinCEN

represents DOT at WLAC meetings. Because the WLAC operates by consensus, FinCEN has

both decision-making authority and veto power over all decisions made by the WLAC. Upon

information and belief, FinCEN oversaw the dissemination of the “known or suspected

terrorists” stigmatizing label attached to the Watchlisted Plaintiffs, and continues to oversee

the dissemination of the “known or suspected terrorists” stigmatizing label attached to the

Watchlisted Plaintiffs and other similarly situated American citizensindividuals to financial

institutions so that the financial institutions impose consequences upon them, including, but

not limited to, closing their bank accounts without notice and blocking them from conducting

wire transfers. Additionally, FinCEN utilizes the TSDB in order to screen persons against it

that are applying for security clearances or for employment to work with FinCEN in order to

deny them employment. Defendant Blanco is being sued in his official capacity, only.

       67.81. Defendant Gina Haspel is Director of the Central Intelligence Agency (“CIA”).

The CIA is a regular agency attendee of the WLAC, a government agency described more fully

in Paragraph 82. Because the WLAC operates by consensus, the CUA has both decision-

making authority and veto power over all decisions made by the WLAC. Upon information

and belief, the CIA utilizes the TSDB to screen individuals against the TSDB, including the

Watchlisted Plaintiffs and other similarly situated American citizens, to impose

consequences upon them. Additionally, the CIA utilizes the TSDB to screen persons against

it that are applying for security clearances or for employment to work with the CIA to deny

them employment. Defendant Haspel is being sued in his official capacity, only.                   Formatted: Font: Not Bold


       68.82. Defendant Watchlisting Advisory Council is a government entity that

promulgates decisions regarding all policies, procedures, practices and instructions


                                              31
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 32 of 281




pertaining to the federal terrorist watchlist, including, but not limited to: (1) watchlist

nomination and removal procedures; (2) specific criteria used to nominate persons to the

TSDB; (3) redress procedures; (4) vetting of information used to nominate persons to the

TSDB; and, (5) dissemination of a person’s designation in the TSDB to state and local

authorities, courts, foreign governments, private corporations, private contractors, airlines,

gun sellers, financial institutions, the captains of sea-faring vessels, and others.

       69.83. Defendants Unidentified FBI Agents are agents and officers of the United

States who have interrogated Plaintiffs about their Muslim faith, and who have sought to

coerce PlaintiffPlaintiffs John Doe 2 and Hicham Hall into violating histheir sincere religious

beliefs by becoming an FBI InformationInformants in exchange for removal from the No Fly

Listtheir respective terrorism watchlist. Defendants Unidentified FBI Agents are sued in

their individual capacities, only.

       70.84. Defendants Unidentified CBP Agents are agents and officers of the United

States who have personally directed or carried out the seizure, confiscation, searching,

copying, downloading, or uploading of information from Plaintiffs’ electronic devices.

Unidentified CBP Agents have conducted these electronics searches pursuant to CBP policy

and Defendants’ watchlisting and intelligence practices which require the search, seizure,

copying, and uploading of electronic devices to anyone on a federal terrorist watchlist.

       71.85. For purposes of this First Amended Complaint, “Defendants” and “the

Government” only refers to official-capacity Defendants, except where otherwise noted in

the Religious Freedom Restoration Act and Fourth Amendment Bivens claims.




                                               32
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 33 of 281




                                   Jurisdiction and Venue                                          Formatted: Keep with next


       72.86. Under U.S. Const. Art. III § 2, this Court has jurisdiction because the rights

sought to be protected herein are secured by the United States Constitution.

       73.87. Jurisdiction is proper pursuant to 28 U.S.C. § 1331, 5 U.S.C. § 702, 5 U.S.C.

§ 706, Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388

(1971), the United States Constitution, and federal common law.

       74.88. This Court has authority to grant the declaratory relief requested herein

pursuant to the Declaratory Judgment Act, 28 U.S.C. § § 2201-02, because the action presents

an actual case or controversy within the Court’s jurisdiction, and pursuant to the general,

legal, and equitable powers of this Court.

       89.    Nothing in 49 U.S. § 46110 eliminates that jurisdiction. See, e.g., Mohamed v.

Holder, No. 11-1924, 2013 U.S. App. LEXIS 26340, at *5-6 (4th Cir. May 28, 2013)1; Ege v.

United States Dep’t of Homeland Sec., 784 F.3d 791, 796 (D.C. Cir. 2015); Latif v. Holder, 686

F.3d 1122, 1128-29 (9th Cir. 2012); Wilwal v. Nielsen, 346 F. Supp. 3d 1290, 1304 (D. Minn.

2018); Elhady v. Piehota, 303 F. Supp. 3d 453, 461-62 (E.D. Va. 2017) (citing Mohamed).

       75.90. This action also seeks damages pursuant to The Religious Freedom                     Formatted: Indent: Left: 0", First line: 0.5", Space After:
                                                                                                    10 pt
Restoration Act of 1993 (RFRA), 42 U.S.C. 2000bb et. seq., 28 U.S.C. § 1343(a)(4), and 28 U.S.C.

§ 1357. See Tanvir v. Tanzin, 894 F.3d 449 (2d Cir. 20182018) (“RFRA, like Section 1983,

authorizes a plaintiff to bring individual capacity claim” for damages).

       76.91. A substantial part of the unlawful acts alleged herein were committed within

the jurisdiction of the United States District Court for the District of Maryland.




1 Also available at https://www.clearinghouse.net/chDocs/public/NS-VA-0004-0004.pdf.


                                              33
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 34 of 281




       77.92. Venue is proper under 42 U.S.C. § 1391(e)(1) because at least one of the

Plaintiffs resides in this district; because Defendants are officers or employees of agencies of

the United States sued in their official capacities; because Defendants regularly conduct

business in the State of Maryland; because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred within this district including the dissemination of

the federal terrorist watchlist and the stigmatizing label of “known or suspected terrorist”

attached to each of the Plaintiffs to the State of Maryland, Maryland state and local law

enforcement officers, Maryland courts, and other governmental and private partners within

the State of Maryland; and because the action involves no real property.

                                    Factual Background

       The Federal Government’s Terrorist Watchlisting System And Itsand its

                                      Subcomponents

       78.93. In September 2003, Attorney General John Ashcroft established the Terrorist

Screening Center (“TSC”) to consolidate the government’s approach to terrorism screening.

The TSC, which is administered by the FBI, develops and maintains the federal government’s

consolidated Terrorism Screening Database (“TSDB” or “federal terrorist watchlist”). TSC’s

consolidated watchlist is the federal government’s master repository for suspected

international and domestic terrorist records and is used for watchlist related screening.

       79.94. The Government publicly states that to be included in the TSDB, an individual

must be reasonably suspected of being a known or suspected terrorist. More specifically, a

government nominator “must rely upon articulable intelligence or information which, based

on the totality of the circumstances and, taken together with rational inferences from those

facts, creates a reasonable suspicion that the individual is engaged, has been engaged, or


                                              34
                 Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 35 of 281




intends to engage, in conduct constituting in preparation for, in aid or in furtherance of, or

related to, terrorism and/or terrorist activities.” See January 2018 Overview of the U.S.

Government’s Watchlisting Process and Procedures (Exhibit 5.)).

       80.95. The “totality of the circumstances” analysis for TSDB inclusion may include

assessment of an individual’s race, ethnicity, country of origin, religion, religious practices,

languages spoken, family, associations, travel history, social media history, and other

activities protected by the First Amendment, Fifth Amendment, Fourteenth Amendment, and

U.S. Constitution.2

       81.96. Anyone listed in the TSDB is a “TSDB Listee” subjected to varying forms of

heightened scrutiny and adverse repercussions. In addition, TSDB Listees may have their

records annotated or categorized with additional sub-classifications subjecting them to

differential treatment.

       82.97. One set of TSDB sub-classifications is utilized primarily by the TSA, DHS, and

TSC as relates to air travel. It includes the No Fly List, the Selectee List, and the Expanded

Selectee List.

       83.98. Since April 2011, persons nominated and added to the TSDB are placed on the

Expanded Selectee List by default, provided their records contain a minimum amount of

name and birth date identifying information.




2      The TSA conducts a similar assessment of the family relationships, associations and
travel patterns of individuals in order to flag them as “unknown or partially known
terrorists” and place them on the “Quiet Skies (or Silent Partner) Selectee List,”” which
operates in parallel to the TSDB. Quiet Skies and Silent Partner may, however, cross-
reference TSDB information and serve as a stepping stone in the process of identifying and
investigating individuals which leads to TSDB nomination.
                                              35
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 36 of 281




       84.99. TSDB Listees may also be categorized under the heightened Selectee List if

their records contain additional “derogatory information.”           According to the 2013

Watchlisting Guidance promulgated by the Watchlisting Advisory Council, TSDB Listees may

be designated as Selectees if the government suspects them of association or affiliation with

a foreign or domestic terrorist organization, or other association with terrorist activities.

       85.100.        TSDB Listees sub-classified on either the Expanded Selectee List or

Selectee List are systematically subjected to extra screening at airports, and often find “SSSS”

printed on their boarding passes. “SSSS” indicates a passenger’s watchlist status to airline

employees, airport employees, and screeners.

       86.101.        TSDB Listees may also be categorized under the heightened No Fly List

if their records contain additional “derogatory information.” According to information

released by the Government (following 2015 No Fly List litigation), TSDB Listees may be

placed on the No Fly List if the government believes they pose a threat of committing an act

of terrorism in the United States, against an international U.S. government facility, with

respect to an aircraft, or if they are otherwise operationally capable of carrying out a violent

act of terrorism. See January 2018 Overview of the U.S. Government’s Watchlisting Process

and Procedures at 4 (ExhibitEx. 5.)

       87.102.        Persons on the No Fly List, including some of the Watchlisted Plaintiffs,

are prevented from boarding flights that fly into, out of, or even through United States

airspace.

       88.103.        TSDB Listees who are not on the No Fly List may also be blocked from

crossing U.S. land borders or from boarding international flights headed to the United States.




                                              36
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 37 of 281




       89.104.        Other screening agencies, including CBP, screen TSDB Listees but do

not regularly use the No Fly List, Selectee List, and Expanded Selectee classifications.

Instead, the CBP designates TSDB Listees as “Armed and Dangerous,” refers them to

secondary inspection, or otherwise automatically flags them as potential terrorists in

automatic alerts sent to officers.

       90.105.        Pursuant to official CBP policy adopted in January 2018 (CBP Directive

No. 3340-049A) (Exhibit 6), the CBP conducts secondary inspection including advanced

electronics searches of any electronics carried by TSDB Listees. “An advanced search is any

search in which an officer connects external equipment through a wired or wireless

connection to an electronic device not merely to gain access to the device, but to review,

copy, and analyze its contents.” “The presence of an individual on a government operated

and government vetted terrorist watch list,” alone constitutes grounds for the CBP to search,

copy, and store the contents of laptops, tablets, and smartphones, etc. without requesting or

obtaining consent.

       91.106.        Another set of TSDB sub-classifications is utilized by DHS, NCIC, and

other federal, state, and local law enforcement officers to determine operational responses

to TSDB Listees. The TSC distributes the “Known or Suspected Terrorist” or “KST” file to the

NCIC for further dissemination to more than 18,000 law enforcement agencies and 100,000

law enforcement officers. This KST file is then marked with “Handling Codes,” which are set

by the TSC and, upon information and belief, overseen by the Watchlisting Advisory Council

and its participating agencies. Four TSC handling codes have been published by Baltimore

Police Department Policy 802, Handling Codes: Terrorist Response (Sept. 8, 2016) (Exhibit

6 7), as well as other federal, state, and local law enforcement guidebooks:


                                             37
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 38 of 281




       “Handling Code 1: The subject is confirmed to associate with terrorism, and
       there is a valid, outstanding arrest warrant.

       Handling Code 2: The subject is of an “investigative interest” regarding their
       association with terrorism.

       Handling Code 3: This individual may have possible ties with terrorism.

       Handling Code 4: The identity provided by this individual may have possible
       ties with terrorism.”

       92.107.       In 2005, according to an analysis done by the DOJ’s Office of the

Inspector General, less than 1% of all TSDB Listees were designated under either Handling

Code 1 or 2. In other words, less than 1% of all TSDB Listees either had an outstanding arrest

warrant or were under active investigation for terrorism. The overwhelming majority of

records, more than 96%, were designated under Handling Codes 3 or 4, as maybe having

possible ties to terrorism.    A follow-up audit in 2007 confirmed the same general

percentages: 1.5% of TSDB Listees were classified under Handling Code 1 or 2, with the

remainder classified under a consolidated Handling Code 3 or 4, or “other.”             Upon

information and belief, these ratios continue to approximate the Handling Code subdivisions

of TSDB Listees in 2018.

       93.108.       In addition to the various “terrorist” sub-classifications of TSDB

Listees, the TSDB also lists foreign individuals under an exception to the TSDB’s ordinary

‘reasonable suspicion of being a known or suspected terrorist’ standard. Pursuant to this

exception, the TSDB includes identifying information of foreign individuals who may have

espoused support for terrorist activities, or who are related to TSDB Listees.            The

Department of Homeland Security and the Department of State use this TSDB exception to

screen foreign individuals for admissibility, visas and immigration. TSDB “Exceptions” are

separately categorized by the TSC and disseminated to DHS and the State Department.
                                             38
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 39 of 281




       94.109.         Even though they are not TSDB Listees, airplane passengers

occasionally receive boarding passes stamped with “SSSS”.              These designations are

commonly the product of the TSA’s and CBP’s secretive and automated “risk-based targeting

rules.” These targeting rules examine passengers’ itineraries, travel histories, travelling

companions, associations with TSDB Listees, and numerous other undisclosed factors in

order to flag passengers as “unknown or partially known terrorists.” Upon information and

belief, the secretive and undisclosed factors include “totality of the circumstances” analysis

related to passengers’ race, ethnic origin, national origin, sex, and religion.

       110.    The designation of known or suspected terrorists with the marking “SSSS “has

become commonplace in the Muslim community. Coupled with witnessing the treatment

they receive when traveling, many of the Watchlisted Plaintiffs' family members, friends, and

associates recognize and understand “SSSS” to mean that the government has designated

them as terrorists.

       111.    Likewise, airline representatives and other airline personnel recognize the

“SSSS” designation and marking as meaning that the individual so designated is a known or

suspected terrorist.

       95.112.         The TSA’s Quiet Skies program assembles the results of these “risk-

based targeting rules” onto a separate TSA watchlist known as the “Quiet Skies Selectee List,”

and then subjects the passengers to intense investigation and scrutiny. Within the Quiet

Skies program, Federal Air Marshalls and plainclothes TSA officers collect detailed

behavioral and surveillance information on Quiet Skies Selectees, including passengers’

bathroom usage, wardrobe changes, meals, conversations, whether they sleep on their




                                               39
                  Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 40 of 281




flights, and reactions when they realize they are being stalked. Based on their observations

and investigations, the TSA may nominate Quiet Skies Selectees to the TSDB.

           113.   The TSA’s Quiet Skies programSilent Partner program is similar in form and

function to Quiet Skies. The only significant difference is that Silent Partner applies to flights

originating from outside the United States, while Quiet Skies applies only to flights

originating in the United States (regardless of whether it is a domestic or international

flight).

           96.114.      The TSA’s Quiet Skies and Silent Partner programs and/or the TSA’s

other rules-based programs target family members and traveling companions of TSDB

Listees, including Plaintiffs, because of their relationships. These family members and

traveling companions are themselves then treated as known or suspected terrorists.

           115.   TSA shares its Quiet Skies and Silent Partner list information with foreign

carriers and governments to assist those carriers and governments identify targets for

enhanced screening and interrogation.

           116.   TSA has stated it has since “curtailed” the Quiet Skies program, but TSA has

not claimed to end it and has not provided full details as to how much the program has been

curtailed. It is also unclear whether or to what degree Silent Partner has been curtailed.

           97.117.      CBP employs comparable risk-based targeting rules to the TSA in order

to single out individuals at ports of entry for secondary inspection, detention, investigation

and deportation. Upon information and belief, CBP also maintains separate “unknown or

partially known terrorist” watchlists in parallel to the TSDB in order to label and treat

individuals presenting themselves at land borders as terrorists. Upon information and




                                               40
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 41 of 281




belief, CBP utilizes the results of high-risk targeting rules and resulting inspections and

investigation as a factual predicate for nominating individuals to the TSDB.

       118.   Watchlist policies, including all the watchlist policies described in this

Complaint, and all guidance and rules as to how all individual watchlist-based

determinations are made, are managed and controlled by Defendant WLAC, whose actions

are in turn decided by the Defendants who, as described above, advise the WLAC.

       98.119.       Upon information and belief, Plaintiffs are all TSDB Listees or family

members of TSDB Listees. Upon information and belief and in addition, Plaintiffs and

similarly-situated Americans have also been designated by the TSA and/or CBP as potential

terrorists as a resultbecause of the TSA and/or CBP’s automated high-risk targeting rules

and creation of separate “unknown or partially known terrorist” watchlists.

                  Nominations To Theto the Federal Terrorist Watchlist

       99.120.       Although TSA, CBP, and other agencies may use the records provided

by the TSC, it is the TSC that maintains and controls the TSDB database of suspected

terrorists.

       100.121.      Two government entities are primarily responsible for “nominating”

individuals for inclusion in the terrorist watchlist—NCTC and FBI. The NCTC, which is

managed by the Office of the Director of National Intelligence, relies on information from

other federal departments and agencies when including alleged known or suspected

international terrorists in its Terrorist Identities Datamart Environment (“TIDE”) database.

The NCTC reviews TIDE entries and recommends specific entries to the TSC for inclusion in

the watchlist. TIDE is the main source of all international terrorist information included in




                                             41
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 42 of 281




the watchlist.     The FBI, in turn, nominates to the watchlist individuals with what it

characterizes as suspected ties to domestic terrorism.

        101.122.       Other government agencies, including DHS, TSA and CBP, are also have

the abilityable to nominate individuals for inclusion in the terrorist watchlist.

        123.     For instance, FinCEN uses the TSDB to monitor watchlisted individuals’

financial transactions, and then nominates associated parties with those financial

transactions to the watchlist. See Press Release, FinCEN Awards Recognize Partnership

Between Law Enforcement Financial Institutions to Flight Financial Crime (May 10, 2016)

(Exhibit 8).3

        102.124.       All nominations to the TSDB must be approved and implemented by

the TSC. The TSC makes the final decision on whether a nominated individual meets the

minimum requirements for inclusion into the watchlist as a known or suspected terrorist.

TSC also decides which screening systems will receive information about that individual.

        103.125.       Former Director of the Terrorism Screening Center Timothy Healy

testified that in evaluating whether an individual meets the criteria for inclusion on the

consolidated watchlist, the TSC determines whether the nominated individual is “reasonably

suspected” of having possible links to terrorism. According to the TSC, “reasonable suspicion

requires articulable facts which, taken together with rational inferences, reasonably warrant

the determination that an individual is known or suspected to be or has been engaged in

conduct constituting, in preparation for, in and of or related to terrorism and terrorist

activities.”



3 Available at https://www.fincen.gov/news/news-releases/fincen-awards-recognize-

partnership-between-law-enforcement-and-financial.
                                              42
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 43 of 281




       104.126.       Defendants have provided only limited information about and

otherwise not stated publicly what standards or criteria are applied to determine whether

an American citizen will be placed on the TSDB, No Fly List, Selectee List, Expanded Selectee

List, Quiet Skies/Silent Partner Selectee List,(s), or any other terrorist watchlist that is

distributed to the TSA, CBP or other screening agencies.

       105.127.       The standards for watchlist inclusion do not evince even internal logic.

Defendants define a “suspected terrorist” as an “individual who is reasonably suspected to

be, or have been, engaged in conduct constituting, in preparation for, in aid of, or related to

terrorism and terrorist activities based on articulable and reasonable suspicion.” In other

words, Defendants place American citizens and other individuals on the federal terrorist

watchlist based upon a “reasonable suspicion” that they are “reasonably suspected” of

nefarious activities. This standard fallsThese standards fall far below the typical “reasonable

suspicion” and “probable cause” standards required for criminal investigation.

       106.128.       The federal government utilizes guilt-by-association as a basis for

watchlist inclusion. For example, immediate relatives of listed persons can become TSDB

Listees without any derogatory information—other than the bonds of family. Likewise, they

can be subjected to TSA and CBP rules-based ‘terrorist’ monitoring on the basis of family

alone. Such designation signals to screening agencies, officers, employers, and others that

the immediate relative is a violent threat engaged in nefarious activities.

       107.129.       Being a known associate—a friend, colleague, fellow community

member, etc.—of a listed individual can also provide a basis for watchlist inclusion.




                                              43
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 44 of 281




       108.130.      Even if an American citizen is acquitted of terrorism charges or those

charges are otherwise dismissed, the federal government retains for itself the authority to

continue to include them in the watchlist.

       109.131.      For reasons unknown, Defendants also place what they call “non-

investigatory subjects” on the federal terrorist watchlist, i.e., American citizens and other

individuals they have chosen not to investigate.

       110.132.      Defendants place individuals on the federal terrorist watchlist without

any information regarding an individual’s intended target.

       111.133.      Defendants place individuals on the Selectee List without any

information that they pose a threat to aviation.

       112.134.      Defendants place individuals on the No Fly List without any

information that they pose a threat to aviation.

       113.135.      Under these practices and standards, the number of records in the

consolidated watchlist has swelled. Over 1.1 million new names have been added to the

watchlist since 2009. More than 98% of the names nominated to the TSDB are accepted. In

2013, TSC accepted 98.96 percent of all nominations made. A 2007 GAO report found that

TSC rejects only approximately one percent of all nominations to the watchlist. 4

       114.136.      Because of these loose standards and practices, the federal terrorist

watchlist’s rate of growth has dramatically increased. In fiscal 2009, there were 58,999 new

additions to the watchlist. In fiscal 2016, there were 176,014 new additions.



4 See United States Government Accountability Office Report to Congressional Requesters

entitled Terrorist Watchlist Screening: Opportunities Exist to Enhance Management Oversight,
Reduce Vulnerabilities in Agency Screening Processes, and Expand Use of the List, GAO-08-110,
October 2007, at 22.
                                             44
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 45 of 281




       115.137.       Upon information and belief, in 2001, there were 16 people who the

federal government systematically prevented from flying. By 2009, the number grew to

approximately 3,400. By 2016, that number increased to approximately 81,000.

       116.138.       Once an American citizen has been placed on the watchlist, the

individual remains on the list until the agency that supplied the initial information in support

of the nomination determines the individual should be removed.

       117.139.       At a March 10, 2010 Senate Homeland Security Committee hearing,

Russel E. Travers, Deputy Director of the National Counterterrorism Center, stated that

“[t]he entire federal government is leaning very far forward on putting people on list,” and

that the watchlist is “getting bigger, and it will get even bigger.”

       118.140.       The federal terrorist watchlist’s and rules-based terror lists’ inclusion

standards are so permissive, pliable, and laden with discriminatory assessments of race,

ethnicity, national origin, and religion, that they bear at best a fleetingly marginal connection

to actual terrorist activities. The inclusion standards themselves violate the Plaintiffs’

procedural and substantive due process rights.




                                               45
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 46 of 281




         Dissemination &and Consequences Of Theof the Terrorist Watchlist                        Formatted: Keep with next


       119.141.      Subsets of TSDB watchlist information are disseminated from the TSC

across the federal government, to state and local governments, and to more than 60 foreign

countries, including all Visa Waiver Program countries.

       120.142.      TSC disseminates records from its terrorist watchlist to other

government agencies that in turn use those records to identify suspected terrorists. For

example, applicable TSC records are provided to TSA for use by airlines in pre-screening

passengers and to CBP for use in screening travelers entering the United States at land

borders, seaports, airports, and other ports of entry.

       121.143.      Upon information and belief, Defendants disseminated the records of

the Watchlisted Plaintiffs from the TSDB to other government agencies, including TSA for

use by airlines in pre-screening the Watchlisted Plaintiffs, and CBP for use in screening the

Watchlisted Plaintiffs upon entering the United States.

       122.144.      Upon information and belief, Defendants disseminated the records

pertaining to the Watchlisted Plaintiffs from their terrorist watchlist to foreign governments

with the purpose and hope that those foreign governments will constrain the movement of

the Watchlisted Plaintiffs in some manner.

       123.145.      Upon information and belief, Defendants’ intention in disseminating

watchlist records, including those of the Watchlisted Plaintiffs and similarly situated

American citizens, as widely as possible is to constrain and monitor their movements and

activities, both in the United States and abroad. For example, some countries detain

individuals listed on the federal terrorist watchlist who enter their borders, question those




                                              46
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 47 of 281




individuals at the behest of United States officials, or altogether prevent those individuals

from entering those countries.

       124.146.      Thus, while the TSC maintains and controls the database of suspected

terrorists, it is the front-line agencies like the TSA, CBP, and law enforcement that carry out

the screening function. These agencies and law enforcement entities cross-reference the

names and identities of individuals they encounter against the TSDB in order to determine

whether they are on the TSDB or are a potential match to the TSDB.

       125.147.      Agencies throughout the federal government utilize the federal

terrorist watchlist to conduct and promote screening, subjecting listed persons to a

comprehensive portfolio of consequences that cover large aspects of their lives.

       126.148.      Government agencies routinely cross-reference the TSDB in

connection with applications for or audits of a wide range of government benefits. The TSDB

is referenced in connection with and used as a basis to deny federal government

employment, security clearances (regardless of whether the individual needs that clearance

for either government or private contractor employment), travel benefit programs like TSA

PreCheck and Global Entry, and a wide variety of government licenses and credentials used

in both public and private employment, including FAA licenses, Hazmat licenses,

Transportation Worker Identity Credentials, and security credentials needed for critical

infrastructure projects like power plants.

       127.149.      Indeed, Defendants disseminated the federal terrorist watchlist to

government authorities, private corporations and individuals with the purpose and hope

that these entities and/or individuals will impose consequences on those individuals

Defendants have listed, including the Watchlisted Plaintiffs.


                                              47
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 48 of 281




       128.150.       Upon information and belief, the status of the Watchlisted Plaintiffs and

similarly situated American citizensindividuals as known or suspected terrorists on the

federal terrorist watchlist diminishes and even imperils their ability to access and utilize the

financial system.

       129.151.       Defendants have provided information regarding TSDB Listees to

banks, prompting banks to close the bank accounts of individuals listed on the federal

terrorist watchlist. Financial institutions have also declined to allow some watchlisted

individuals to make wire transfers.

       130.152.       Moreover, upon information and belief, family-based immigration

applications filed by individuals listed on the federal terrorist watchlist are delayed

indefinitely due to an “FBI name check” and not adjudicated, thereby denying and hindering

the Watchlisted Plaintiffs and similarly situated American citizensindividuals of the rights

that flow from citizenship, including the ability to sponsor lawful permanent residency for

immediate relatives living abroad.

       131.153.       Among the entities and individuals to which the federal government

disseminates its federal terrorist watchlist are state and local authorities, foreign

governments, corporations, private contractors, airlines, gun sellers, financial institutions,

and captains of sea-faring vessels, among others.

       132.154.       Upon information and belief, because the names of the Watchlisted

Plaintiffs and similarly situated American citizensindividuals are included on the federal

terrorist watchlist, their names were disseminated to state and local authorities, foreign

governments, corporations, private contractors, airlines, gun sellers, financial institutions,

the captains of sea-faring vessels, among other official and private entities and individuals.


                                              48
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 49 of 281




        133.155.     In fact, in 2015, former Director of the Terrorist Screening Center

Christopher Piehota gave an exclusive interview to CNN and stated the following, in relevant

part:

              It's concerning that our partners don't use all of our data. We
              provide them with tools. We provide them with support, and I
              would find it concerning that they don't use these tools to help
              screen for their own aviation security, maritime security, border
              screening, visas, things like that for travel.5

        134.156.     Former TSC Director Piehota went on to state that the United States

shares its federal terrorist watchlist with the European Union, but that European Union

countries don't systematically utilize it to identify suspected terrorists or screen migrants

coming.

        135.157.     Because the federal government disseminates its federal terrorist

watchlist to foreign governments, listed persons, including the Watchlisted Plaintiffs and

similarly situated American citizens, are often not allowed to enter other nations. This is

because the United States is telling other nations, without any modicum of due process, that

thousands of its own citizens and residents are “known or suspected terrorists.”

        136.158.     The federal government, through Defendants, disseminates its federal

terrorist watchlist to state and local police officers which allows those officers to query the

names of persons, including the Watchlisted Plaintiffs, against the TSDB as disseminated

through the NCIC. Watchlisted Plaintiffs and similarly situated watchlisted individuals are




5 First on CNN: Top U.S. intel official: Europe not taking advantage of terror tracking tools,

CNN, available at: http://www.cnn.com/2016/04/07/politics/christopher-piehota-us-
intel-europe-terror-tracking/
                                              49
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 50 of 281




often identified and treated as terrorists during routine police encounters including traffic

stops.

         137.159.     Disseminating the federal terrorist watchlist to state and local police

officers creates a dangerous situation insofar as the federal terrorist watchlist effectively

directs state and local officers to treat thousands of Americans, including the Watchlisted

Plaintiffs, charged with or convicted of no crime yet who are listed as a “known or suspected

terrorist” as extremely dangerous.

         160.   The watchlist is also disseminated to approximately 553 private entities,

including airlines, universities, hospitals, private correctional facilities, private security

services, and private city attorneys. This does not include additional private entities that the

Department of Homeland Security shares watchlist data to, including aircraft and airport

companies for employment and other non-traveling purposes.

         138.161.     With the advent and deployment of automatic license plate readers by

police departments across the country, federal, local and state authorities have relied heavily

upon a driver’s (or a car associated with a driver’s) watchlist status as the basis of a border

or traffic stop. Watchlisted Plaintiffs and similarly situated American citizensindividuals

have been subjected to this treatment.

         139.162.     Being on the federal terrorist watchlist can prevent listed persons,

including the Watchlisted Plaintiffs and similarly situated American citizens and lawful

permanent residents, from purchasing a gun. For example, New Jersey passed a law in 2013

that banned persons on the federal terrorist watchlist from owning guns. Additionally,

Connecticut is in the process of setting up an institutional mechanism to prevent individuals

whose names are included on the federal terrorist watchlist, such as the Watchlisted


                                              50
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 51 of 281




Plaintiffs, from being able to buy a gun in the state of Connecticut. Accordingly, the

Watchlisted Plaintiffs and similarly situated American citizensindividuals are unable to

purchase guns in states that ban persons on the federal terrorist watchlist from owning guns.

       140.163.      There are perennial federal proposals to ban all TSDB Listees from

purchasing guns, although none has yet been formally adopted.             Nonetheless, upon

information and belief, Defendants disseminate the TSDB (through the NCIC or otherwise)

throughout the gun market. The gun permittingpermit and gun sale process involves name

cross-checks against the TSDB. Gun permits and sales have been denied based on Plaintiffs’

and similarly situated American citizens’ status as TSDB Listees. The GAO reported on March

7, 2016 that TSDB Listees are, as a matter of course, subjected to gun-purchase delays, and

212 TSDB Listees have been barred from purchasing guns altogether.

       141.164.      Because the federal government conducts a security risk assessment

that includes querying the federal terrorist watchlist prior to issuing a license to commercial

drivers to transport hazardous materials, being on the federal terrorist watchlist can prevent

listed persons, including the Watchlisted Plaintiffs and similarly situated American citizens,

from obtaining or renewing their Hazmat license.

       142.165.      The federal government conducts a security risk assessment for private

and public transportation workers, including those who enter airports and maritime ports.

Approved individuals are issued Transportation Worker Identity Credentials (“TWIC”). The

TWIC credential process includes querying the federal terrorist watchlist. On May 9, 2012,

Assistant Administrator David Nicholson testified to Congress that the TSA vets more than

13 million transportation workers against the terrorist watch listwatchlist each week.




                                              51
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 52 of 281




Defendants have prevented TSDB Listees from obtaining or renewing their TWICs, thus

depriving them of a requirement for their employment.

       143.166.        Being on the federal terrorist watchlist can also result in the denial or

revocation of a Federal Aviation Administration (FAA) license of individuals listed on the

federal terrorist watchlist, including the Watchlisted Plaintiffs and similarly situated

American citizens.

       144.167.        Being on the federal terrorist watchlist can also prevent listed persons,

including the Watchlisted Plaintiffs and similarly situated American citizens, from

accompanying minors or passengers with disabilities to their gate, from working at an

airport, or working for an airline insofar as listed persons are not allowed to enter so-called

“sterile areas” of airports.

       145.168.        Being on the federal terrorist watchlist can also result in the listing of

the false stigmatizing label of “known or suspected” terrorist on the criminal records of the

Watchlisted Plaintiffs and similarly situated American citizens and lawful permanent

residents.individuals. Criminal record information is accessible to the general public.

       146.169.        Defendants make the federal terrorist watchlist available to municipal

courts, which may make bail determinations based on an individual’s status on the watchlist.

       147.170.        The federal terrorist watchlist diminishes, rather than enhances, our

national security because the number of innocent Americans on the list is becoming so

voluminous that the purpose of having a list is significantly undermined.

       148.171.        The consequences of being on the federal terrorist watchlist are meted

out publicly. Members of the public can witness the extra and intrusive screening to which

individuals on the federal terrorist watchlist are subject. This screening oftentimes occurs


                                               52
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 53 of 281




in front of family and colleagues, including TSDB Listees being pulled out of their cars at

gunpoint, being ordered to leave their vehicles with their hands held above their head, being

handcuffed, being singled out and escorted first off of a plane by law enforcement officers,

being subjected to lengthy detentions, and having their electronics confiscated and searched,

among other stigmatizing measures.

       149.172.       Because travel is regularly done with family, friends, community

acquaintances, and professional contacts, a person’s watchlist status is revealed to travel

companions. Travel companions come to learn of a person’s watchlist status based on how

screeners treat TSDB Listees. Moreover, TSA and CBP screening and rules-based practices

often flag travel companions as themselves being potential terrorists, causing them to be

treated the same as TSDB Listees.

       150.173.       In practice, frontline screeners disclose the status of individuals on the

federal terrorist watchlist to federal, state, local, and foreign authorities, as well as private

employees of airports, airlines, and other transportation employees. The operation of the

federal terrorist watchlist enlists air carriers to assist the federal government in tracking

passengers on the federal terrorist watchlist.

       151.174.       Defendants who contributed to the placement of the Watchlisted

Plaintiffs and similarly situated American citizensindividuals on the federal terrorist

watchlist knew that their actions violated clearly established federal and constitutional law.

       152.175.       Defendants knew at the time they acted unlawfully that Supreme Court

precedent required that, whenever a citizen is deprived of a liberty interest, the federal

government must at least provide the deprived with some form of notice that a deprivation

occurred, and an opportunity to contest or correct it.


                                               53
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 54 of 281




       176.   Separately, TSA disseminates the Quiet Skies and/or Silent Partner watchlist

to foreign governments and foreign airline carriers.

                   The Federal Government’s Terrorist Watchlist                                    Formatted: Keep with next
       Is Nono More Effective Thanthan a List of Randomly Selected Individuals

       153.177.       Defendants’ ability to watchlist persons who actually pose a threat of

terrorism can be measured and described using a quantitative analysis based on factual

allegations made in this Complaint as well as publicly available information describing the

current operation of the federal terrorist watchlist.

       154.178.       The federal government has added approximately 1.1 million persons

to the federal terrorist watchlist over the last ten years. These additions include thousands

of U.S. citizens and lawful permanent residents.

       155.179.       Moreover, based on the University of Maryland’s Global Terrorism

Database, a project funded in part by the Department of Homeland Security, there have been

less than 250 terrorist acts inside the United States over the last decade. These terrorist acts

were perpetrated by less than 250 persons.

       156.180.       Only one of these perpetrators was designated on the federal terrorist

watchlist by the federal government prior to their criminal conduct. This single person

designated on the federal terrorist watchlist, however, was removed from the federal

terrorist watchlist prior to perpetrating the terrorist attack.

       157.181.       Upon information and belief, in order to designate a person on the

federal terrorist watchlist, the federal government must first have information about that

person. Because the federal government does not possess information on every person in

the world, existing law enforcement and intelligence practices produce a subset of persons


                                               54
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 55 of 281




who the federal government can then screen against the federal terrorist watchlist’s

inclusion standards.

       158.182.        The precise size of this subset is unknown; however, a survey of law

enforcement and intelligence practices indicates that the size of this subset is greater than

50 million people.

       159.183.        Upon information and belief, the practices that produce this subset

exclude some persons who do pose a threat of terrorism and include some persons who do

not pose a threat of terrorism.

       160.184.        Upon further information and belief, the federal government does not

screen the entire subset of people known to it. Moreover, Defendants do not make individual

determinations as to whether each person about whom they have information should be

placed on the federal terrorist watchlist. Defendants utilized automated algorithms and risk-

based targeting rules to select individuals for scrutiny, investigation, and nomination to one

or more terrorist watchlists.

       161.185.        In order to designate a person on the federal terrorist watchlist, a

federal government official must make a nomination and a TSC official must accept the

nomination. TSC officials accept nominations at a rate above 98 percent.

       162.186.        Based on the facts alleged in this Complaint and the publicly known

processes of the federal terrorist watchlist, a quantitative analysis can be constructed to

measure and describe the performance and efficacy of the federal terrorist watchlist.

       163.187.        A quantitative analysis requires that, in order to accomplish the federal

terrorist watchlist’s stated objectives, Defendants must have at least some greater-than-

random ability to identify future terrorists. This is due to the nature of the processes


                                               55
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 56 of 281




Defendants utilize to place persons on the federal terrorist watchlist and the size of the

population Defendants can—if they so choose—screen against the federal terrorist

watchlist’s inclusion standards.

       164.188.        A quantitative analysis demonstrates that Defendants’ watchlisting

system would perform similarly if inclusion on the watchlist was done via random selection

instead of the existing inclusion standards Defendants utilize.

       165.189.        A quantitative analysis therefore indicates that Defendants have no

ability to watchlist persons whose placement on the watchlist would further Defendants’

stated objectives.

       190.      The TSA has conceded that it cannot identify any terrorist plots which were

foiled or deterred based on either the Quiet Skies or the Silent Partner programs.

  Watchlist Practices Target Andand Disproportionately Harm American Muslims                       Formatted: Keep with next


       166.191.        As of January 2018, the Pew Research Center estimates that there are

3.45 million Muslims living in the United States, accounting for 1.1% of the total U.S.

population. Particularly robust Muslim populations live, inter alia, in Michigan, Illinois,

Washington, D.C., New Jersey, New York, and California.

       167.192.        Dearborn, Michigan is a suburb of Detroit with a large Arab-Muslim

community, comprising 40% of its approximately 100,000-person population. Due to

Dearborn’s significant Muslim population, it has earned a reputation as the “Muslim Capital

of America.” As of 2013, Dearborn was second only to New York City (population: 8.5

million) for the total number of residents listed on the federal terrorist watchlist. As of that

same date, no Muslims from Dearborn had ever committed acts of terrorism against the

United States.


                                              56
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 57 of 281




       168.193.       Defendants’ over-eager practice of approving watchlist nominations of

relatives or associates of already-listed individuals imposes overwhelming network effects

in Muslim communities such as Dearborn. One watchlist nomination, even if grounded in

probable cause or a preexisting criminal conviction, can rapidly spiral into the government

classifying nearly every member of an extended family or community mosque as a potential

or suspected terrorist.

       169.194.       The   federal    terrorist    watchlist and   its   inclusion standards

disproportionately target and affect American Muslims.               Defendants, knowingly,

intentionally, and purposefully use impermissible and inaccurate religious profiles in order

to nominate, accept, disseminate, and deploy the federal terrorist watchlist against American

Muslims in a manner that is different from other faith backgrounds.

       170.195.       Defendants consider origin from Muslim-majority countries, travel to

Muslim-majority countries, travel on religious pilgrimages, learning Arabic, attending

mosques, zakat donations to Muslim charities, the wearing of typical Muslim dress, the

frequency of Muslim prayer, adherence to Islamic religious practices, affiliations with

Muslim organizations, and associations with other Muslims as suspicious factors supporting

inclusion in the TSDB, on the Quiet Skies/Silent Partner Selectee List,(s), and on other high-

risk-potential-terrorist watchlists.

       196.   But while travel to Muslim-majority countries is more likely to land a Muslim

on the watchlist, the same is not true of a non-Muslim. Thus, Defendants treat otherwise

similarly-situated individuals differently depending on their religion.




                                               57
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 58 of 281




       171.197.       In fact, almost all – if not, all – legal challenges regarding designations

on the federal terrorist watchlist have been filed by Muslims nationwide.6

       172.198.       Upon information and belief, when Defendants review lists of social

networks and known associates of a currently watchlisted individual, they routinely chose

to nominate Arab or Muslim names that cross their desk on the stereotyped basis of race,

religion, or national origin alone. Meanwhile, Defendants gloss over any stereotypically

white, Christian, English, or Western-European names that may appear in the same network

lists, such as classmates or colleagues. This is true even when the only distinction between

a nominated person and a non-nominated person are improper race, religion, or national

origin criteria.

       199.    Although most terrorist acts in the United States are committed by non-

Muslims, and indeed in many cases are committed by anti-Muslim extremists, the

overwhelming majority of U.S. citizens on the watchlist are Muslim. This is a result of the

Government’s knowing, intentional, and purposeful use of religious, racial, and national

origin criteria, including as described above.


6 See Rahman v. Chertoff, No. 05-cv-3761 (N.D. Ill.); Ibrahim v. U.S. Dep't of Homeland Sec., No.

06-cv-00545 (N.D. Cal.); Scherfen v. U.S. Dep’t of Homeland Security, No. 3:08-cv-1554 (M.D.
Pa.); Latif v. Holder, 3:10-cv-00750 (D. Or.); Shearson v. Holder, No. 1:10-cv-1492 (N.D. Ohio);
Mohamed v. Holder, No. 1:11-cv-50 (E.D. Va.); Abdallah v. JetBlue Airways Corp., No. 12-cv-
1050 (D.N.J.); Mokdad v. Holder, 2:13-cv-12038 (E.D. Mich.); Fikre v. FBI, 3:13-cv-00899 (D.
Or.); Tarhuni v. Holder, 3:13-cv-00001 (D. Or.); Tanvir v. Tanzin, No. 13-CV-6951 (S.D.N.Y.) ;
Ege v. U.S. Dep’t of Homeland Security, No. 13-1110 (10th Cir.); Beydoun v. Lynch, No. 14-cv-
13812 (E.D. Mich.); Kadura v. Lynch, No. 14-cv-13128 (E.D. Mich.); Long v. Lynch, 1:15-cv-
01642 (E.D. Va.); Bazzi v. Lynch, 16-cv-10123 (E.D. Mich.); Elhady v. Piehota, No. 1:16-cv-375
(E.D. Va.); Amiri v. Kelly, No. 17-cv-12188 (E.D. Mich.); Abdi v. Wray, No. 2:17-cv-622 (D.
Utah); Kovac v. Wray, 3:18-cv-110 (N.D. Tx.). Many of these legal challenges were filed by
groups of multiple Muslim plaintiffs.

                                                 58
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 59 of 281




       173.200.      Upon information and belief, Defendants dismiss mass violence

perpetrated by white Christians as “lone wolf” events unconnected to “organized” terrorism,

while overreacting to comparable or even less serious events perpetrated by Muslims. This

is fueled by a media culture which, according to researchers at Georgia State University,

dedicates nearly five times as much reporting to Muslim perpetrators than to white ones.

       174.201.      Upon information and belief, even though they facially satisfy the same

known associate watchlist criteria, close families and friends of convicted white-nationalist

domestic terrorists are not routinely added to the federal terrorist watchlist, while distant

families and friends of innocent Muslims often discover that their mere association with

other watchlisteeswatchlisted individuals has caused them to be labeled potential terrorists.

Thus, the Government does not treat similarly-situated groups the same, singling out

Muslims for harsher treatment.

       202.   By way of singular example, on February 20, 2019, federal prosecutors

indicted Lieutenant Christopher Hasson for plotting a large-scale terrorist attack. Despite

significant evidence of Hasson’s extremism and potential for terrorism, not only does it

appear that was Hasson not on the terrorism watchlist, he held a Secret level security

clearance. Nor is there any reason to believe any of Hasson’s friends or relatives have been

added to the watchlist.

       175.203.      Defendants’ 2013 Watchlisting Guidance indicates that “[t]ravel for no

known lawful or legitimate purpose to a locus of terrorist activity” can be a basis for being

listed. While a “locus of Terrorist Activity” is not defined by the document, upon information

and belief, it likely includes any place where many Muslims reside.




                                             59
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 60 of 281




       176.204.       ByBy intentionally and purposefully emphasizing Arab origins or

Islamic faith above all else, Defendants have utilized the watchlist far beyond its intended

purpose. Instead of serving as a targeted tool to enhance aviation and border security, the

watchlist has become a bludgeon to coerce everyday American Muslims into spying on their

neighbors and becoming government informants. Presence on the watchlist is deployed as

an intimidation tactic and used to coercively justify the denial of American-Muslims’ civil

rights, such as the right to have an attorney present during law enforcement questioning.

       177.205.       PublicAlong with the experiences of Plaintiffs John Doe 2 and Hicham

Hall as described in more detail below, public examples of this phenomenon abound. See

Latif v. Holder, 2014 U.S. Dist. LEXIS 85450, *1928 F. Supp. 3d 1134, 1145 (D. Or. June 24,

2014) (an FBI agent told Steven Washburn that he “would help remove Washburn's name

from the No-Fly List if he agreed to speak to the FBI”);”)7; Id. at *21-221146 (FBI agents told

Ibraheim Mashal that “his name would be removed from the No-Fly List and he would

receive compensation if he helped the FBI by serving as an informant.”):”): Id. at *22-23 (FBI

agents offered Amir Meshal “the opportunity to serve as a government informant in

exchange for assistance in removing his name from the No-Fly List.”).”). See also Fikre v. FBI,

2014 U.S. Dist. LEXIS 7317423 F. Supp. 3d 1268, 1278-79 (D. Or. May 29, 2014) (Emirati

officials told Yonas Fikre that he “could not travel to the United States by air because he is on

the No-Fly List” and an FBI agent told Fikre that “the FBI could take steps to remove [him]

from the No-Fly List if he agreed to be an informant.”);”); Tanvir v Tanzin, 894 F.3d 449 (2d

Cir. 2018) (multiple Muslim Plaintiffs “asked to gather information on members of Muslim

communities and report that information to the FBI…In” and “[i]n some instances, the FBI’s


7 Washburn, like every other individual described in this Paragraph, is Muslim.


                                               60
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 61 of 281




request was accompanied with severe pressure, including threats of deportation or arrest;

in others, the request was accompanied by promises of financial and other assistance.”).”).

       178.206.       The FBI has sought to recruit some of the Plaintiffs, and similarly

situated watchlisted Americans, as informants.

       179.207.       To American Muslims, the watchlist is an ever-present threat of

increased scrutiny and adverse consequences which descends without notice, cannot be

effectively redressed, and chills their constitutionally-protected exercise of speech and

religion.

             Inadequacy of the DHS Traveler Redress Inquiry Program Process                         Formatted: Keep with next


       180.208.       Defendants have not provided travelers, including the Watchlisted

Plaintiffs and similarly situated American citizens and foreign nationals, with a clear, fair,

timely, or effective mechanism through which they can challenge the TSC’s decision to

designate them as a potential terrorist and place them on the watchlist. Nor can Watchlisted

Plaintiffs and similarly situated American citizens and foreign nationals challenge DHS’s

inclusion of Plaintiffs on separate but related high-risk potential-terrorist lists such as Quiet

Skies and Silent Partner.

       181.209.       No single government entity is responsible for removing an individual

from the TSDB. The FBI administers the TSC and the watchlist but does not accept redress

inquiries from the public. The NCTC which manages the TIDE list (which in turn supplies

names to the TSC watchlist) also does not accept redress inquiries from the public. Neither

entity directly provides final disposition letters to individuals who have submitted redress

inquiries.




                                               61
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 62 of 281




       182.210.      The only redress “process” available to individuals included on the

terrorist watchlist is the DHS Traveler Redress Inquiry Program. Individuals who have been

denied entry or boarding, subjected to additional screening, or who otherwise suspect that

they may be on the watchlist, may seek redress by submitting an inquiry to DHS TRIP. At

that time, DHS TRIP provides individuals with a “Redress Control Number.”

       183.211.      The DHS TRIP Redress process primarily affects the TSA’s screening of

airport travelers and TSDB Listees; it has limited (if any) impact on TSDB Listees’ overall

TSDB status, including their screening at land borders by CBP, or their screening for

immigration, visas, employment, security clearances, or credentialing by other federal

agencies.

       184.212.      DHS TRIP submits the traveler complaints of TSDB Listees to the TSC,

which determines whether any action should be taken. The TSC has not provided any

publicly available information about how it evaluates complaints or makes that decision.

The TSC is the final arbiter of whether an individual’s name is retained on or removed from

the watchlist, including those of the Watchlisted Plaintiffs and similarly situated American

citizens, lawful permanent residents, and foreign nationals. In 2009, the TSC testified to

Congress that of the watchlist DHS TRIP cases “approximately 51 percent are appropriately

watchlisted, 22 percent have been modified or reviewed prior to redress, 10 percent were

similar names, and 15 percent were removed or downgraded due to the redress process.”

       185.213.      The TSA Administrator may provide input regarding whether a DHS

TRIP Redress applicant listed on the TSDB should be removed, but as of December 2017, the

TSA Administrator had taken no action regarding the removal of TSDB Listees in two years.




                                            62
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 63 of 281




       186.214.       Being removed from the No Fly List or the Selectee List does not mean

that aan individual is also removed from the TSDB.

       187.215.       Being removed from the TSDB does not mean that an individual will

cease to be treated as a terrorist, as they may continue to be subjected to terrorist-level

scrutiny through the operation of the TSA and CBP’s rules-based targeted terrorist

monitoring lists.

       188.216.       The Government does not provide an American citizen with a

meaningful opportunity to confront, or to rebut, the grounds for his or her possible inclusion

on the watchlist. No information is available to the Watchlisted Plaintiffs and similarly

situated American citizens, lawful permanent residents, and foreign nationals about what

specific facts the TSC considers during the redress process, and no opportunity is provided

for the Watchlisted Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals to contest or correct those facts.

       189.217.       Once the TSC makes a determination regardingabout a particular

individual’s status on the watchlist, it sends the result to DHS TRIP. DHS TRIP in turn

responds to the individual with a standard form letter that neither confirms nor denies the

existence of any terrorist watchlist records relating to the individual.

       190.218.       In response to prior litigation, DHS TRIP letters are now required to

affirmatively state whether a U.S. complaineecomplainant is presently on the No Fly List.

However, DHS TRIP does not disclose Selectee, Expanded Selectee, or Quiet Skies/Silent

Partner Selectee list status. The DHS TRIP letters continue to provide no information on

historical watchlist status, no information as to whether a person is included in the TSDB




                                              63
                 Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 64 of 281




generally, no meaningful factual basis for the individual’s inclusion on the watchlist, and no

information as to whether the government has resolved the specific complaint at issue.

          219.   The DHS TRIP process as modified does nothing to resolve the fact that the

standard for inclusion itself violates due process, a problem for which providing additional

process related to that standard could cure.

          220.   The DHS TRIP process, does not provide any pre-deprivation process

(whether on an ex parte basis or not), even though individuals on the Selectee, Expanded

Selectee, or Quiet Skies/Silent Partner Selectee list face amorphous criteria for being placed

on the list and the decision not to an individual on the No Fly List establishes that the

Government does not have any reason to believe the individual is an imminent security

threat.

          221.   The DHS TRIP process does not provide a meaningful hearing in front of a

neutral arbiter.

          222.   The TSA Administrator has not processed a single No Fly List determination

arising out of DHS Trip since 2015.

          223.   The DHS TRIP process does not require the Government to consider

exculpatory information in its possession.

          224.   The DHS TRIP process does not consider lesser ways to ameliorate the

deprivation of liberty caused by (wrongfully) being on the list such as the potential for an

individual to submit to advance screening prior to a scheduled trip.

          191.225.     As such, DHS TRIP offers no meaningful or substantive review of the

watchlist designation and in effect shields the TSC’s actions with respect to the individual




                                               64
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 65 of 281




nominations or classes of nominations from meaningful review by any independent

authority, including the judiciary.

       192.226.       Instead, DHS TRIP operates as a mere middleman, forwarding

complaints to the TSC while shielding the TSC’s substantive determinations from individual,

independent, or judicial review. Thus, the only “process” available to individuals caught up

in the federal terrorist watchlisting system is to submit their names and other identifying

information to DHS TRIP, a government entity that itself has no authority to provide redress,

and then hope that some other unspecified government agency self-identifies an error or

changes its mind.

       193.227.       Individuals are justifiably skeptical of Defendants’ willingness to

engage in meaningful introspection or self-correction. Famously, in Ibrahim v. Department

of Homeland Security, et al., 06-CV-00545, ECFDkt. No. 701-1 (N.D. Cal. Feb. 6, 2014),

Defendants vigorously contested a Muslim graduate student’s challenge to her No Fly List

designation and subsequent revocation of her student visa.         Defendants’ actions had

stranded her in Malaysia for nine years. Following trial, it was ultimately revealed that her

placement on the No Fly List was the result of an FBI agent’s error in November 2004. He

had accidentally checked the wrong box. IdSlip op. at 9.                                        Formatted: Font: Not Italic


       194.228.       The government’s own internal audits of the watchlist system point to

serious flaws. For example, a March 2008 DOJ Office of the Inspector General report entitled

Audit of the U.S. Department of Justice Terrorism Watchlist Nomination Processes found

significant problems with the nomination and removal process. Rather than address those

problems, Defendants’ approach since 2008 has been to double-down on questionable




                                             65
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 66 of 281




nomination and redress practices, exponentially increasing the watchlist’s size and adverse

consequences.

       195.229.       A federal judge observed in Gulet Mohamed v. Eric R. Holder, Jr., et al.,       Formatted: Font: Not Italic


No. 11-cv-00050, Dkt. 70 at 19995 F. Supp. 2d 520, 532 (E.D. Va. 20112014), that “[a]

showing of past or ongoing unlawful conduct does not seem to be required,… But the Court

has little, if any, ability to articulate what information is viewed by TSC as sufficiently

‘derogatory’ beyond the labels it has provided the Court. In sum, the No Fly List assumes

that there are some American citizens who are simply too dangerous to be permitted to fly,

no matter the level of pre-flight screening or on-flight surveillance and restraint, even though

those citizens cannot be legally arrested, detained, or otherwise restricted in their

movements or conduct.” (Memorandum Opinion attached as Exhibit 7).

       196.230.       The Mohamed v. Holder court went on to find that “[i]nclusion on the

No Fly List also labels an American citizen a disloyal American who is capable of, and

disposed toward committing war crimes, and one can easily imagine the broad range of

consequences that might be visited upon such a person if that stigmatizing designation were

known by the general public… The” and that “[t]he process of nomination to the No Fly List

is based on a suspected level of future dangerousness that is not necessarily related to any

unlawful conduct.” See id. at 14, 17529 and 531.

       197.231.       Another federal case permitted a broad challenge to the federal

terrorist watchlist to proceed. In Elhady, et al., v. Piehota, et al., No. 1:16-cv-375, Dkt. 47,303   Formatted: Font: Not Italic


F. Supp. 3d 453, 465 (E.D. Va. 2016) the court held that the “’centralcentral meaning of

procedural due process’process” is that “[p]artiesparties whose rights are to be affected are

entitled to be heard; and in order that they may enjoy that right they must first be notified.’”


                                                66
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 67 of 281




See id at 15 (Memorandum Opinion attached as Exhibit 8)..” (Cleaned up). The Court went

on to state that the “Government’s ‘trust us’ approach is inconsistent with the fundamental

procedural protections applicable to the deprivation of a protected liberty interest, including

the right to be heard.” See id. at 16.Id.

          The Experiences of the Plaintiffs on the Federal Terrorist Watchlist                       Formatted: Keep with next
                 Being Treated as “Known or Suspected Terrorists”

       198.232.        All of the Plaintiffs that are challenging their designation on the federal

terror watch listterrorist watchlist are practicing Muslims (together the “Watch

ListedWatchlisted Plaintiffs”).

       199.233.        All of the Watchlisted Plaintiffs other than Plaintiffs Khaled El Ali and

Abdaljalil Hijaz are United States citizens, with the exception of Plaintiff Khaled. El Ali, who

is a Belgium national. Hijaz is a Palestine national and permanent U.S. resident.

       200.234.        None of the Watchlisted Plaintiffs have ever been arrested, charged or

convicted of any type of terrorism-related offense.

       201.235.        Upon information and belief, the nomination and designation of the

Watchlisted Plaintiffs to the federal terror watch listterrorist watchlist was made based

solely upon a hunch and/or based upon their race, ethnicity, national origin, religious

affiliation, guilt-by-association, or First Amendment protected activities.

       202.236.        Upon information and belief, because the Watchlisted Plaintiffs are

included on the federal terror watch listterrorist watchlist, Defendants disseminated and are

continuing to disseminate their designation as “known or suspected terrorists” to

governmental and private partners.




                                               67
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 68 of 281




       203.237.       At no time were any of the Watchlisted Plaintiffs given notice of the

factual basis for their placement on the federal terror watch listterrorist watchlist, and at no

time were they offered a meaningful opportunity to contest their designation.

       204.238.       Moreover, at no time were any of the Watchlisted Plaintiffs given notice

of the deprivation of their liberty interests or violation of their constitutional rights.

       205.239.       The experience of the Watchlisted Plaintiffs on the federal terror watch

listterrorist watchlist is indicative of government practice, policy, and the experiences of

thousands of other Americans, particularly American Muslims, who have been deemed

suspected terrorists without notice and without redress.

       206.240.       Each of the Watchlisted Plaintiffs experience anxiety, shame and

humiliation as a resultbecause of being designated and treated by the government as “known

or suspected terrorists” in public, and in some cases, in front of family members, friends and

colleagues.

       207.241.       Many of the Watchlisted Plaintiffs have suffered monetary losses as a

resultbecause of being designated and treated by the government as “known or suspected

terrorists” in the form of lost business opportunities, missed flights, among other things.

       208.242.       Several of the Watchlisted Plaintiffs experienced additional anxiety,

shame and humiliation, and in some cases the loss of important associations, as a

resultbecause of family members, friends and/or colleagues also being treated as “known or

suspected terrorists” simply because they travelled together, described more fully below.

       209.243.       All of the Watchlisted Plaintiffs have been discouraged from traveling

as a resultbecause of being treated as “known or suspected terrorists,” and because of the

anxiety, shame and humiliation they are subjected to each time they travel.


                                               68
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 69 of 281




       210.244.       Many of the Watchlisted Plaintiffs have avoided and have continued to

avoid traveling by air or crossing land ports of entry as a resultbecause of being treated as

“known or suspected terrorists,” and because of the anxiety, shame and humiliation they are

subjected to each time they travel.

       211.245.       Many of the Watchlisted Plaintiffs have been subjected to

interrogations about their religious practices and beliefs, the answers of which, upon

information and belief, are factors that were considered in their inclusion to the federal

terrorterrorist watchlist.

       212.246.       The practice of Islam of the Watchlisted Plaintiffs, in addition to family

members that have been subjected to similar interrogations due to their relationships with

the Watchlisted Plaintiffs, have been substantially burdened by Defendants.

       213.247.       Upon information and belief, as of the date of this filing, the Watchlisted

Plaintiffs all remain on the federal terror watch listterrorist watchlist.

                                       The El Ali Family                                            Formatted: Keep with next


                   Plaintiffs Rami Khaled El Ali and Mia Khaled El Ali
                (Family Members of a Watch ListedWatchlisted Plaintiff)

       214.   Rami Khaled El Ali (“Rami”) and Mia Khaled El Ali (“Mia”), by and through their

mother and guardian Mariam Ahmad Ghaddar (“Ms. Ghaddar”), are United States citizens

and practicing Muslims.

       215.248.       Rami is 11-years-old and the son of Plaintiff Mr. Khaled El Ali.

(discussed below).

       216.249.       Mia is 14-years-old and the daughter of Plaintiff Mr. El Ali.




                                               69
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 70 of 281




       217.250.       In 2010, Mia and Rami relocated to Michigan and now live with their

mother. Prior to that, they lived with their entire family, including father, Plaintiff Mr. El Ali,

in Belgium.

       218.251.       Mia is an active eighth grader with a passion for basketball and

volleyball. She has been a part of her school’s basketball team for six years. She’s played

volleyball on and off for six years too.

       219.252.       Rami is an active sixth grader with a love for basketball, baseball,

soccer, and chess.

       220.253.       Mia and Rami have a close relationship with their father. Until Mr. El

Ali was barred from the United States, Mia and Rami had never celebrated a birthday without

him. Even though their father lives in Belgium, he would travel every single year to celebrate

their birthdays in Michigan.

       221.254.       Mia’s and Rami’s father would visit them for approximately two weeks

at a time in March (to celebrate Mia’s birthday), in May (before school ends for summer), and

in November (to celebrate Rami’s birthday). Mr. El Ali would rent a condo and Mia and Rami

would stay with him during those visits.

       222.255.       Since March 2017, Mia’s and Rami’s father has not been able to visit

them in the United States. Instead, last year, they had to travel to and from Amsterdam,

Netherlands alone on two occasions, so they could see and spend time with him.

       223.256.       During one of Mia’s travels from Belgium to Michigan, Mia’s boarding

pass was stamped with the “SSSS” designation indicating that she was a “known or suspected

terrorist.” She was patted down at the security checkpoint. Upon information and belief,




                                                70
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 71 of 281




Mia received the “SSSS” designation and enhanced screening because of her relationship to

her father, Mr. El Ali.

       224.257.           At the gate and before being allowed to board, in public view and in

front of her little brother, Rami, Mia was once again subjected to another round of screening.

Mia was forced to remove her shoes and her laptop from her bag. Mia was subjected to

chemical residue testing on her laptop. Additionally, Mia was questioned.

       225.258.           Upon information and belief, Mia was subjected to enhanced screening,

chemical testing, and questioning by Belgium authorities due to her relationship to her

father, Mr. El Ali and his status on the federal terror watch listterrorist watchlist being shared

with Netherlandic authorities by Defendants.

       226.259.           Because of Mr. El Ali’s status on Defendants’ watchlist and inability to

enter the United States, for the first time ever, Mia had to celebrate her birthday without her

father in March 2018. Her birthday had always been a happy and festive occasion for the

family. However, this year, Mia did not want to even have a birthday party. She was angry,

sad, and confused as to why her father could not come spend time with her. Instead of

celebrating her birthday with her father in person, she was only able to see him via a video

phone call on FaceTime at which point she became extremely emotional and began to cry as

he started to talk.

       227.260.           Mia is routinely asking her mother when she’s “going to see baba8?”

Recently, she expressed that she wants to move back to Belgium.

       228.261.           Mia is a rising ninth grader. She is excited for another year of volleyball

and basketball. However, Mia wants to spend as much time with her father as possible this


8 Baba is an Arabic word of endearment meaning “father” or “dad,” similar to “daddy.”


                                                  71
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 72 of 281




summer. Unfortunately, this upcoming year, volleyball season starts weeks before the

academic school year. Due to her father’s inability to travel to Michigan, Mia is forced to

choose between spending more time with her father in Belgium this summer or shortening

her summer trip so she can return to Michigan and join her friends on the volleyball team.

This is a choice no 14-year-old should ever have to make.

       229.262.      In May 2018, during a phone call with her father, Mia could not bring

herself to discuss whether she would forgo part of her summer trip in Belgium to join the

volleyball team. Feeling overwhelmed, she broke down and began to sob during the call.

       230.263.      Because his father has not been able to visit, Rami’s education has been

adversely affected. Rami’s grades have drastically taken a turn for the worse.

       231.264.      Rami’s health is also being severely affected. Rami is continuously

depressed. Every activity he participates in, Rami wishes his father was with him. Whenever

his father would visit, they were inseparable; they would do everything together.

       232.265.      To help with his education and depression, Rami’s mother has been

forced to hire a tutor so that Rami can get more personal time to work on his emotions and

grades.

       233.266.      Whenever Rami sees other children with their fathers, he routinely

asks “when is baba gonna be able to come back?” It breaks his mother’s heart that she cannot

provide him with a concrete answer or reason for why his father cannot visit.

       234.267.      Approximately every two weeks, Rami gets overwhelmed with the fact

that his father cannot visit him. When his mother asks him what’s wrong, Rami says that he

misses his father and begins to choke up and uncontrollably sob.




                                            72
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 73 of 281




        235.268.      While Rami excels in active sports, he is particularly fond of playing

chess because his father taught him how to play. Each time his father would visit, they would

play chess together. Nowadays, they are regulatedrelegated to playing chess online.

        236.269.       Rami’s father would visit and celebrate his birthday in November

every year. Rami’s entire family—Rami, his father, mother, and sister—would have a family

dinner together. They would also have an extended family party at the house and a party for

all of his friends at a kid-friendly place in Michigan.

        237.270.      Because of his father’s inability to enter the United States, Rami’s father

could not attend his eleventh birthday. As a result, Rami was depressed on his birthday. He

did not want to have a birthday party without his dadfather. Instead, Rami’s mom organized

a small family gathering.

        238.271.      Rami is a rising seventh grader. He is excited for another year of

baseball and soccer. Because Rami’s father cannot visit him in the United States, Rami is

being forced to miss the end of baseball season and the beginning of soccer so that he can go

to Belgium and spend as much time with his father as possible. This is a sacrifice no 11-year-

old should ever have to make.

        239.272.      Since her father has been barred from entering the United States, Mia

has missed out on many father-daughter moments that are instrumental in a young woman’s

life.

        240.273.      Since his father has been barred from entering the United States, Rami

has missed out on many father-son moments that are instrumental in a teenager’s life.

        241.274.      Mia and Rami video chat on FaceTime with their father every day.




                                                73
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 74 of 281




       242.275.       Mia and Rami need their father; Defendants are the main cause that

they are left without a father in the United States.

       243.276.       Because Defendants have improperly placed their father, Mr. El Ali, on

the Selectee and/or No Fly List, which subsequently caused the revocation of his ESTA

waiver and placement on administrative status of his non-immigrant visa, Defendants are

interfering with Mia’s and Rami’s liberty interest in their familial relations. Defendants have

done so without providing Mia and Rami any due process.

                                   Plaintiff Khaled El Ali                                           Formatted: Keep with next
                                  (A Watchlisted Plaintiff)

       244.277.       Mr.Khaled El Ali is the father of Plaintiffs Mia Khaled El Ali (“Mia”) and

Rami Khaled El Ali (“Rami”)..

       245.278.       Pursuant to a custody agreement, Mia and Rami reside with their

mother in the United States year-round except for the summers and Christmas holidays

which are spent in Belgium with their father, Mr. El Ali.

       246.279.       In February 2017, Mr. El Ali traveled from Belgium to Michigan to

celebrate Mia’s 13th birthday.

       247.280.       Mr. El Ali’s flight into the U.S. originated from Amsterdam, Netherlands

to Detroit Metropolitan Airport on Delta Airlines.

       248.281.       While in Amsterdam, Mr. El Ali was not able to check-in online or at the

airport kiosk. Instead, he was directed to an airline representative for further assistance.

       249.282.       At the ticket counter, after a delay, Mr. El Ali received his boarding pass.

Mr. El Ali’s boarding passes was stamped with the “SSSS” designation, indicating that he is

designated as a “known or suspected” terrorist.


                                               74
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 75 of 281




       250.283.       At the gate, Mr. El Ali was selected for enhanced screening. He was

instructed to remove his shoes. Thereafter, chemical residue testing was conducted on his

person and carry-on in public view. This was done even though Mr. El Ali had been cleared

with no issues at the security checkpoint.

       251.284.       Mr. El Ali felt ashamed and humiliated, especially because he was

treated as a “known or suspected terrorist” in public view.

       252.285.       Once Mr. El Ali landed in Detroit, Michigan, he went through customs

and inserted his passport at the kiosk. The kiosk displayed a red “X” and he was instructed

to proceed to a CBP officer for further processing.

       253.286.       The CBP officer took Mr. El Ali’s fingerprints and interrogated him.

Thereafter, he was taken to secondary inspection and waited until plainclothes officers

arrived to interrogate him in a private room.

       254.287.       The officers interrogated him about his past, work and travel history,

and his family. They interrogated him about where he grew up; what he does in Lebanon

when he visits; where he stays where he goes to Lebanon; and if he knows anyone that has

any legal problems.

       255.288.       Mr. El Ali was forced to unlock his phone. The officers searched his cell

phone and interrogated him about his contacts. The officers also searched through his

photographs for approximately 40 minutes.

       256.289.       Mr. El Ali was interrogated for almost 2 hours. Thereafter, he was

allowed entry into the United States. Prior trips to the United States have resulted in similar

treatment.




                                                75
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 76 of 281




       257.290.         Mr. El Ali entered the U.S. on an Electronic System for Travel

Authorization (“ESTA”) waiver.        The ESTA program is an automated system used to

determine the eligibility of visitors to travel to the U.S. under the Visa Waiver Program.

Approved ESTA applications are valid for a period of two years, or until the passport expires,

whichever comes first, and multiple trips to the United States may be made without the

traveler having to re-apply for another ESTA waiver.

       258.291.         On March 2, 2017, within days of entering the United States, Mr. El Ali

received an email informing him that his ESTA Travel Authorization Status had changed.

       259.292.         After celebrating Mia’s birthday, Mr. El Ali returned to Belgium on or

about March 11, 2017.

       260.293.         From 2002 to 2017, Mr. El Ali was subjected to substantially similar

treatment as described above.

       261.294.         His boarding passes for his flights are routinely stamped with the

“SSSS” designation, indicating that he has been designated by Defendants as a “known or

suspected terrorist.”

       262.295.         He is routinely unable to check in for his flights online or print his

boarding pass.

       263.296.         Rather, Mr. El Ali is directed to an airline representative, who then

contacts Defendants to obtain clearance to allow him to board his flight, a process that can

take a very long time.

       264.297.         Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.


                                               76
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 77 of 281




       265.298.         Mr. El Ali is routinely subjected to enhanced screening. Mr. El Ali feels

ashamed and humiliated, especially because he is routinely treated as a “known or suspected

terrorist” in public view and in front of his children and former wife when they travel with

him and because his family is delayed and humiliated because they are traveling with Mr. El

Ali.

       266.299.         On or about March 23, 2017, Mr. El Ali went to the U.S. Embassy in

Brussels, Belgium to interview for a non-immigrant visa. During the interview, Mr. El Ali was

asked if he had ever been to flight school, what he does for a living, and what he’ll be doing

in the United States.

       267.300.         At the U.S. Embassy, Mr. El Ali was informed that he was not approved

for the visa, that additional security checks were needed, and that his application is under

administrative processing.

       268.301.         Mr. El Ali is a dedicated and committed father. Since his children

relocated to the United States in 2010 after his divorce and up until February 2017, Mr. El

Ali had visited his children, Mia and Rami, every year during the following times:

       a.     March – for approximately two weeks to visit and celebrate Mia’s birthday;

       b.     May – before Mia’s and Rami’s school year ends for summer vacation. Mia and

Rami would accompany Mr. El Ali to Belgium once the school year ended; and

       c.     November – to celebrate Rami’s birthday.

       269.302.         Until February 2017 when Defendants revoked Mr. El Ali’s ESTA waiver

and barred him from the United States, Mr. El Ali had never missed his children’s birthdays.

       270.303.         Upon information and belief, Mr. El Ali’s ESTA waiver was revoked

because of his status on the federal terror watch listterrorist watchlist.


                                                77
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 78 of 281




       271.304.        Upon information and belief, Mr. El Ali’s non-immigrant visa was not

approved and instead has been placed on administrative processing since March 2017

because of his status on Defendants’ federal terror watch list.terrorist watchlist.

       272.305.        Recently, Mia visited Mr. El Ali in Amsterdam, Netherlands.        Her

boarding pass contained an “SSSS” designation indicating she is a “known or suspected

terrorist.” Upon information and belief, Mia was subjected to this designation because she

is Mr. El Ali’s daughter.

       273.306.        Upon information and belief, Mr. El Ali remains on the federal terror

watch listterrorist watchlist.

                                 Plaintiff Mutasem Jardaneh                                      Formatted: Keep with next
                                  (A Watchlisted Plaintiff)

       274.307.        On August 9, 2017, Mr.Mutasem Jardaneh was returning from a brief

trip to Canada through the Ambassador Bridge land port of entry in Michigan with his sister,

brother-in-law, and four-year-old nephew.

       275.308.        Upon presenting the primary CBP officer with his passport card, the

CBP officer pressed a button to alert other CBP officers and instructed him to place his hands

on the steering wheel and look forward.

       276.309.        Several armed CBP officers immediately surrounded Mr. Jardaneh and

his family on all sides with their hands on their hips near their guns.

       277.310.        The CBP officers ordered Mr. Jardaneh to exit the car, hands first, and

to walk backwards until instructed to stop. Thereafter, he was detained.

       278.311.        The CBP officers then ordered his brother-in-law out of the car, hands

first, and to walk backwards until instructed to stop.


                                              78
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 79 of 281




       279.312.        Mr. Jardaneh’s sister and nephew were also forced to exit the vehicle

and walk to the CBP officers.

       280.313.        Then, Mr. Jardaneh was escorted by the CBP officers to a holding cell

and detained, where he was subjected to an invasive pat down, fingerprinted, searched and

interrogated for over four hours. His belongings were also seized and searched.

       281.314.        Mr. Jardaneh’s brother-in-law was detained in a separate room and

thoroughly searched.

       282.315.        While Mr. Jardaneh was being interrogated, Mr. Jardaneh requested to

contact an attorney; however, the CBP officers denied his request, prevented him from

contacting an attorney, and continued to interrogate him.

       283.316.        The CBP officers confiscated his cell phone, and upon information and

belief, downloaded the information and data from his cell phone without his consent. The

CBP officers temporarily confiscated Mr. Jardaneh’s brother-in-law’s cell phone also. Upon

information and belief, Defendants downloaded the information from Mr. Jardaneh’s

brother-in-law’s cell phone.

       284.317.        Mr. Jardaneh had an anxiety attack as a resultbecause of the treatment

he was being subjected to. An ambulance was called and paramedics arrived to take Mr.

Jardaneh to an emergency room at a nearby hospital.

       285.318.        The CBP officers handcuffed Mr. Jardaneh to the stretcher in the

ambulance and accompanied him to the hospital where he received medical treatment. The

CBP officers told the hospital that Mr. Jardaneh was a “prisoner.”

       286.319.        Defendants did not return Mr. Jardaneh’s cell phone until four or five

days later via mail.


                                              79
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 80 of 281




       287.320.         Mr. Jardaneh felt ashamed and humiliated that his family and the

hospital staff witnessed him being treated by the government as a criminal and a “known or

suspected terrorist.”

       288.321.         Moreover, Mr. Jardaneh also felt ashamed and humiliated that his

family members that were traveling with him were also treated as criminals and “known or

suspected terrorists” just because they were traveling with him.

       289.322.         Ever since this encounter, Mr. Jardaneh has suffered from anxiety and

trauma and has been taking prescription medications to help him cope.

       290.323.         A few days later, Mr. Jardaneh arrived at Detroit Metropolitan Airport

to board his flight to Florida.

       291.324.         He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

       292.325.         After presenting himself to the airline representative at the ticket

counter, Mr. Jardaneh had to wait approximately an hour before the airline representative

obtained clearance for Mr. Jardaneh to board his flight.

       293.326.         His boarding pass was stamped with the “SSSS” designation, indicating

that he was designated as a “known or suspected terrorist.”

       294.327.         Once Mr. Jardaneh arrived at the TSA security checkpoint, he provided

his boarding pass and identification documents to the TSA agent stationed at the entrance to

the TSA security checkpoint.

       295.328.         The boarding pass scanner indicated a red light when Mr. Jardaneh’s

boarding pass was scanned.




                                               80
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 81 of 281




       296.329.       Mr. Jardaneh was escorted to a different line than the other travelers

passing through the TSA security checkpoint and subjected to enhanced screening.

       297.330.       Mr. Jardaneh was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint. Mr. Jardaneh felt the intense glares of other travelers staring at him

while he was being screened.        A TSA agent confiscated Mr. Jardaneh’s prescription

eyeglasses. The TSA screening lasted forty-five minutes.

       298.331.       Once Mr. Jardaneh finally arrived at the gate, several TSA agents were

waiting for him to arrive. The TSA agents had with them a cart with chemical testing

machines.

       299.332.       While Mr. Jardaneh waited to board his flight, he noticed two air

marshals following him throughout the airport.

       300.333.       At the gate and before being allowed to board, in public view, Mr.

Jardaneh was once again subjected to an invasive and lengthy pat down, all of his personal

belongings were searched again, and he and his belongings were subjected to another round

of chemical residue testing despite the fact thateven though he had just cleared security with

no issues at the TSA security checkpoint.

       301.334.       Once on the airplane, the two air marshals that were tailing him inside

the airport sat near him, one of each side, and surveilled him during the flight.

       302.335.       Mr. Jardaneh’s roommate and her ex-husband were both interrogated

about Mr. Jardaneh.




                                              81
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 82 of 281




       303.336.       Mr. Jardaneh became terrified for his life and safety; and as a

resultbecause of the above-described experiences, he left the United States and applied for

asylum in Canada seeking protection from the United States government.

       304.337.       Mr. Jardaneh has lost business opportunities as a direct result of being

designated on the federal terrorterrorist watchlist.

       305.338.       Moreover, upon information and belief, Mr. Jardaneh’s movements and

online activities are being surveilled by Defendants without a warrant.

       306.339.       Mr. Jardaneh has filed a redress application through DHS TRIP inquiry.

On September 29, 2017, Mr. Jardaneh received a letter as described in paragraph

178Paragraph 217 and was assigned a Redress Control Numberredress control number.

       307.340.       As a resultBecause of being placed on the federal terrorterrorist

watchlist, Mr. Jardaneh will be closing two businesses that he has operated at or near the

beginning of 2017.

       308.341.       Mr. Jardaneh operates a real estate company and a consultant business.

Both business ventures require significant travel. Due to the difficult and hassle associated

with his travel, Mr. Jardaneh has not been able to freely travel and explore his business

opportunities.

       309.342.       Upon information and belief, Mr. Jardaneh remains on Defendants’

federal terrorterrorist watchlist.

                                        Plaintiff John Doe                                       Formatted: Keep with next
                                     (A Watchlisted Plaintiff)

       310.343.       Mr. John Doe is frequently prevented from flying as a resultbecause of

his designation on the federal terrorterrorist watchlist.


                                                82
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 83 of 281




       311.344.       In May 2017, Mr. John Doe arrived at Los Angeles International Airport

for an international trip to Honduras. Mr. John Doe was planning to meet his family members

at a health spa because his cousin was diagnosed with cancer.

       312.345.       He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

       313.346.       Upon presenting himself to the airline representative at the ticket

counter, Mr. John Doe was met by five agents who told him that he would not be able to board

his flight. The agents refused to explain why they were preventing Mr. John Doe from

boarding his flight. Mr. John Doe was unable to obtain a full refund his flight or the trip costs

for which he had already paid. Additionally, Mr. John Doe was prevented from being with

his family and providing comfort and assistance to his cousin who was recently diagnosed

with cancer. Mr. John Doe was devasted that he could not be with his family during that time.

       314.347.       The agents, who upon information and belief were FBI agents, escorted

him off the airport premises.

       315.348.       A few months later, in October 2017, Mr. John Doe arrived once again

at Los Angeles International Airport for an international trip to Indonesia.

       316.349.       Upon presenting himself to the airline representative at the ticket

counter, the airline representative made a call to the Defendants in order to obtain clearance

for him to board his flight.

       317.350.       After ending the call, the airline representative asked Mr. John Doe if he

was carrying any weapons and then told him he would not be able to board his flight.

       318.351.       Mr. John Doe was not provided with a refund for his ticket.

       319.352.       He was ashamed, humiliated and frightened by these experiences.


                                               83
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 84 of 281




        320.353.       After leaving the airport, Mr. John Doe received a call from FBI agents

who said they wanted to speak with him about what he needed to do in exchange for being

permitted to fly. Mr. John Doe declined to speak with them without an attorney present.             Formatted: Font color: Text 1


        321.354.       Around July 2017, Mr. John Doe was again prevented from checking in

online for a domestic flight from San Diego to Florida.

        322.355.       As a resultBecause of his previous experiences, Mr. John Doe was

discouraged from flying and cancelled his flight.

        323.356.       Mr. John Doe’s watchlist designation has prevented him from visiting

family members and close friends.

        324.357.       On June 3, 2018, Mr. John Doe arrived at San Diego International

Airport for an international trip to Indonesia to visit his fiancée and meet her family for the

first time.

        325.358.       Upon presenting himself to the airline representative at the ticket

counter, the airline representative made a call to Defendants to obtain clearance for him to

board his flight.

        326.359.       After ending the call, the airline representative told Mr. John Doe that

she could not provide him with a boarding pass and explained that TSA could not provide

him with assistance.

        327.360.       The airline representative instructed Mr. John Doe to file a police report

with the police department.

        328.361.       Mr. John Doe felt humiliated, especially since his fiancée and her family

were expecting him to arrive to meet her in Indonesia.




                                               84
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 85 of 281




       329.362.       Mr. John Doe’s fiancée and her family learned of his status on

Defendants’ federal terrorterrorist watchlist as a resultbecause of Mr. John Doe’s experience

being denied boarding.

       330.363.       Because Mr. John Doe’s watchlist designation has prevented him from

flying every time he attempts to board a flight, Mr. John Doe has been forced to resort to

other means of travel that are costly and burdensome.

       331.364.       For example, in January 2018, Mr. John Doe took a train from San Diego

to New York City in order to avoid the shame and humiliation he experiences at airports as

a resultbecause of Defendants’ treatment and because he knew that he would be prevented

from flying anyway.

       332.365.       The train ride lasted between four and five days and cost between 500

and 600 dollars for a one-way trip.

       333.366.       While the train was stopped at a connection in New Orleans, Louisiana,

five or six FBI agents attempted to conduct a canine search of Mr. John Doe’s personal

belongings and detained him for approximately one hour.

       334.367.       On February 28, 2018, Mr. John Doe arrived at Chicago O’Hare

International Airport to try to board another flight, this time to San Diego.

       335.368.       Upon presenting himself to the airline representative at the ticket

counter, the airline representative was unable to print Mr. John Doe’s boarding pass.

       336.369.       The airline representative made a phone call to Defendants to obtain

clearance for Mr. John Doe to board his flight.

       337.370.       The airline representative then directed Mr. John Doe to the TSA office,

where he waited approximately two to three hours until the TSA office opened at 7 am.


                                              85
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 86 of 281




       338.371.      When the TSA office finally opened, he was told by a TSA agent that

nothing could be done for him.

       339.372.      Approximately one hour later, FBI agents Jake and Samir escorted Mr.

John Doe to a secluded area for interrogation where he was interrogated for approximately

eight hours.

       340.373.      Mr. John Doe was interrogated about where he was going, how he

traveled to the airport, what he had been doing, what he was trying to do, why he was

attempting to fly, people he knew, and whether he had plans to travel for military training.

       341.374.      As a resultBecause of his designation on the federal terrorterrorist

watchlist, Mr. John Doe has been subjected to several more FBI interrogations.

       342.375.      For example, around approximately April or May of 2017, Mr. John Doe

was subjected to a secondary inspection after arriving at the San Ysidro Port of Entry to cross

back into the United States by land.

       343.376.      FBI agents interrogated Mr. John Doe and pressured him to work for

them as an FBI informant. They also offered Mr. John Doe money and told him they would

resolve his travel issues in exchange for him agreeing to become an informant.

       344.377.      In July 2017, Mr. John Doe arrived in Mexico City and attempted to

board a flight from Mexico to Honduras when Mexican intelligence agents detained and

interrogated him.

       345.378.      The Mexican authorities informed Mr. John Doe that he had an FBI

warrant out for his arrest. After his detention and interrogation, Mexican authorities

deported Mr. John Doe to the Rosarito Land Port of Entry.




                                              86
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 87 of 281




          346.379.     Upon information and belief, the Mexican authorities detained,

interrogated, and deported Mr. John Doe due to his status of the federal terrorterrorist

watchlist being shared with Mexican authorities by Defendants.

          347.380.     Upon arrival at Rosarito Land Port of Entry, FBI agents interrogated Mr.

John Doe about his religious beliefs and asked him where he prays, how long he has been

attending his mosque, who he knows at his mosque, how he finds the strength to practice

Islam, and the struggles he deals with to practice his faith.

          348.381.     As a resultBecause of his designation on the federal terrorterrorist

watchlist, Mr. John Doe is also routinely detained at land border crossings up to ten hours at

a time.

          349.382.     In January 2017, Mr. John Doe was handcuffed and detained at San

Ysidro Port of Entry, in front of his step-daughter. He was interrogated for approximately six

hours. This was the second time Mr. John Doe step-daughter witnessed CBP officers handcuff

her step-father.     Mr. John Doe was ashamed and humiliation that his step-daughter

witnessed him being treated as a criminal and “known or suspected terrorist.”

          350.383.     In February 2017 alone, Mr. John Doe was detained at the San Ysidro

Port of Entry between approximately six and eight hours on four different occasions.

          351.384.     On February 22, 2017, Mr. John Doe was detained at the San Ysidro Port

of Entry for approximately ten hours.

          352.385.     Sometime between March and July 2017, Mr. John Doe was detained for

approximately four to six hours.

          353.386.     Because of the above described treatment, Mr. John Doe is routinely

humiliated in public and in front of family members and has been discouraged from flying


                                               87
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 88 of 281




and has been stigmatized and treated as a criminal because of his status on Defendants’

federal terrorterrorist watchlist.

       354.387.       Further, because of the above described treatment, Mr. John Doe was

forced to drop out from an online educational course because CBP agents confiscated Mr.

John Doe’s laptop and cell phone for two months. Mr. John Doe lost all the money he invested

in course supplies, software, and other material.

       355.388.       Over two years of stored data on Mr. John Doe’s cell phone was lost

when CBP downloaded his cell phone’s data.

       356.389.       Moreover, due to his watchlist designation, Mr. John Doe was forcibly

separated from his wife.

       357.390.       In October 2016, CBP officers detained Mr. John Doe and his wife at the

time, handcuffed him and interrogated him for approximately eight hours at Otay Mesa Port

of Entry.

       358.391.       CBP officers handcuffed Mr. John Doe to a bench while they took Mr.

John Doe’s wife to a separate room. They interrogated her about her religious affiliation,

whether she planned to go to Hajj, whether she was Sunni-Muslim or Shiite-Muslim, and

which Imams (Islamic religious leaders) she was familiar with.

       359.392.       CBP officers threatened to deport Mr. John Doe’s wife to Somalia,

despite the fact thateven though she was a Canadian citizen and United States lawful

permanent resident.

       360.393.       Mr. John Doe’s wife was terrified of being deported to Somalia, where

she would likely be tortured.




                                             88
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 89 of 281




       361.394.       Mr. John Doe was shocked and frightened that Defendants would

threaten his wife, potentially with her life, just because she was married to him.

       362.395.       Ever since this incident, their marriage became strained.

       363.396.       Moreover, shortly after this incident, ICE agents searched Mr. John

Doe’s home in search of his wife.

       364.397.       Upon information and belief, Defendants’ above-mentioned treatment

targeting Mr. John Doe’s wife were designed to pressure and target Mr. John Doe.

       365.398.       As a resultBecause of Defendants’ above-mentioned treatment, Mr.

John Doe moved to Mexico.

       366.399.       His wife at the time chose to remain in the United States because she

feared traveling with her husband would result in Defendants arresting and deporting her.

       367.400.       The stress and physical separation caused by Mr. John Doe’s watchlist

designation strained Mr. John Doe’s marriage, which led to his eventual divorce.

       401.    Mr. John Doe was denied employment opportunities because of his watchlist

designation.

       402.    In August 2018, John Doe was offered a position as a commercial driver at

Puget Transport LLC.

       403.    On August 27, 2018, John Doe began training and the company asked about his

ability to travel for business reasons.

       404.    When John Doe disclosed his watchlist and no-fly list designations, the

company revoked John Doe’s offer of employment.

       405.    In addition to revoking his offer of employment, the company owner refused

to service John Doe at a restaurant he owned.


                                             89
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 90 of 281




       406.    John Doe also sought employment with LGR Consulting.

       407.    When John Doe disclosed his watchlist and no-fly list designations, LGR

Consulting denied John Doe employment because of concerns he would not be able to obtain

necessary government clearances due to his designations.

       408.    On March 4, 2019, John Doe received an e-mail notice from Apple indicating

that the FBI requested information regarding his apple account, which Apple provided.

       409.    Upon information and belief, the FBI requested John Doe’s information due to

his watchlist or no-fly list designations.

       368.410.       John Doe has filed a redress application through DHS TRIP. Mr. John

Doe inquiry. He has received a letter as described abovein Paragraph 217 and was assigned     Formatted: Font color: Text 1
                                                                                              Formatted: Font color: Text 1
a Redress Control Numberredress control number.
                                                                                              Formatted: Font color: Text 1

       369.411.       Upon information and belief, Mr. John Doe remains on Defendants’

federal terrorterrorist watchlist.

                                 Plaintiff Bilal Abdurrashid                                  Formatted: Keep with next
                                  (A Watchlisted Plaintiff)

       370.412.       Mr.Bilal Abdurrashid is a former executive of Lockheed Martin. In his

decades long service in the Aerospace and Defense industry, Mr. Abdurrashid has held a

Secret Security Clearance. Additionally, Mr. Abdurrashid holds a Transportation Worker

Identification Credential (“TWIC”).

       371.413.       Mr. Abdurrashid is an avid outdoor sportsman. He loves to camp and

fish; and he is routinely seen enjoying the outdoors on his boats. In accordance with the

Seafarers’ Identity Documents Convention (Revised), 2003, of the International Labor

Organization, Mr. Abdurrashid operates his offshore boat pursuant to his Merchant Mariner

Credential issued by the United States Coast Guard National Maritime Center.

                                             90
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 91 of 281




       372.414.       Mr. Abdurrashid is also a staunch believer in the Second Amendment

and owns several guns. He has a Florida Concealed Carry Permit.

       373.415.       In order toTo obtain the above licenses, credentials, and clearances, Mr.

Abdurrashid was required to submit fingerprints that were checked against the Florida

Information Center database, the National Crime Information Center database and National

Instant Criminal Background Check System for disqualifying offenses.

       374.416.       In June 2017, Mr. Abdurrashid arrived at an Orlando, Florida area

airport for a trip to Morocco. His itinerary was Orlando to New York to Marrakech, Morocco.

       375.417.       Mr. Abdurrashid was traveling to visit family with his wife and child.

Mr. Abdurrashid’s family witnessed the entire treatment that he was subjected to that day,

described below.

       376.418.       At first, Mr. Abdurrashid was prevented from checking in online and at

the airport kiosk. Instead, he was directed to an airline representative for further assistance.

       377.419.       Mr. Abdurrashid’s and his family’s boarding passes were stamped with

the “SSSS” designation indicating that they each have been labeled as “known or suspected

terrorists.”

       378.420.       After presenting himself to the airline representative at the ticket

counter, the airline representative informed Mr. Abdurrashid that she could not issue

boarding passes for him or his family. Mr. Abdurrashid was told that he and his family were

barred from checking in. After several phone calls and a long delay, the airline representative

was able to obtain clearance from Defendants so that Mr. Abdurrashid and his family could

board his flight.




                                              91
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 92 of 281




       379.421.       Once Mr. Abdurrashid and his family arrived at the TSA security

checkpoint, they provided their boarding passes and identification documents to the TSA

agent stationed at the entrance of the TSA security checkpoint.

       380.422.       Mr. Abdurrashid and his family were escorted to a different line than

the other travelers passing through the TSA security checkpoint and subjected to enhanced

screening.

       381.423.       Mr. Abdurrashid was subjected to an extensive and lengthy screening,

an invasive pat down including a search of his groin area, in addition to a TSA male agent

placing his fingers inside and around Mr. Abdurrashid’s waist, an extensive search of all his

personal belongings and chemical residue testing of his person and his belongings in public

view and in front of his family. Mr. Abdurrashid’s wife and thirteen-year-old son received

the same treatment.

       382.424.       When Mr. Abdurrashid and his family arrived in New York’s JFK airport

to board their connecting flight to Morocco, they were forced to go through the entire TSA

enhanced screening process, described above, all over again.

       383.425.       On July 31, 2017, Mr. Abdurrashid and his family arrived at the airport

in Marrakech, Morocco for their flights to New York with a stop at the Casablanca, Morocco

airport.

       384.426.       In Marrakech, Mr. Abdurrashid’s wife and son were able to obtain their

boarding passes. However, the airline representative could not issue Mr. Abdurrashid a

boarding pass.    After several unanswered calls, the airline representative gave Mr.

Abdurrashid a boarding pass but only to Casablanca.




                                             92
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 93 of 281




       385.427.      At the Casablanca airport, the airline representative made several calls

to the United States before the airline representative could obtain clearance for Mr.

Abdurrashid to board his flight to New York.

       386.428.      Mr. Abdurrashid’s and his family’s boarding passes were stamped with

the “SSSS” designation indicating that they were each labeled as a “known or suspected

terrorist.”

       387.429.      Mr. Abdurrashid and his family underwent enhanced screening, as

described above, before being allowed to board their flight.

       388.430.      When they landed in New York, the airplane’s loudspeakers instructed

the passengers to have their passports out. Two armed plainclothes CBP officers checked

the passengers’ passports as they stepped out of the airplane. When Mr. Abdurrashid gave

his passport to the CBP officers, they told him that he was the person they were looking for.

They escorted Mr. Abdurrashid and his family in public view to get their luggage.

       389.431.      Mr. Abdurrashid was escorted to secondary inspection where he was

detained and interrogated. He was detained in a separate room from his wife and child.

       390.432.      The CBP officers confiscated Mr. Abdurrashid’s cell phone.        They

proceeded to search his cell phone and social media. Mr. Abdurrashid also had his luggage

searched.

       391.433.      While he was detained, the CBP officers also interrogated Mr.

Abdurrashid. He was questioned about his trip to Morocco and his social media usage. At

the same time, Mr. Abdurrashid’s wife was interrogated about her background. But for a

weather delay, Mr. Abdurrashid and his family would have missed their flight from New York

to Orlando.


                                               93
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 94 of 281




       392.434.         After being allowed to leave by CBP, Mr. Abdurrashid and his family

rushed to get their boarding passes for their flight to Orlando. At first, his family received

their boarding passes without an “SSSS” designation.             However, once the airline

representative realized that his family was traveling with Mr. Abdurrashid, his wife and son

had their boarding passes stamped with the “SSSS” designation indicating that they each

have been labeled as a “known or suspected terrorist.” Mr. Abdurrashid’s boarding pass was

stamped with the “SSSS” designation too.

       393.435.         Mr. Abdurrashid and his family were again subjected to the enhanced

screening at the TSA security checkpoint in public view as described above.

       394.436.         At the gate, Mr. Abdurrashid was allowed to board his flight. However,

as Mr. Abdurrashid was taking his seat inside the plane, he was informed that his wife and

son were being prevented from boarding. Mr. Abdurrashid returned to the gate area to speak

with the airline representatives.

       395.437.         After a lengthy delay, Mr. Abdurrashid’s family obtained clearance to

board the flight with him.

       396.438.         Mr. Abdurrashid has experienced similar enhanced screening and

humiliation when traveling by air ever since 2014.

       397.439.         His boarding passes for his flights are routinely stamped with the

“SSSS” designation, indicating that he has been designated by Defendants as a “known or

suspected terrorist.”

       398.440.         He is routinely unable to check in for his flights online or print his

boarding pass.




                                               94
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 95 of 281




       399.441.       Rather, Mr. Abdurrashid is directed each time to an airline

representative, who then contacts Defendants to obtain clearance to allow him to board his

flight, a process that can take a very long time.

       400.442.       Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       401.443.       Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Abdurrashid to substantially similar routine, extensive and

lengthy screening, an invasive pat down including a search of his groin area, an extensive

search of all of his personal belongings and chemical residue testing of his person and his

belongings at the TSA security checkpoint, in public view and in front of his family.

       402.444.       Moreover, when Mr. Abdurrashid’s family is traveling with him, they

are also treated as “known or suspected terrorists” just because they are traveling with him.

       403.445.       Mr. Abdurrashid minimizes his travel in order to avoid the humiliation

and hassle associated with being labeled as a “known or suspected terrorist” by Defendants

because of his status on Defendants’ federal terrorterrorist watchlist. As a result, Mr.

Abdurrashid and his family have missed several trips they would have gone on but for Mr.

Abdurrashid’s status on Defendants’’ federal terrorterrorist watchlist.

       404.446.       For instance, in April 2018, Mr. Abdurrashid and his family were

invited to his wife’s niece’s wedding in Washington, D.C. However, they did not want to go

through the humiliation and hassle of travel. Because the drive to Washington, D.C. from

Orlando is thirteen hours, Mr. Abdurrashid and his family could not attend the wedding.




                                               95
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 96 of 281




       405.447.      On other occasions, Mr. Abdurrashid and his family have forgone skiing

trips with family friends and trips to see his adult children and grandchildren.

       406.448.      As a resultBecause of his status on Defendants’ federal terrorterrorist

watchlist, Mr. Abdurrashid is only able to see his grandchildren if they travel to Orlando to

visit him. If he was not on Defendants’ federal terrorterrorist watchlist and subjected to

humiliating and invasive enhanced screenings, he and his family would visit his adult

children and grandchildren.

       407.449.      Since he and his family are unable to travel unless they undergo

humiliating and invasive public enhanced screenings, Mr. Abdurrashid’s thirteen-year-old

son is not able to form a stronger bond with his adult brothers and sister and nieces and

nephews.

       408.450.      In February 2018, Mr. Abdurrashid purchased a Smith and Wesson

9mm firearm. When Mr. Abdurrashid went to pick up the firearm from the dealer in Florida,

he completed the Florida Department of Law Enforcement Firearm Purchase application

(“FDLE Application”).

       409.451.      After a three-day delay, the local gun dealer contacted Mr. Abdurrashid

and informed him that his FDLE Application was denied. As a result, Mr. Abdurrashid was

not able to complete his purchase of the Smith and Wesson firearm.

       410.452.      Mr. Abdurrashid contacted FDLE and requested the reasons why FDLE

denied his application. The FDLE representative informed Mr. Abdurrashid that he could not

inform him why his application was denied but that he would inform Mr. Abdurrashid if Mr.

Abdurrashid was able to guess the reason for his application’s denial.




                                             96
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 97 of 281




       411.453.       Mr. Abdurrashid was not able to guess the reason of his application’s

denial. The FDLE representative refused to divulge any information to Mr. Abdurrashid as

to why his application was denied.

       412.454.       Upon information and belief, Mr. Abdurrashid’s FDLE Application was

denied because of his status on Defendants’ federal terror watchlist. terrorist watchlist.

Specifically, Florida denied Abdurrashid his firearms purchase application because of

instructions developed by the Government watchlist instructing Florida to deny FDLE

Applications by otherwise-eligible gun purchaser applicants such as Mr. Abdurrashid.

       413.455.       Mr. Abdurrashid has filed a DHS TRIP inquiry. He has since received a

form letter as described in Paragraph 217 and has beenwas assigned a Redress Control

Number. redress control number.

       414.456.       Upon information and belief, Mr. Abdurrashid remains on the federal

terror watch listterrorist watchlist.

                                Plaintiff Mohammad Paryavi                                    Formatted: Keep with next
                                  (A Watchlisted Plaintiff)

       415.457.       On June 4, 2017, Mr.Mohammad Paryavi arrived at a Washington, D.C.

area airport for a flight to Houston, Texas.

       416.458.       Mr. Paryavi was traveling with a co-worker for a business trip who

witnessed the entire treatment that Mr. Paryavi was subjected to that day, described below.

       417.459.       At first, Mr. Paryavi was unable to check-in online or at the airport

kiosk. Rather, he was directed to an airline representative for further assistance.




                                               97
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 98 of 281




       418.460.       After presenting himself to the airline representative at the ticket

counter, Mr. Paryavi and his coworker had to wait almost forty minutes before the airline

representative obtained clearance from Defendants for Mr. Paryavi to board his flight.

       419.461.       The boarding passes of both Mr. Paryavi and his coworker were

stamped with the “SSSS” designation, indicating that they were both designated as “known

or suspected terrorists.”

       420.462.       Once Mr. Paryavi and his coworker arrived at the TSA security

checkpoint, they provided their boarding passes and identification documents to the officer

stationed at the entrance to the TSA security checkpoint.

       421.463.       The boarding pass scanner indicated a red light when Mr. Paryavi’s

boarding pass was scanned.

       422.464.       Mr. Paryavi and his co-worker were both escorted to a different line

than the other travelers passing through the TSA security checkpoint and subjected to

enhanced screening.

       423.465.       Mr. Paryavi was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view and

in front of his coworker.

       424.466.       Once Mr. Paryavi and his coworker finally arrived at the gate,

approximately six to ten TSA agents were waiting for Mr. Paryavi to arrive.

       425.467.       The TSA agents had a cart with chemical testing machines.

       426.468.       At the gate and before being allowed to board, in public view and in

front of his coworker, Mr. Paryavi was once again subjected to an invasive and lengthy pat


                                              98
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 99 of 281




down, all of his personal belongings were searched again, and he and his belongings were

subjected to another round of chemical residue testing despite the fact thateven though he

had just cleared security with no issues at the TSA security checkpoint.

       427.469.         Then, when Mr. Paryavi scanned his boarding pass at the gate to board

their flight, the scanner once again indicated a red light.

       428.470.         Mr. Paryavi and his coworker were once again delayed until the airline

representative at the gate finally obtained clearance from Defendants to allow Mr. Paryavi to

board his flight.

       429.471.         Mr. Paryavi felt ashamed and humiliated, especially because he was

treated as a “known or suspected terrorist” in public view and in front of his coworker and

because his coworker was also delayed, humiliated and subjected to extensive screening just

because he was traveling with Mr. Paryavi.

       430.472.         Ever since that trip, every time Mr. Paryavi travels by air, he is

subjected to substantially similar treatment.

       431.473.         His boarding passes for his flights are routinely stamped with the

“SSSS” designation, indicating that he has been designated by Defendants as a “known or

suspected terrorist.”

       432.474.         He is routinely unable to check in for his flights online or print his

boarding pass.

       433.475.         Rather Mr. Paryavi is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.




                                                99
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 100 of 281




       434.476.       Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       435.477.       Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Paryavi to routine, extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings – twice – at the TSA

security checkpoint and again at the gate, in public view and in front of his travel

companions.

       436.478.       He then has tomust wait again at the gate for an airline representative

to obtain clearance from Defendants a second time to board his flight, even though

Defendants already provided clearance for him to board his flight prior to his boarding pass

being printed in the first place.

       437.479.       Moreover, oftentimes the people that Mr. Paryavi travels with are also

treated as “known or suspected terrorists” just because they are traveling with him.

       438.480.       On or about January 2018, Mr. Paryavi was re-entering the United

States with a business client, his wife and his daughter, all of whom witnessed the treatment

he was subjected to that day, described below.

       439.481.       Once his flight landed in Dulles International Airport in Virginia, there

were two CBP officers waiting for him before he arrived at passport control.

       440.482.       Mr. Paryavi was escorted from the gate to an interrogation room where

he was detained and interrogated by FBI agents about his travel and his work. All of his

personal belongings were also searched.


                                             100
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 101 of 281




       441.483.        Mr. Paryavi applied to both TSA Pre✓ ® and Global Entry, TSA and CBP

programs respectively that allow for expedited screening at ports of entry. Both applications

were denied without providing any explanation.

       442.484.        Upon information and belief, his applications to participate in the TSA

Pre✓ ® and Global Entry programs were denied because of, upon information and belief, his

status on the federal terror watch listterrorist watchlist.

       443.485.        Mr. Paryavi has been interrogated by FBI agents about his Islamic

religious beliefs and practices and political opinions, including but not limited to, questions

about what mosque he belongs to, how far his mosque is, who the imam (Islamic religious

leader) is at his mosque, and detailed questions about his political opinions about Iran.

       444.486.        Upon information and belief, his answers to the questions asked by the

FBI agents were factors that contributed to his designation on the federal terror watch

listterrorist watchlist.

       445.487.        Mr. Paryavi has filed a DHS TRIP inquiry. He has since received a form

letter as described in Paragraph 217 and has beenwas assigned a Redress Control Number.

redress control number.

       446.488.        Because of the travel issues resulting from his status on Defendants’

federal terrorterrorist watchlist, Mr. Paryavi now experiences anxiety when traveling

because he knows that he will be subjected to the invasive and humiliating screenings

described above.

       447.489.        To ensure that his travel plans are not interrupted, Mr. Paryavi arrives

at the airport four hours prior to takeoff.



                                              101
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 102 of 281




       448.490.       Upon information and belief, Mr. Paryavi remains on the federal terror

watch listterrorist watchlist.

                                     The Wehelie Family                                          Formatted: Keep with next, Keep lines together


                                  Plaintiff Hawa Wehelie
                                 (A Watchlisted Plaintiff)

       449.491.       Plaintiff Hawa Wehelie is part of the Wehelie Family. She is the

daughter of PlaintiffsMr. Abdirizak Wehelie (“Mr. Wehelie”) and Mrs. Shamsa Hashi Noor’s

(“Mrs. Noor”) and the sister of PlaintiffMs. Fatima Wehelie’s (“Ms. F. Wehelie”) (collectively

referred to as “Wehelie Family”)..

       450.492.       On October 22, 2017, Ms. Hawa Wehelie and her family members were

re-entering the United States through the Peace Bridge land port of entry in New York after

a trip to Canada.

       451.493.       After Ms. Hawa Wehelie handed her identification information to the

primary inspection officer, her vehicle was immediately surrounded by several armed CBP

officers. She, along with her family members, were ordered to exit the vehicle and detained.

They were instructed to leave their personal belongings in the vehicle.

       452.494.       Ms. Hawa Wehelie and her family were escorted by the armed CBP

officers to secondary inspection. They were also interrogated.

       453.495.       CBP confiscated Ms. Hawa Wehelie’s cell phone and laptop without her

consent. Ms. Hawa Wehelie’s electronics were not returned to her until approximately two

months later. Upon information and belief, Defendants downloaded and made a copy of Ms.

Hawa Wehelie’s cell phone and laptop data and information without her consent.

       454.496.       Ms. Hawa Wehelie was scared for her and her family’s safety. Ms. Hawa

Wehelie was ashamed and humiliated because of the treatment she received. Additionally,
                                            102
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 103 of 281




she was ashamed and humiliated that her family was treated as “known or suspected

terrorists” because of their relation to her.

       455.497.       On January 7, 2018, Ms. Wehelie and her sister, Plaintiff Fatima

Wehelie, were returning to the United States through Pearson International Airport. Ms.

Hawa Wehelie’s boarding pass was stamped with the “SSSS” designation, indicating that she

had been designated by Defendants as a “known or suspected terrorist.”

       456.498.       Upon seeing the “SSSS” designation on her boarding pass, as protocol,

the agents then subjected Ms. Hawa Wehelie to routine, extensive and lengthy screening, an

invasive pat down, and an extensive search of all of her personal belongings and chemical

residue testing of her person and his belongings in public view and in front of her sister.

       457.499.       Upon information and belief, Ms. Hawa Wehelie was subjected to the

above described treatment by the Canadian authorities due to her status on the federal Upon

information and belief, Ms. Hawa Wehelie was subjected to the above described treatment

by the Canadian authorities due to her status on the federal terrorterrorist watchlist being

shared with Canadian authorities by Defendants.

       458.500.       After going through the security checkpoint, and before boarding the

plane, Ms. Hawa Wehelie and her sister scanned their passports at the Automated Passport

Control kiosk. The printed declaration form contained an “X” over Ms. Hawa Wehelie’s and

Ms. F. Wehelie’s photos. They were instructed to go to a Customs officer.

       459.501.       When Ms. Hawa Wehelie and her sister presented their declaration

forms to a Customs officer, they were detained and interrogated.

       460.502.       Ms. Hawa Wehelie and her sister were detained in separate rooms so

that CBP officers could interrogate them separately.


                                                103
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 104 of 281




       461.503.      The interrogation rooms were situated across the hallway from small

holding cells that look like jail cells; and, upon seeing them, Ms. Hawa Wehelie’s sister felt

faint and light-headed. Ms. Hawa Wehelie feared for her sister’s safety because she was

afraid that they would both be arrested and detained in the holding cells.

       462.504.      CBP Officer Bustamante interrogated Ms. Hawa Wehelie for

approximately one hour about whether she attended church, whether she is enrolled in

religious courses, what organizations she belongs to, whether she financially supports her

family members, whether she has family in Somalia, where she traveled during the past 10

years, and why she does not practice as an attorney.

       463.505.      After the interrogation, Officer Bustamante confiscated Ms. Hawa

Wehelie’s cell phone, and upon information and belief, downloaded the information from her

cell phone without her consent.

       464.506.      The entire process lasted nearly four hours. As a result, Ms. Hawa

Wehelie and her sister missed their flight and were forced to reschedule their flight for the

next morning.

       465.507.      Ms. Hawa Wehelie felt ashamed and humiliated, especially because she

was treated as a “known or suspected terrorist” in public view and in front of her sister, and

because her sister was delayed, humiliated, subjected to detention and interrogation, and

missed her flight because of traveling with Ms. Hawa Wehelie and because of her relation to

Ms. Hawa Wehelie.

       466.508.      The next morning, Ms. Hawa Wehelie’s boarding pass, again, contained

the “SSSS” designation, indicating that she had been designated as a “known or suspected

terrorist.”


                                             104
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 105 of 281




       467.509.           As the previous day, upon seeing the “SSSS” designation on her

boarding pass, as protocol, the agents then subjected Ms. Hawa Wehelie to routine, extensive

and lengthy screening, an invasive pat down, and an extensive search of all of her personal

belongings and chemical residue testing of her person and his belongings in public view and

in front of her sister.

       468.510.           Upon information and belief, Ms. Hawa Wehelie was subjected to the

above described treatment by the Canadian authorities due to her status on the federal

terrorUpon information and belief, Ms. Hawa Wehelie was subjected to the above described

treatment by the Canadian authorities due to her status on the federal terrorist watchlist

being shared with Canadian authorities by Defendants.

       469.511.           After going through the security checkpoint, and before boarding the

plane, Ms. Hawa Wehelie and her sister scanned their passports at the Automated Passport

Control kiosk. The printed declaration form contained an “X” over Ms. Hawa Wehelie’s and

Ms. F. Wehelie’s photos. They were instructed to go to a Customs officer.

       470.512.           While waiting in line at customs and before reaching the counter, and

in public view, a CBP officer approached Ms. Hawa Wehelie and her sister and escorted them

into a back room for interrogation.

       471.513.           CBP officers interrogated Ms. Hawa Wehelie and her sister about where

they stayed the night before and who had picked them up from the airport.

       472.514.           Ms. Hawa Wehelie and her sister were forced to write their responses

to each question on a piece of paper.

       473.515.           Ms. Hawa Wehelie felt ashamed and humiliated, especially because she

was treated as a “known or suspected terrorist” in public view and in front of her sister, and


                                                105
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 106 of 281




because her sister was delayed, humiliated, subjected to detention and interrogation

because of traveling with Ms. Hawa Wehelie and because of her relation to Ms. Hawa

Wehelie.

       474.516.      On July 31, 2018, Ms. Hawa Wehelie and her parents were re-entering

the United through the Peace Bridge land port of entry in New York.

       475.517.      Immediately after they presented their passports to the CBP officer,

their vehicle was surrounded by six or seven armed CBP officers. Ms. Hawa Wehelie and her

parents were ordered to exit the vehicle and detained.

       476.518.      CBP Officer Tucker interrogated Ms. Hawa Wehelie and her father

about the locations of family members, where they traveled, where they stayed, where they

worked, where they lived, and asked them to provide his phone number, e-mail address, and

the addresses where they stayed in Canada.

       477.519.      Thereafter, CBP confiscated Ms. Hawa Wehelie cell phone for

approximately 45 minutes, and upon information and belief, downloaded the information

and data from her cell phone without her consent. Ms. Hawa Wehelie and her family’s vehicle

and belongings were also searched.

       478.520.      Ms. Hawa Wehelie felt ashamed and humiliated, especially because she

was treated as a “known or suspected terrorist” in front of her parents. Ms. Hawa Wehelie

was also scared for her safety and her parents’ safety as she feared that an armed CBP officer

may kill them if they made any sudden moves. Ms. Hawa Wehelie suffered anxiety because

of the above described treatment.

       479.521.       Ms. Hawa Wehelie also felt ashamed and humiliated that her parents

were delayed, humiliated, subjected to detention and interrogation because of traveling with


                                             106
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 107 of 281




Ms. Hawa Wehelie and because of their relation to Ms. Hawa Wehelie. Ms. Hawa Wehelie’s

parents suffered from anxiety because of the above described treatment.

       480.522.       Upon information and belief, Ms. Hawa Wehelie’s family members that

travel with her are subjected to the above described treatment because of their relation to

her and because of her status on Defendants’ federal terrorterrorist watchlist.

       481.523.       Upon information and belief, Ms. Hawa Wehelie remains on the federal

terrorterrorist watchlist.

                                Plaintiff Abdirizak Wehelie                                     Formatted: Keep with next
                                 (A Watchlisted Plaintiff)

       482.524.       In May 2015, Mr.Abdirizak Wehelie, arrived at Washington Dulles

International Airport in Virginia for an international trip to Somalia.

       483.525.       When Mr. Wehelie arrived at the gate, two TSA agents and an FBI agent

were waiting for him.

       484.526.       At the gate and before being allowed to board, in public view, an FBI

agent interrogated Mr. Wehelie about why he had purchased a one-way ticket, why one of

his children applied for a passport, and about his sons. Mr. Wehelie was scared, confused,

and humiliated because he was interrogated by the FBI in public. He was made to feel like a

criminal.

       485.527.       On October 22, 2017, Mr. Wehelie and his family were re-entering the

United States through the Peace Bridge land port of entry in New York.

       486.528.       CBP officers ordered Mr. Wehelie and his family to pull aside and enter

the building for secondary inspection.




                                             107
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 108 of 281




       487.529.       Mr. Wehelie was interrogated about his travels including where he was

going, where he stayed in Canada, where he worked, where he had traveled, and why he

previously traveled to Somalia.

       488.530.       Thereafter, Mr. Wehelie and his family were detained in a private room.

Mr. Wehelie was interrogated by two CBP officers and an FBI agent.

       489.531.       After Mr. Wehelie was interrogated, they were escorted back to the

waiting room where they waited for approximately two hours.

       490.532.       CBP officers then searched their personal belongings and person,

which involved removing all items from their pockets, and removing their shoes

       491.533.       CBP Supervisor Marshman confiscated Mr. Wehelie’s cell phone, and

the cell phones of the rest of the family, without their consent.

       492.534.       CBP retained Mr. Wehelie’s electronics, and his family’s electronics, for

approximately two months.

       493.535.       Upon information and belief, CBP downloaded Mr. Wehelie data, and

the data of his other family members, and content from their electronic devices without their

consent.

       494.536.       On July 31, 2018, Mr. Wehelie and his family were re-entering the

United through the Peace Bridge land port of entry.

       495.537.       Immediately after they presented their passports to the CBP officer,

their vehicle was surrounded by six or seven armed CBP officers. Mr. Wehelie and his family

were ordered to exit the vehicle and detained.

       496.538.       CBP Officer Tucker interrogated Mr. Wehelie about the locations of his

father and mother, where he traveled, where he stayed, where he worked, where he lived,


                                              108
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 109 of 281




and asked him to provide his phone number, e-mail address, and the addresses where he

stayed in Canada.

       497.539.       Mr. Wehelie felt ashamed and humiliated, especially because he was

treated as a “known or suspected terrorist” in front of his family.

       498.540.       Mr. Wehelie also felt ashamed and humiliated that his family was

delayed, humiliated, subjected to detention and interrogation because of traveling with Mr.

Wehelie and because of their relation to Mr. Wehelie. Mr. Wehelie and his wife suffered from

anxiety because of the above described treatment.

       499.541.       Mr. Wehelie is also regularly subjected to extensive searches,

unreasonable delays and interrogations when returning from Canada to the United States

through land ports of entry.

       500.542.       On August 7, 2018, upon arriving at Washington Dulles International

Airport, Mr. Wehelie was not able to check-in-online or at the airport kiosk. Instead, he was

directed to an airline representative for further assistance.

       501.543.       At the ticket counter, after 45-minute delay, and after the airline

representative asked Mr. Wehelie if he was carrying any firearms, Mr. Wehelie received his

boarding pass. Mr. Wehelie’s boarding pass was stamped with the “SSSS” designation,

indicating that he is designated as a “known or suspected” terrorist.

       502.544.       Once Mr. Wehelie arrived at the TSA security checkpoint, he provided

his boarding pass and identification documents to the TSA agent stationed at the entrance to

the TSA security checkpoint

       503.545.       The boarding pass scanner indicated a red light when Mr. Wehelie’s

boarding pass was scanned.


                                             109
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 110 of 281




       504.546.       Mr. Wehelie was escorted to a different line than the other travelers

passing through the TSA security checkpoint and subjected to enhanced screening.

       505.547.       Mr. Wehelie was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       506.548.       Mr. Wehelie felt ashamed and humiliated, especially because he was

treated as a “known or suspected terrorist” in front of his family.

       507.549.       Upon information and belief, Mr. Wehelie received the “SSSS”

designation and enhanced screening because of his relationship to his daughter, Ms. Hawa

Wehelie, who is also on the federal terrorterrorist watchlist.

       508.550.       Mr. Wehelie has filed DHS TripTRIP inquiries. He has since received

letters as described abovein Paragraph 217 and was assigned redress control numbers.

       509.551.       Upon information and belief, Mr. Wehelie remains on the federal

terrorterrorist watchlist.

                   Plaintiffs Shamsa Hashi Noor, and Fatima Wehelie                               Formatted: Keep with next
                      (Family Members of a Watchlisted Plaintiff)

       510.552.       Plaintiff Mrs.Shamsa Hashi Noor is Plaintiffs Hawa Wehelie’s and Ms. F.

Wehelie’s mother andas well as Mr. Wehelie’s wife (collectively referred to as “Wehelie

Family”).. T

       511.553.       Plaintiff F.Fatima Wehelie is Plaintiff Hawa Wehelie’s sister and

daughter of Plaintiffs Mr. Wehelie and Mrs. Noor.




                                             110
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 111 of 281




       512.554.       Since approximately 2014, as a resultbecause of Ms. Hawa Wehelie’s

watchlist designation, the Wehelie Family is regularly subjected to enhanced screening,

unreasonable delays, and interrogations.

       513.555.       On January 7, 2018, Ms. Hawa Wehelie and Ms. F. Wehelie were

returning to the United States through Toronto Pearson International Airport. Ms. Hawa

Wehelie’s boarding pass was stamped with the “SSSS” designation, indicating that she had

been designated by Defendants as a “known or suspected terrorist.”

       514.556.       After going through the CBP security checkpoint, and before boarding

the plane, Ms. Hawa Wehelie and Ms. F. Wehelie scanned their passports at the Automated

Passport Control kiosk. The printed declaration form contained an “X” over Ms. Hawa

Wehelie’s and Ms. F. Wehelie’s photos. They were instructed to go to a Customs officer.

       515.557.       When Ms. Hawa Wehelie and Ms. F. Wehelie presented their

declaration forms to a Customs officer, they were detained and interrogated.

       516.558.       Ms. Hawa Wehelie and Ms. F. Wehelie were detained in separate rooms

so that CBP officers could interrogate them separately.

       517.559.       The interrogation rooms are situated across the hallway from

smallholding cells that look like jail cells; and, upon seeing them, Ms. F. Wehelie felt faint and

light-headed. She feared for her sister’s safety because she was afraid that they would both

be arrested and detained in the holding cells.

       518.560.       CBP officer Ramos interrogated Ms. F. Wehelie about where she stayed

in Toronto, who she traveled with, where she lived, what she does in Virginia, where she

went to school, where she lives in Virginia, who she lives with and who her siblings are.




                                              111
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 112 of 281




       519.561.      After being subjected to lengthy interrogations, the Ms. Hawa Wehelie’s

and Ms. F. Wehelie’s luggage, which were pulled after being checked-in, were searched by

CBP officers. Ms. Hawa Wehelie and Ms. F. Wehelie had to check in their luggage again.

       520.562.      Officer Bustamante confiscated Ms. Hawa Wehelie and Ms. F. Wehelie’s

cell phones and demanded the passwords to each phone.

       521.563.      The phones were returned after one hour and, upon information and

belief, CBP downloaded Ms. Hawa Wehelie’s and Ms. F. Wehelie’s data and content from their

cell phones.

       522.564.      The entire process lasted nearly four hours and as a result, Ms. Hawa

Wehelie and Ms. F. Wehelie missed their flight and were forced to reschedule for the next

morning.

       523.565.      The next morning, Ms. Hawa Wehelie’s boarding pass, again, contained

the “SSSS” designation, indicating that she had been designated as a “known or suspected

terrorist.”

       524.566.      After going through the CBP security checkpoint, and before boarding

the plane, Ms. Hawa Wehelie and Ms. F. Wehelie scanned their passports at the Automated

Passport Control the kiosk. Once again, there declaration forms contained an “X” over their

photos. Once again, they were instructed to see a Customs officer for assistance.

       525.567.      While waiting in line at customs and before reaching the counter, and

in public view, a CBP officer approached Ms. Hawa Wehelie and Ms. F. Wehelie and escorted

them into a back room for interrogation.

       526.568.      CBP officers interrogated Ms. Hawa Wehelie and Ms. F. Wehelie about

where they stayed the night before and who had picked them up from the airport.


                                            112
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 113 of 281




         527.569.    Ms. Hawa Wehelie and Ms. F. Wehelie were forced to write their

responses to each question on a piece of paper.

         528.570.    On October 22, 2017, Mr. Wehelie, Mrs. Noor, and Ms. Hawa Wehelie

were re-entering the United States through the Peace Bridge land port of entry in New York.

         529.571.    CBP officers ordered Mr. Wehelie, Mrs. Noor, and Ms. Hawa Wehelie to

pull aside and enter the building for secondary inspection.

         530.572.    Mr. Wehelie was interrogated about his travels including where he was

going, where he stayed in Canada, where he worked, where he had traveled, and why he

previously traveled to Somalia.

         531.573.    Thereafter, Mr. Wehelie, Mrs. Noor, and Ms. Hawa Wehelie were

detained in a private room. Mr. Wehelie was interrogated by two CBP officers and an FBI

agent.

         532.574.    After Mr. Wehelie was interrogated, they were escorted back to the

waiting room where they waited for approximately two hours.

         533.575.     CBP officers then searched their personal belongings and person,

which involved removing all items from their pockets, and removing their shoes

         534.576.    CBP Supervisor Marshman confiscated Mr. Wehelie’s, Mrs. Noor’s, and

Ms. Hawa Wehelie’s cell phones without their consent. Also, Ms. Hawa Wehelie’s laptop was

confiscated without her consent.

         535.577.    CBP retained Mr. Wehelie’s, Mrs. Noor’s, and Ms. Hawa Wehelie’s

electronics for approximately two months.




                                            113
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 114 of 281




       536.578.       Upon information and belief, CBP downloaded Mr. Wehelie’s, Mrs.

Noor’s, and Ms. Hawa Wehelie’s data and content from their electronic devices without their

consent.

       537.579.       On July 31, 2018, Ms. Hawa Wehelie, Mr. Wehelie, and Mrs. Noor were

re-entering the United through the Peace Bridge land port of entry.

       538.580.       Immediately after they presented their passports to the CBP officer,

their vehicle was surrounded by six or seven armed CBP officers. Mr. Wehelie, Mrs. Noor,

and Ms. Hawa Wehelie were ordered to exit the vehicle and detained.

       539.581.       CBP Officer Tucker interrogated Mr. Wehelie about the locations of his

father and mother, where he traveled, where he stayed, where he worked, where he lived,

and asked him to provide his phone number, e-mail address, and the addresses where he

stayed in Canada.

       540.582.       The Wehelie Family is also regularly subjected to extensive searches,

unreasonable delays and interrogations when returning from Canada to the United States

through land ports of entry.

       541.583.       Upon information and belief, the Wehelie Family is subjected to lengthy

detentions, searches, and interrogations by CBP officers at US-Canada land ports of entry due

to their relation to Ms. Hawa Wehelie and because of her status on Defendants’ federal

terrorterrorist watchlist.

       542.584.       As a resultBecause of the above described experiences, the Wehelie

Family has suffered severe anxiety, humiliation, and have been discouraged from traveling

with Ms. Hawa Wehelie.




                                            114
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 115 of 281




        543.585.      The Wehelie Family has also been subjected to FBI interrogations

because of their relation to Ms. Hawa Wehelie and because of her status on Defendants’

federal terrorterrorist watchlist.

        544.586.      Mrs. Noor has filed multiple DHS TripTRIP inquiries. She has since

received multiple letters as described abovein Paragraph 217 and was assigned multiple

redress control numbers.

                                     Plaintiff Mahad Mohallim                                    Formatted: Keep with next
                                     (A Watchlisted Plaintiff)

        545.587.      Mahad Mohallim is a United States Citizen who has been living in Kenya

since 2015.

        546.588.      Since approximately 2015, as a resultbecause of Mr. Mohallim’s

watchlist designation, Mr. Mohallim is regularly subjected to enhanced screening,

unreasonable delays and interrogations. As of the date of this filing, Mr. Mohallim is subject

to Defendants’ flight ban which prevents him from flying through US airspace.

        547.589.      On or about 2015, Mr. Mohallim arrived at Minneapolis-Saint Paul

International Airport for an international trip to Kenya.

        548.590.      He was prevented from checking in online or at the kiosk in the airport.

Rather, he was directed to an airline representative for further assistance.

        549.591.      After presenting himself to the airline representative at the ticket

counter, the airline representative was unable to print Mr. Mohallim’s boarding pass.

        550.592.      Mr. Mohallim had to wait while the airline representative called

Defendants in order to obtain clearance to print his boarding pass and allow him to board

his flight.



                                             115
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 116 of 281




       551.593.       Mr. Mohallim was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       552.594.       This intensive screening caused Mr. Mohallim to experience

humiliation and shame and otherwise stigmatize him in the eyes of his family, friends, and

fellow travelers.

       553.595.       When he arrived at the gate, Mr. Mohallim was interrogated about his

trip and about how much money he was carrying before he was allowed to board his flight

increasing the amount of humiliation and shame he experienced and further stigmatizing

him in the eyes of his family, friends, and fellow travelers.

       554.596.       On July 17, 2018, Mr. Mohallim went to Jomo KenyattaDoha

International Airport in Kenya, with his mother, to board a flight back to the United States.

       555.597.       Upon presenting airport security with their passports, the security

officer placed red stickers in both Mr. Mohallim and his mother’s passports.

       556.598.       When Mr. Mohallim approached the ticket agent for his boarding pass,

the airline representative falsely told him that the plane had already finished boarding.

       557.599.       The ticket agentairline representative took both passports and left for

ten minutes.

       558.600.       When the ticket agentairline representative returned, he told Mr.

Mohallim that he and his mother would not be able to fly that day and directed them to ticket

sales to rebook their flight.




                                              116
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 117 of 281




        559.601.     Mr. Mohallim felt humiliated and ashamed that his mother witnessed

him being treated by the government as a criminal and a “known or suspected terrorist.”

        560.602.     Mr. Mohallim felt ashamed and humiliated that his mother felt

compelled to remain in Kenya with him because he was unable to board his flight.

        561.603.     However, when Mr. Mohallim attempted to rebook his flight at the

ticket sales office, he was unable to do so, and he had to purchase a new plane ticket for

$1,600.

        562.604.     On July 21, 2018, Mr. Mohallim and his mother returned to the airport

for their flight.

        563.605.     After presenting himself to the airline representative at the ticket

counter, the airline representative was unable to print Mr. Mohallim’s boarding pass.

        564.606.     The airline representative called Defendants in order to obtain

clearance to print his boarding pass and allow him to board his flight.

        565.607.     The airline representative then informed Mr. Mohallim that he would

be unable to board his flight to the United States and directed him to contact the embassy or

immigration.

        566.608.     Mr. Mohallim felt humiliated and ashamed that his mother witnessed

him being treated by the government as a criminal and a “known or suspected terrorist.”

        567.609.     Mr. Mohallim felt ashamed and humiliated that his mother felt

compelled to remain in KenyaDoha with him because he was unable to board his flight.

        568.610.     On July 22, 2018, Mr. Mohallim arrived at the United States Embassy in

KenyaDoha for his appointment.




                                             117
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 118 of 281




       569.611.       When the receptionist called Mr. Mohallim’s name, she stated, “They

already know you,” and rescheduled Mr. Mohallim’s appointment for July 24, 2018.

       570.612.       On July 24, 2018, Mr. Mohallim and his mother returned to the embassy

and were met by two FBI agents.

       571.613.       The FBI agents separated Mr. Mohallim’s mother from Mr. Mohallim

and interrogated herthem separately.

       572.614.       When Mr. Mohallim’s mother objected to an interrogation of her son

and requested to have an attorney present, the agents told her that their situation would be

more difficult and result in an indefinite delay of their return by plane to the United States if

she insists on having an attorney present.

       573.615.       The FBI agents told Mr. Mohallim’s mother that they would

immediately ensure her son’s successful return to the United States if she consented to an

interrogation of her son without the presence of an attorney.

       574.616.       Since this ordeal, as a resultbecause of Mr. Mohallim’s watchlist

designation, Mr. Mohallim and his mother are unable to return to the United States and

remain stranded abroad.

       575.617.       Upon information and belief, Mr. Mohallim was added to the No Fly List

after he left the United States, and accordingly he was unable to board a flight to return to

his home in the United States.

       576.618.       As a resultBecause of his designation on the federal watch listwatchlist,

Mr. Mohallim was subjected to additional FBI interrogations.




                                              118
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 119 of 281




       577.619.      Around 2015,2016, one of the John Doe FBI Agent Defendants, who

gave his name as “Dan,” attempted to interrogate Mr. Mohallim, who was 15 at the time,

about who he speaks with and his social media accounts.

       578.620.      The John Doe FBI agent DanDefendant also requested permission to

search Mr. Mohallim’s phone.

       579.621.      Around 2015, an employee at Jomo Kenyatta International Airport in

Kenya told Mr. Mohallim that an FBI agent interrogated airport employees about Mr.

Mohallim.

       580.622.      The agent providedshowed airport employees with a photo of Mr.

Mohallim and falsely said that Mr. Mohallim was attempting to join ISIS, asked for his

location, and asked why he hadn’t left Kenya.

       581.   On August 29, 2018, Mr. Mohallim and his mother will make their third

attempt to return to the United States, Mr. Mohallim’s country of citizenship.

       582.623.      On August 3, 2018, Mr. Mohallim’s counsel contacted and provided

Defendants’ counsel with Mr. Mohallim’s itinerary and requested assurance that Mr.

Mohallim and his mother would be allowed to board their flights to the United States. The

U.S. Embassy in Doha, Qatar was also contacted and provided this information.

       624.   Despite being denied boarding twice, as described above, on August 19, 2018,

the U.S. Embassy in Doha, Qatar sent an email to Mr. Mohallim stating, “we have no reason to

think you cannot fly on this itinerary….”

       583.625.      Defendants’ counsel notified Mr. Mohallim’s counsel that the earliest

flight he would be allowed to board was for August 29, 2018. Mr. Mohallim rebooked his and




                                            119
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 120 of 281




his mother’s flights for August 28, 2018. A copy of Mr. Mohallim itinerary for August 29,

2018, was provided to Defendants’ counsel and U.S. Embassy in Qatar via electronic mail.

       584.1. Despite being denied boarding twice, as described above, on August 19, 2018,

the U.S. Embassy in Doha, Qatar sent an email to Mr. Mohallim stating, “we have no reason to

think you cannot fly on this itinerary….”

       626.   On August 29, 2018, Mr. Mohallim and his mother finally boarded their flight

to the United States.

       627.   When they arrived at their first connecting flight at Doha International Airport,

a Qatari airport official escorted Mr. Mohallim into a backroom where his belongings and

person were searched before he and his mother were allowed to board their flight.

       628.   When Mr. Mohallim and his mother arrived at London Heathrow International

Airport, they approached the ticketing counter to obtain their boarding passes. Despite

reassurances from Defendants’ counsel that Mr. Mohallim would be permitted to fly back

home to the United States, he airline representative was still unable to print the boarding

passes and sent Mr. Mohallim and his mother to another ticketing counter.

       629.   The second ticketing counter was closed, so Mr. Mohallim and his mother were

required to wait for assistance. When an airline representative finally approached the

counter, the airline representative was also unable to print the boarding passes.

       630.   Finally, an FBI agent approached the airline representative and provided

clearance for Mr. Mohallim and his mother to board their flight.

       631.   This entire ordeal lasted approximately 3-4 hours, nearly causing Mr.

Mohallim and his mother to miss their return flight to the United States.




                                             120
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 121 of 281




       632.    Upon arrival at Chicago O’Hare International Airport, the pilot made an

announcement on the loudspeaker asking all passengers to present their passports to CBP

officers waiting at the gate upon deplaning.

       633.    Upon identifying Mr. Mohallim, the CBP officers announced they no longer

needed to see passports for the rest of the passengers.

       634.    The CBP officers escorted Mr. Mohallim and his mother to passport control

and into a private room where they were detained and interrogated, despite knowing that

Mr. Mohallim was represented by counsel.

       635.    Mr. Mohallim was interrogated about his time in Kenya, the names of his family   Formatted: Font color: Text 1


members in Kenya, his mother’s business in Kenya, and where he attended school, among

other questions.

       636.    CBP officers also confiscated Mr. Mohallim’s mother’s cell phone, demanding

that his mother provide the password, which she did because she felt compelled to do so.

CBP officers took her cell phone into a private room for approximately 30 minutes. Upon         Formatted: Font color: Text 1


information and belief, Mr.CBP officers downloaded the information from her, without her

consent.

       637.    CBP officers thoroughly searched Mr. Mohallim and his mother’s belongings.

       638.    After they completed their search, Mr. Mohallim and his mother were

approached by two FBI agents who attempted to coerce Mr. Mohallim into sitting for an

interrogation with them.

       639.    The FBI agents wanted to interrogate Mr. Mohallim regarding specific

individuals.




                                               121
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 122 of 281




         640.   Although Mr. Mohallim repeatedly told the FBI agents to speak to his

attorneys, the FBI agents continued to coerce Mr. Mohallim, stating that his current attorneys

were only retained to resolve his travel issues, and that his attorney’s representation did not

extend to interrogations by the FBI.

         641.   Mr. Mohallim and his mother were finally allowed to leave the area after he

repeatedly refused to answer the FBI agents’ questions.

         642.   FBI agents followed Mr. Mohallim and his mother to the gate for Mr.

Mohallim’s connecting flight and remained seated near Mr. Mohallim and his mother until

they boarded.

         585.643.     Upon information and belief, Mr. Mohallim remains on Defendants’

federal terrorterrorist watchlist and is subject to its flight banthe No Fly List.

                                Plaintiff Moustafa El-Shahat                                      Formatted: Keep with next
                                  (A Watchlisted Plaintiff)                                       Formatted: Space After: 12 pt, Add space between
                                                                                                  paragraphs of the same style, Keep with next
                                                                                                  Formatted: Font: Not Bold
         586.644.     Sometime in 2013 or 2014, Mr.Moustafa El-Shahat arrived at John F.

Kennedy International Airport (“JFK”) in Queens, New York, from an international trip to

Egypt.

         587.645.     Once his flight landed in JFK, there were two CBP officers waiting for

him before he arrived at passport control.

         588.646.     Mr. El-Shahat was escorted to an interrogation room where he was

detained and interrogated by FBI agents.

         589.647.     All of his personal belongings were searched, and his laptop, cellphone,

and documents were confiscated by CBP officers.




                                              122
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 123 of 281




       590.648.        Upon information and belief, his documents were photocopied and the

information on his electronic devices were downloaded without his consent.

       591.649.        Mr. El-Shahat was interrogated by the FBI agents for approximately

three and a half hours.

       592.650.        He was interrogated about what he thinks of jihad9, what mosque he

attends, how religious he is, whether he teaches at a mosque, whether he is an imam (an

Islamic religious leader), among other invasive questions about his Islamic religious beliefs

and practices.

       593.651.        Upon information and belief, his answers to the questions asked by the

FBI agents were factors that contributed to his designation on the federal terror watch

list.terrorist watchlist.

       594.652.        When he was finally released, a CBP officer escorted Mr. El-Shahat out

of the airport to ensure he left the premises.

       595.653.        Ever since that trip and subsequent FBI interrogation, every time Mr.

El-Shahat travels by air, his boarding pass is routinely stamped with the “SSSS” designation,

indicating that he has been designated by Defendants as a “known or suspected terrorist.”

       596.654.        He is routinely unable to check in online or print his boarding pass.

       597.655.        Rather Mr. El-Shahat is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.




9 Jihad is an Arabic Islamic term that means “spiritual struggle.”


                                              123
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 124 of 281




       598.656.        Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       599.657.        Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. El-Shahat to routine, extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all of his

personal belongings and chemical residue testing of his person and his belongings – twice –

at the TSA security checkpoint and again at the gate, in public view and in front of his travel

companions.

       600.658.        He is also often interrogated at the gate in public view.

       601.659.        On one occasion, the TSA agent interrogating Mr. El-Shahat informed

him that he is subjected to enhanced screening because he frequently travels to countries in

the Middle East, because he travels alone, and because he is a Muslim male.

       602.660.        On another occasion, an officer confirmed that he is designated on the

federal terrorterrorist watchlist.

       603.661.        On another occasion, while at an airport in Abu Dhabi, a TSA agent

made Mr. El-Shahat stand with his hands against the wall, and then kicked Mr. Al-Shahat to

force his legs apart, causing him pain.

       604.662.        The TSA agent treated Mr. El-Shahat like a criminal, likely because of

his status on the federal terrorterrorist watchlist.

       605.663.        Due to the above-described treatment, Mr. El-Shahat has missed at

least three flights.




                                              124
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 125 of 281




       606.664.       Mr. El-Shahat avoids flying whenever possible and drives instead to

avoid the above-described treatment.

       607.665.       On or about five years ago, Mr. El-Shahat was stopped at a US-Canada

port of entry on his way into Canada and escorted to secondary screening by two Canadian

Border Services Officers.

       608.666.       He was detained and interrogated for a lengthy period oflong time

while his car and personal belongings were searched.

       609.667.       Upon information and belief, Mr. El-Shahat was subjected to a lengthy

detention, search, and interrogation by the Canadian Border Services Officers due to his

status on the federal terror watch listterrorist watchlist being shared with Canadian

authorities by Defendants.

       610.668.       Mr. El-Shahat has filed multiple DHS TRIP inquiries. He has since

received multiple letters as described in paragraph 178 aboveParagraph 217 and was

assigned multiple Redress Control Numbers in connection with those lettersredress control

numbers.

       611.669.       Further, as a resultbecause of his status on the federal terror watch

listterrorist watchlist, his wife’s immigration application was significantly delayed for over

three years, and as a result has suffered a painful prolonged separation from his wife and

loss of consortium. Mr. El-Shahat also suffered from shame and humiliation that his wife

knew the reason that the processing of her immigration application was delayed significantly

was because Defendants believe Mr. El-Shahat is a “known or suspected terrorist.”

       612.670.       Upon information and belief, Mr. El-Shahat remains on the federal

terror watch listterrorist watchlist.


                                             125
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 126 of 281




                                        Plaintiff Farid Sulayman                                 Formatted: Keep with next
                                        (A Watchlisted Plaintiff)

        613.671.          Imam Farid Sulayman is a local Imam10imam (Islamic religious leader)   Formatted: Footnote Reference


in the Seattle, Washington area. As a well-known religious leader in his area and as part of

his sincerely-held religious beliefs, Imam Sulayman routinely leads large groups of American

Muslim worshippers on an annual Umrahumrah11 pilgrimage to Mecca, Saudi Arabia.

        614.672.          On February 24, 2018, Imam Sulayman was returning to the United

States at the U.S.-Canada land bordering crossing near Blaine, Washington, with his wife and

four children.

        615.673.          Upon presenting the primary CBP officer with his and his family’s

passports, the CBP officer escorted them to secondary inspection. At this time, the CBP

officer seized Imam Sulayman’s cell phone. Upon information and belief, Defendants made

copies of the information on his cell phone without his consent.

        616.674.          Imam Sulayman and his family waited in a waiting room for

approximately three hours before another CBP officer came to interrogate Imam Sulayman.

While waiting, Imam Sulayman’s children began to cry, were scared, and kept asking why

they could not go home.

        617.675.          Thereafter, Imam Sulayman was questioned by a CBP officer about his

studies, work, and an upcoming trip for Umrahumrah that Imam Sulayman had planned for




10 “Imam” is a term for a Muslim religious leader.

11 Umrah is a pilgrimage made by Muslims to Mecca.  Unlike Hajjhajj, which is an Islamic
pilgrimage that may only be performed at specific dates according to the Islamic lunar
calendar, Umrahumrah may be performed at any time during the year.
                                                     126
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 127 of 281




approximately forty Muslim community members. Imam Sulayman does not know how the

CBP officer was aware of his upcoming Umrahumrah trip.

         618.676.    After the interrogation, Imam Sulayman and his family waited another

forty-five minutes before being allowed to leave. At no point was Imam Sulayman provided

any information as to why he was questioned or taken to secondary inspection.

         619.677.    Imam Sulayman felt ashamed and humiliated that his family witnessed

him being treated by the government as a criminal and a “known or suspected terrorist.”

         620.678.    Moreover, Imam Sulayman felt ashamed and humiliated that his wife

and children were also treated as criminals and “known or suspected terrorists” just because

they were traveling with him.

         621.679.    Imam Sulayman, his wife, and four children made another trip to

Canada the following month. Upon presenting the primary CBP officer with his passport,

Imam Sulayman heard an alarm as the CBP officer scanned his passport. The CBP officer

then ordered Imam Sulayman and his family to secondary inspection.

         622.680.    Once again, Imam Sulayman’s cell phone was confiscated, and upon

information and belief, Defendants made copies on his cell phone without his consent.

         623.681.    On or about March 31, 2018, Imam Sulayman arrived at the Seattle-

Tacoma International Airport to board his flight with 28 Muslim community members to

Umrahumrah in Saudi Arabia. Among the 28 community members were Imam Sulayman’s

elderly mother, sister, brother-in-law, and two aunts.

         624.682.    Imam Sulayman’s travel companions and family members were able to

print their boarding passes from the airport kiosk or obtained their boarding passes without

delay.


                                            127
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 128 of 281




       625.683.      However, Imam Sulayman was unable to check-in online or at the kiosk.

Instead, he was directed to an airline representative for further assistance.

       626.684.      After presenting himself to the airline representative at the ticket

counter, Imam Sulayman was delayed until the airline representative obtained clearance for

Imam Sulayman to board his flight. Due to the significant delay in obtaining his boarding

pass, Imam Sulayman’s travel companions and family members proceeded to the TSA

checkpoint and cleared screening without any issues.

       627.685.      His boarding pass was stamped with the “SSSS” designation, indicating

that he was designated as a “known or suspected terrorist.”

       628.686.      Even though his family members had already cleared TSA security and

were waiting for him at the gate, Imam Sulayman was informed that his family members

were being forced to return to the TSA security checkpoint because they were traveling with

him.

       629.687.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents subjected Imam Sulayman to routine, extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all of his

personal belongings and chemical residue testing of his person and his belongings at the TSA

security checkpoint in public view and in front of his family members.

       630.688.      Imam Sulayman was detained for an hour and interrogated about his

studies and travel itinerary in front of his family members.

       631.689.      Imam Sulayman’s family members including his seventy-eight-year old

mother who is handicapped and had to be escorted around the airport in a wheel chair had




                                             128
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 129 of 281




their boarding passes stamped with the “SSSS” designation indicating they were designated

as “known or suspected terrorists.”

       632.690.      Imam Sulayman’s family members, including his seventy-eight-year-

old mother, were subjected to the same invasive and humiliating screening as Imam

Sulayman in public view. Imam Sulayman felt ashamed and humiliated especially because

his elderly mother in a wheelchair was treated like a criminal in public all because of his

status on Defendants’ federal terrorterrorist watchlist.        Imam Sulayman’s profusely

apologized to his mother for the humiliation and mistreatment she experienced.

       633.691.      Imam Sulayman and his travel companions only made their flight

because a friendly airport employee held the boarding door until the 28 community

members and Imam Sulayman arrived.

       634.692.      On April 16, 2018, Imam Sulayman and his 28 travel companions were

scheduled to return to the United States by air from Saudi Arabia to Dubai to Seattle,

Washington.

       635.693.      At the airport in Saudi Arabia, the boarding passes of his family

members, including Imam Sulayman’s elderly mother, were stamped with the “SSSS”

designation indicating that they were designated as “known or suspected terrorists.”

       636.694.      When Imam Sulayman approached the ticket agent for his boarding

pass, the airline representative was not able to print his boarding pass. An airline supervisor

was called and Imam Sulayman was informed that the airline had to “call America” to figure

out what was happening.

       637.695.      After a forty-five-minute delay, the airline representatives only

received clearance to print Imam Sulayman’s boarding pass from Saudi Arabia to Dubai.


                                             129
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 130 of 281




Imam Sulayman’s boarding pass was stamped with the “SSSS” designation indicating that he

is a “known or suspected terrorist.”

         638.696.     Once in Dubai, Imam Sulayman was delayed another forty-five-minutes

forbefore the airline representative tocould print his boarding pass ,which was again

stamped with the “SSSS” designation indicating that he is a “known or suspected terrorist.”

         639.697.     When Imam Sulayman landed in Seattle, Washington, CBP officers were

planeside asking passengers if they were Imam Sulayman. Once Imam Sulayman identified

himself to the CBP officers, he was escorted along with his elderly mother in public view and

in front of his travel companions to an interrogation room.

         640.698.     To spare his elderly mother from further humiliation, heartache, and

hassle, Imam Sulayman begged CBP officers to let his elderly mother out of secondary

inspection. Imam Sulayman pleaded with CBP officers and informed them “I know you want

me not my mother.”

         641.699.     The CBP officers interrogated Imam Sulayman about his studies, work,

and travel. The CBP officers also asked Imam Sulayman if he knew certain individuals whose

photographs he was shown.

         642.700.     Imam Sulayman was detained and interrogated for four-and-a-half

hours.

         643.701.     Imam Sulayman felt powerless to assist his elderly mother during this

Umrahumrah trip. He felt ashamed and began to question whether he should ever travel

with his elderly mother so that she would no longer be subjected to the above described

travel experience because of her relation to him and his status on Defendants’ federal

terrorterrorist watchlist.


                                            130
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 131 of 281




       644.702.      On May 19, 2018, Imam Sulayman drove family members to the Islamic

Center of Olympia so they could break their Ramadan12 fast. Imam Sulayman could not break

fast with his family because he had a fundraiser in Seattle to attend.

       645.703.      Since Imam Sulayman works as an Uber driver in his spare time, he

decided to pick up an Uber fare as he drove back to Seattle. He accepted to pick up an Uber

fare from the Fort Lewis military base near Tacoma, Washington.

       646.704.      When Imam Sulayman arrived at the military base, the officer at the

checkpoint informed him that he needed to register his information. Imam Sulayman

proceeded to the registration area and provided his license, registration and insurance

information. He asked how long this would take and was informed that it was only a five to

ten-minute process. He decided to wait for his fare instead of cancelling.

       647.705.      After twenty minutes, an officer detained and placed handcuffs on

Imam Sulayman. Imam Sulayman has no criminal record. He was extremely frightened and

did not understand why he was been apprehended.

       648.706.      Imam Sulayman asked the officer why he was handcuffed and detained.

The officer stated that Imam Sulayman’s name popped up when his driving information was

being inputted.

       649.707.      Imam Sulayman asked the officer to read what was said when his name

appeared. Imam Sulayman was given three reasons.

       650.708.      At first, the officer stated that there was an issue related to ICE. After

Imam Sulayman informed the officer that he was a U.S. citizen. The officer did not respond.



12 Ramadan is the Islamic holy month when Muslims fast, without food or water, from sunrise

to sunset.
                                             131
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 132 of 281




       651.709.       The second explanation provided by the officer was that Imam

Sulayman was a “threat.” Imam Sulayman asked why he was being labeled a “threat.” The

officer did not provide an explanation.

       652.710.       The third explanation provided by the officer was that there was a

warrant out for Imam Sulayman’s arrest. After he asked for more information about the

outside arrest warrant, the officer made at least two calls to obtain more information.

       653.711.       After an hour of custodial detention, Imam Sulayman was released.

During his detention, Imam Sulayman asked if the handcuffs could be removed and if he

could stand up. He was told that neither are allowed because of standard procedure.

       654.712.       Imam Sulayman was unable to pick up his Uber fare. His income ability

was hindered because of his status on Defendants’ federal terrorterrorist watchlist.

       655.713.       Upon information and belief, Imam Sulayman was custodially detained

and handcuffed at Fort Lewis military base because of his status on Defendants’ federal

terrorterrorist watchlist.

       656.714.       Muslim community members have informed Imam Sulayman that FBI

agents have questioned them about him. Upon information and belief, these community

members have been interviewed by the FBI because of their association with Imam

Sulayman and because of his status on Defendants’ federal terrorist watch listwatchlist.

       657.715.       Since Imam Sulayman is a religious leader in his community, he travels

frequently with large groups for Umrahumrah. Due to the difficulty, hassle, and humiliation

associated with his travel experiences because of his status on Defendants’ federal

terrorterrorist watchlist, Imam Sulayman is afraid to travel again. Additionally, Imam

Sulayman standing in his community has been greatly diminished since his travel


                                            132
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 133 of 281




companions, as described above, discovered he was on Defendants’ federal terrorterrorist

watchlist.   Imam Sulayman is also discouraged from organizing and leading Muslim

community members for Umrahumrah trips because of the above described treatment, and

accompanying shame, fear, and humiliation, that he experiences because of his status on

Defendants’ federal terrorterrorist watchlist.

       658.716.       Upon information and belief, Imam Sulayman remains on Defendants’

federal terrorterrorist watchlist.

                                      Plaintiff Fadi Suliman                                   Formatted: Underline
                                     (A Watchlisted Plaintiff)                                 Formatted: Keep with next

       659.717.       On January 11, 2018, Mr.Fadi Suliman arrived at a Miami area airport

for a flight to Las Vegas, Nevada.

       660.718.       Mr. Suliman was traveling to a business convention with his employees

(one Muslim and one non-Muslim), a customer, and a vendor, each of whom witnessed the

entire treatment that Mr. Suliman was subjected to that day, described below.

       661.719.       At first, Mr. Suliman was prevented from checking in online and at the

airport kiosk. Rather, he was directed to an airline representative for further assistance.

       662.720.       After presenting himself to the airline representative at the ticket

counter, Mr. Suliman and his travel companions had to wait almost forty minutes before the

airline representative was able to obtain clearance from Defendants so that Mr. Suliman

could board his flight.

       663.721.       While the airline representative was on the phone, Mr. Suliman

overheard the representative state “no, he doesn’t have any weapons on him.” The airline

representative then asked Mr. Suliman if any of the individuals traveling with him had any

weapons.

                                               133
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 134 of 281




       664.722.      All the boarding passes given to Mr. Suliman and his travel companions

were stamped with the “SSSS” designation, indicating that they were all designated as

“known or suspected terrorists,” with the exception ofexcept for one. The only travel

companion that did not have an “SSSS” designation on his boarding pass was the sole non-

Muslim employee traveling with Mr. Suliman despite the fact that all. All the tickets were

purchased by Mr. Suliman’s company under the same reservation.

       665.723.      Once Mr. Suliman and his travel companions arrived at the TSA security

checkpoint, they provided their boarding passes and identification documents to the TSA

agent stationed at the entrance of the TSA security checkpoint.

       666.724.      The boarding pass scanner indicated a red light when Mr. Suliman’s

boarding pass was scanned. The TSA agent called over a supervisor and stated, “We have a

house guest.”

       667.725.      Mr. Suliman and his travel companions that were designated “SSSS”

were escorted to a different line than the other travelers passing through the TSA security

checkpoint and subjected to enhanced screening. The non-Muslim employee was not

subjected to enhanced screening and went through normal screening.

       668.726.      Mr. Suliman was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, in addition to a TSA male agent placing

his fingers inside and around Mr. Suliman’s waist, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view and

in front of his travel companions. Mr. Suliman’s Muslim travel companions received the

same treatment.




                                             134
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 135 of 281




       669.727.      Meanwhile, a TSA agent was on the phone seeking clearance to allow

Mr. Suliman to pass the security checkpoint.

       670.728.      Once Mr. Suliman and his Muslim travel companions finally arrived at

the gate, approximately five TSA agents were waiting for Mr. Suliman to arrive.

       671.729.      The TSA agents had with them a cart with chemical testing machines.

       672.730.      At the gate and before being allowed to board, in public view and in

front of his travel companions, Mr. Suliman was once again subjected to an invasive and

lengthy pat down; all of his personal belongings were searched again; and, he and his

belongings were subjected to another round of chemical residue testing despite the fact that

he had just cleared security with no issues at the TSA security checkpoint.

       673.731.      Due to the additional enhanced screening at the gate, Mr. Suliman

missed his direct flight to Las Vegas. As a result, Mr. Suliman was forced to rebook with a

connecting flight to Dallas Fort Worth airport in Dallas, Texas and travel separately than his

travel companions.

       674.732.      When Mr. Suliman arrived at Dallas to board his flight to Las Vegas, the

airline representative scanned his boarding pass at the gate to board their flight and the

scanner once again indicated a red light.

       675.733.      Mr. Suliman was once again delayed until the airline representative at

the gate finally obtained clearance from Defendants to allow him to board his flight.

       676.734.      Additionally, Mr. Suliman had to wait at the gate until TSA agents

arrived and subjected Mr. Suliman to another invasive and lengthy pat down, a search of all

his personal belongings, and another round of chemical residue testing for himself and his




                                             135
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 136 of 281




belongings although he had not left the secure, sterile area of the airport and was only on a

connecting flight. This was once again conducted in public view.

          677.735.   Mr. Suliman felt ashamed and humiliated, especially because he was

treated as a “known or suspected terrorist” in public view and in front of his employees,

customer, and vendor, and because his Muslim travel companions were also delayed,

humiliated and subjected to extensive screening just because they were traveling with Mr.

Suliman.

          678.736.   Because of all the delays, it took Mr. Suliman 15 hours to arrive in Las

Vegas for the convention. Mr. Suliman’s original flight schedule was scheduled for 5 hours.

          679.737.   Because of all the delays resulting from his status on the federal

terrorterrorist watchlist, Mr. Suliman missed two business meetings and was forced to

reschedule a meeting with a Hong Kong vendor.

          680.738.   Mr. Suliman’s employees, customer, and vendor were shocked at the

treatment they witnessed and endured while traveling with Mr. Suliman.

          681.739.   On the return flight from Las Vegas to Miami, Mr. Suliman experienced

the same treatment as described above. Mr. Suliman’s Muslim travel companions were once

again subjected to the same treatment. The non-Muslim employee once again did not have

an “SSSS” stamp on his boarding pass and did not experience any enhanced screening or

delays.

          682.740.   After their travel experience, Mr. Suliman’s Muslim travel companions

informed him that they would not travel with him again because of the treatment they

suffered when traveling with him.




                                            136
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 137 of 281




       683.741.         Ever since that trip, every time Mr. Suliman travels by air, he is

subjected to substantially similar treatment.

       684.742.         His boarding passes for his flights are routinely stamped with the

“SSSS” designation, indicating that he has been designated by Defendants as a “known or

suspected terrorist.”

       685.743.         He is routinely unable to check in for his flights online or print his

boarding pass.

       686.744.         Rather Mr. Suliman is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.

       687.745.         Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       688.746.         Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Suliman to substantially similar routine, extensive and lengthy

screening, an invasive pat down including a search of his groin area, an extensive search of

all of his personal belongings and chemical residue testing of his person and his belongings

– twice – at the TSA security checkpoint and again at the gate, in public view and in front of

his travel companions.

       689.747.         He then has tomust wait again at the gate for an airline representative

to obtain clearance from Defendants a second time to board his flight, even though

Defendants already provided clearance for him to board his flight prior to his boarding pass

being printed in the first place.


                                              137
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 138 of 281




       690.748.      Moreover, oftentimes the people that Mr. Suliman travels with are also

treated as “known or suspected terrorists” just because they are traveling with him.

       691.749.      On May 2018, Mr. Suliman was forced to fly to China to meet with the

Hong Kong business vendor that he was originally scheduled to meet in Las Vegas on the trip

described above. At New York’s JFK airport to connect for his flight to China, Mr. Suliman

was referred to by TSA as a “house guest” again at the TSA security checkpoint.

       692.750.      A TSA agent instructed Mr. Suliman to have a seat and delayed him for

40 minutes until an airline representative came looking for Mr. Suliman and asked if TSA was

going to clear him. At this point, TSA cleared Mr. Suliman but another female TSA agent re-

detained Mr. Suliman and TSA agents called yet again for clearance.

       693.751.      After being cleared again, Mr. Suliman rushed to the gate only to be

delayed by TSA for another round of clearance checks. The TSA agent at the gate took a

picture of his boarding pass.

       694.752.      Fortunately, the captain of his flight refused to take off until Mr.

Suliman boarded, otherwise he would have missed his flight.

       695.753.      Mr. Suliman’s belongings did not make it to China.

       696.754.      Because of his past screening experiences, Mr. Suliman had avoided

taking a carry-on and therefore had no clothes to change into for two days. Mr. Suliman did

not take a carry-on so he couldTo minimize the screening delays and humiliation. , Mr.

Suliman did not take a carry-on.

       697.755.      On May 11, 2018, Mr. Suliman was traveling from China to Miami with

a connecting flight in Los Angeles International Airport. When Mr. Suliman arrived at the




                                            138
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 139 of 281




airport in China, the airline representative received a message that stated, “Passenger not

allowed to board before clearance.”

       698.756.      Supervisors for the airline were called over and Mr. Suliman was

escorted to an office where the airline employees called Defendants to get clearance.

       699.757.      The airline employees took approximately 2 hours before Defendants

gave them a code to input into the system, which allowed them to assign Mr. Suliman a seat.

Mr. Suliman arrived four hours before takeoff and still almost missed his flight.

       700.758.      When Mr. Suliman landed in Los Angeles, there were five armed CBP

officers waiting for him planeside. They escorted Mr. Suliman in public view to get his

luggage.

       701.759.      Mr. Suliman was escorted to secondary inspection where he was

detained and interrogated about his travel, businesses, and business partners. During the

interrogation, Mr. Suliman commented to an African-American CBP officer “Imagine if I was

a black Muslim.” The CBP officer responded, “Lately, most of the people that come to this

room are from your background.”

       702.760.      The CBP officers forced Mr. Suliman to show them photographs of his

trip to China, his family, and employees.

       703.761.      CBP officers also seized Mr. Suliman’s smartphone. A CBP supervisor

gave Mr. Suliman a document informing him that his phone was being seized. As of this date,

Mr. Suliman has not received his phone back.

       704.762.      Mr. Suliman was detained for approximately 2 hours. As a result, Mr.

Suliman missed his flight to Miami and was forced to spend the night at the airport.




                                             139
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 140 of 281




       705.763.       Mr. Suliman applied to the TSA Pre✓ ® program, but his application was

denied without providing any explanation.

       706.764.       Upon information and belief, his application to participate in the TSA

Pre✓ ® program was denied because of, upon information and belief, his status on the federal

terror watch listterrorist watchlist.

       707.765.       Mr. Suliman has filed a DHS TRIP inquiry. He has since received a letter

as described in paragraph 178 aboveParagraph 217 and was assigned a Redress Control

Number.redress control number.

       708.766.       Upon information and belief, Mr. Suliman remains on the federal terror

watch listterrorist watchlist.

                                    Plaintiff John Doe 2                                         Formatted: Keep with next
                                  (A Watchlisted Plaintiff)

       709.767.       Since approximately 2013, every time John Doe 2 travels by air, his

boarding pass is routinely stamped with the “SSSS” designation, indicating that he has been

designated by Defendants as a “known or suspected terrorist.”

       710.768.       He is routinely unable to check in for his flights online or print his

boarding pass.

       711.769.       Rather John Doe 2 is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.

       712.770.       Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.


                                             140
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 141 of 281




       713.771.      When John Doe 2 scans his boarding pass at the entrance to the TSA

security checkpoint, the scanner indicates a red light.

       714.772.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject John Doe 2 to routine, extensive and lengthy screening, an invasive

pat down including, an extensive search of all of his personal belongings and chemical

residue testing of his person and his belongings – twice – at the TSA security checkpoint and

again at the gate, in public view and in front of his travel companions.

       715.773.      Oftentimes, John Doe 2’s name is called on the loudspeaker before he is

subjected to interrogation at the gate in public view.

       716.774.      On one occasion, DHS officers interrogated John Doe 2 about whether

he was going to Syria and whether he was going to fight in the country.

       717.775.      Whenever John Doe 2 arrives in the United States from international

trips, two CBP officers check everyone’s passports as they deplane until they find him.

       718.776.      The two CBP officers then escort him from the gate to an interrogation

room where he is detained and interrogated by FBI agents. All of his personal belongings

are also searched.

       719.777.      Additionally, whenever John Doe 2 has electronics in his possession,

CBP officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

       720.778.      On one occasion, CBP officers seized John Doe 2’s phone and searched

through his photos despite his objections.

       721.779.      Upon arriving in the United States from an international flight in Saudi

Arabia, CBP officers interrogated John Doe 2 about who he married, whether his wife was


                                             141
                 Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 142 of 281




Syrian, whether he and his wife visited Syria, whether John Doe 2 supported the Assad

regime in Syria, and what his thoughts were about Syrian President Assad and ISIS.

       722.780.        Upon returning to the United States on a flight from Turkey, CBP

officers interrogated John Doe 2 about where he traveled to, where he obtained the money

to travel, and about his job managing an Islamic center.

       723.781.        Further, CBP officers interrogated John Doe 2 about a prayer book they

found among his personal belongings, the content of the book and the specific details of his

Islamic faith.

       724.782.        On another occasion, upon returning to the United States from a trip to

Turkey, a DHS agent called John Doe 2 after he exited the airport and told him that he had

been scheduled for additional screening and interrogation and that he needed to return to

the airport.

       725.783.        The DHS agent further told John Doe 2 that he would be detained at his

next flight if he did not return to the airport.

       726.784.        After 15 minutes, a DHS supervisor called John Doe 2 and interrogated

him about his trip, the purpose of his trip, and who he stayed with during his trip.

       727.785.        As a resultBecause of his watchlist designation, John Doe 2 is often

subjected to interrogations at international airports.

       728.786.        On one occasion, John Doe 2 was interrogated by a CBP officer at an

airport in the United Arab Emirates.

       729.787.        John Doe 2 was interrogated about how he paid for his trip, the current

locations of his family members, his place of birth, and his place of citizenship.

       730.788.        As a resultBecause of the interrogation, John Doe 2 missed his flight.


                                               142
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 143 of 281




       731.789.       After returning to the airport the next day because he missed his flight,

once again, the same CBP officer interrogated John Doe 2.

       732.790.       John Doe 2 has filed multiple DHS TRIP inquiries. He has since received

multiple form letters as described in Paragraph 217 and has beenwas assigned multiple

Redress Control Numbers in connection with those lettersredress control numbers.

       733.791.       Further, shortly after John Doe 2 was designated on the federal watch

listwatchlist, he was subjected to FBI interrogations at his home.

       734.792.       On one occasion, FBI agents interrogated John Doe 2 about where his

family is from, where they currently reside, whether he knows individuals who fight in Syria,

what he knows about groups including ISIS and an anti-ISIS journalist group, and whether

he sent money to Syria.

       735.793.       On another occasion, FBI agent James Fobert told John Doe 2, “You’re

an asset. We want to get information from you that can prevent people from joining ISIS.”

       736.794.       FBI agents offered to pay John Doe 2 in exchange for John Doe 2

agreeing to act as an informant.                                                                  Formatted: Font color: Text 1


       795.    FBI agents told John Doe 2 that he would be taken off the watchlist if he agreed

to act as an informant for the FBI.

       796.    In order to act as an Informant for the FBI, John Doe 2 would have to associate

with members of his religious community under false pretenses, and lie to those members,

including religious leaders.

       797.    Engaging the religious community under false pretenses and lying to members

of his religious community, including religious leaders, goes against the John Doe 2’s

religious beliefs and interferes with his ability to practice his religion.


                                               143
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 144 of 281




       737.798.         Upon information and belief, John Doe 2 remains on Defendants’

federal terrorterrorist watchlist.

                                     Plaintiff Baby Doe                                          Formatted: Keep with next
                        (A Family Member of a Watchlisted Individual)

       738.799.         Baby Doe is a 1-year-old toddler.

       739.800.         He was four or five-months-old when his boarding pass was first

stamped with the “SSSS” designation, indicating that he was designated as a “known or

suspected terrorist.”

       740.801.         While passing through airport security, he was subjected to extensive

searches and pat downs.

       741.802.         Defendants subjected Baby Doe to chemical residue testing of is person

and his personal belongings were searched thoroughly, including his diapers and his diaper

bag.

       742.803.         Upon information and belief, Baby Doe received the “SSSS” designation

and enhanced screening because of his relationship to his father, who is also on the federal

terrorterrorist watchlist.



                            Plaintiffs Child Doe and Child Doe 2                                 Formatted: Keep with next
                        (Family Members of a Watchlisted Individual)

       743.804.         As a resultBecause of Father Doe’s watchlist designation and treatment

while traveling, when Child Doe (age 7) and Child Doe 2 (age 8) travel with him, they are

regularly subjected to enhanced screening, which includes TSA agents pulling them aside

and searching their personal belongings.




                                              144
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 145 of 281




         744.805.     As a resultBecause of Father Doe’s watchlist designation and treatment

while traveling, Child Doe and Child Doe 2, and their family travel separately from Father

Doe to avoid similar treatment.

         745.806.     In early 2016, Child Doe and Child Doe 2 traveled separately from their

father to avoid the travel delays and humiliation resulting from their father’s watchlist

designation.

         746.807.     After they went through security, a TSA agent discovered their

relationship to Father Doe and asked him, “Are they with you?” When Father Doe confirmed

the relation, Child Doe and Child Doe 2 were forced to go through the security checkpoint

again.

         747.808.     When TSA agents attempted to force Child Doe to go through the metal

detector, Child Doe was four-years-old at the time, he began to sob uncontrollably and clung

to his father’s leg. His personal belongings were searched.

         748.809.     TSA agents also forced Child Doe 2 to go through the metal detector and

they searched her personal belongings. They also subjected her to chemical residue testing.

Child Doe 2, who was only six-years-old at the time, also began to sob.

                                  Plaintiff Hashem Nader Sehwail                                   Formatted: Keep with next
                                      (A Watchlisted Plaintiff)

         749.810.     Plaintiff Hashem Nader Sehwail is a United States citizen who lives in

Florida.

         750.811.     Last year, Mr. Sehwail left the United States to visit and spend time with

his family in Palestine.




                                             145
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 146 of 281




       751.812.      On January 21, 2018, Mr. Sehwail appeared at Istanbul Atatürk Airport,

in order to board his flight back home to the United States.

       752.813.      Mr. Sehwail had previously purchased a plane ticket for a Turkish

Airlines flight from Istanbul, Turkey to Hartsfield-Jackson Atlanta International Airport, and

on to Miami International Airport in Florida.

       753.814.      Mr. Sehwail presented himself at the Turkish Airlines counter with

plenty of time prior to his flight, when a Turkish Airlines representative informed Mr.

Sehwail that he was no longer allowed to board his flight.

       754.815.      In response to an inquiry as to why he was being denied boarding, the

Turkish Airlines representative directed Mr. Sehwail to the U.S. Embassy to obtain

information as to why he is no longer permitted to board a flight back to his home in the

United States.

       755.816.      Mr. Sehwail requested information from the United States Embassy in

Istanbul, Turkey regarding why he was denied boarding and being prevented from returning

to his home in the United States.

       756.817.      However, the United States Embassy informed Mr. Sehwail that they

had no information regarding why he was being denied boarding.

       757.818.      Upon information and belief, Mr. Sehwail was added to the No Fly List

after he left the United States, and accordingly he was unable to board a flight to return to

his home in the United States.

       758.819.      Mr. Sehwail filed a federal lawsuit in the Middle District of Florida on

January 25, 2018. The Florida judge subsequently transferred the case to the Eastern District

of Virginia.


                                             146
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 147 of 281




       759.820.       On January 30, 2018, counsel for PlaintiffMr. Sehwail provided counsel

at the U.S. Department of Justice a copy of the initial complaint and Mr. Sehwail’s itinerary

for his February 5, 2018 flight.

       760.821.       On February 2, 2018, counsel at the U.S. Department of Justice e-mailed

Plaintiff’s counsel stating that Plaintiff’s flight was booked on a codeshare flight operated by   Formatted: Font: Cambria


a foreign carrier. According to the U.S. DOJ, Plaintiff’s flight must not be a codeshare flight

operated by a foreign carrier.

       761.822.       Mr. Sehwail did not receive any such correspondence from the U.S.

Embassy prior to booking his February 5, 2018 flight back to the U.S.

       762.823.       Notably, Mr. Sehwail could not find a flight out of Jordan that is not a

codeshare flight operated by a foreign carrier. Mr. Sehwail had no other means of leaving

Jordan to return to his home in Florida.

       763.824.       On February 5, 2018, Mr. Sehwail attempted to return to the United

States for a second time. Mr. Sehwail was scheduled to fly from Jordan to Jacksonville

International Airport.

       764.825.       When Mr. Sehwail arrived at the airport in Jordan to board his flight, he

was once again denied boarding.

       765.826.       Mr. Sehwail had already spent significant sums on cancellation and

rebooking fees caused by Defendants refusal to allow him to board a flight to his country of

citizenship.

       766.827.       Mr. Sehwail made a third attempt to return to the United States and

rebooked his flight from Amman, Jordan to Frankfurt, Germany, to New York, New York, to

Jacksonville, Florida on February 12, 2018.


                                              147
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 148 of 281




       767.828.      After presenting himself to the airline representative at the ticket

counter, Mr. Sehwail had to wait while the airline representative obtained clearance from

the Department of Homeland Security for Mr. Sehwail to board his flight.

       768.829.      The airline representative was unable to print his boarding passes to

the United States. Mr. Sehwail only received a boarding pass to Frankfurt and was told to

obtain his boarding pass to the United States in Frankfurt, Germany.

       769.830.      When Mr. Sehwail arrived in Frankfurt, he presented himself to the

airline representative at the ticket counter and had to wait once again for the airline

representative to obtain clearance from the Department of Homeland Security so that Mr.

Sehwail could board his flight.

       770.831.      Upon providing Mr. Sehwail his boarding pass, the airline

representative drew a colored mark on the boarding pass.

       771.832.      When Mr. Sehwail arrived at Newark Liberty International Airport, he

was met by two CBP officers at the gate who asked to look at his passport. The officers did

not ask to look at any other passengers’ passports.

       772.833.      The CBP officers escorted him to passport control.

       773.834.      Upon arriving at passport control, Mr. Sehwail was met by two more

CBP officers who escorted him to a room for interrogation.

       774.835.      The CBP officers interrogated Mr. Sehwail about where his family was,

what he does for a living, and where he was traveling to.

       775.836.      The CBP officers searched through Mr. Sehwail’s cell phone, and upon

information and belief, downloaded the data from it without his consent.




                                            148
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 149 of 281




       776.837.       When Mr. Sehwail arrived at the gate to board his flight to Jacksonville,

he was subjected to an additional search in public view even though he had already cleared

security.

       777.838.       When Mr. Sehwail arrived in Jacksonville, he purchased a plane ticket

to Fort Lauderdale.

       778.839.       Upon presenting himself to the airline representative at the ticket

counter, Mr. Sehwail was told that he would not be allowed to board his flight.

       779.840.       Mr. Sehwail was forced to drive from Jacksonville to Fort Lauderdale,

which added an additional five hours to his return trip to his home in the United States.

       780.841.       On August 14, 2018, Mr. Sehwail voluntarily dismissed his Eastern

District of Virginia case without prejudice, in order to join this action.

       781.842.       Upon information and belief, Mr. Sehwail remains on the federal terror

watch listterrorist watchlist.

                                  Plaintiff Mohamad Albadawi                                      Formatted: Keep with next
                                    (A Watchlisted Plaintiff)

       782.843.       Since approximately 2013, every time Mr.Mohamad Albadawi travels

by air, his boarding pass is routinely stamped with the “SSSS” designation, indicating that he

has been designated by Defendants as a “known or suspected terrorist.”

       783.844.       He is routinely unable to check in for his flights online or print his

boarding pass.

       784.845.       Rather Mr. Albadawi is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.


                                              149
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 150 of 281




       785.846.      Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       786.847.      When Mr. Albadawi scans his boarding pass at the entrance to the TSA

security checkpoint, the scanner indicates a red light.

       787.848.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Albadawi to routine, extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all of his

personal belongings and chemical residue testing of his person and his belongings – twice –

at the TSA security checkpoint and again at the gate, in public view and in front of his travel

companions.

       788.849.      At the gate, the second search described above is conducted by a

minimum of eight to twelve TSA agents, including a TSA supervisor after he scans his

boarding pass to board his flight.

       789.850.      As a resultBecause of the treatment described above, Mr. Albadawi

stopped traveling with carry-on luggage.

       790.851.      Oftentimes, Mr. Albadawi’s name is called on the loudspeaker before he

is subjected to the second search at the gate.

       791.852.      Moreover, oftentimes the people that Mr. Albadawi travels with are

also treated as “known or suspected terrorists” just because they are traveling with him.

       792.853.      In 2013, upon arriving at an international airport in the United Arab

Emirates, the airline representative at the ticketing counter was unable to print his ticket




                                             150
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 151 of 281




and told Mr. Albadawi that they needed to contact the United States government to obtain

clearance for him to board his flight back to his home in the United States.

       793.854.      The airline representative contacted Defendants, and after a delay,

obtained clearance for Mr. Albadawi to board his flights to the United States and printed his

boarding pass.

       794.855.      Mr. Albadawi was then interrogated, upon information and belief, by

CBP officers in public view before he was allowed to board his flight.

       795.856.      Mr. Albadawi was subjected to similar treatment in connection with

other international flights returning to the United States, including from the United Arab

Emirates and Germany.

       796.857.      As a resultBecause of the above-described treatment, Mr. Albadawi has

missed several domestic and international flights.

       797.858.      For example, on July 31, 2018, Mr. Albadawi was returning to the

United States from a trip to Turkey. When Mr. Albadawi arrived at the ticket counter to check

in for his connecting flight to Amsterdam, Netherlands, the airline representative was unable

to print his boarding pass. The airline representative contacted Defendants for clearance to

allow Mr. Albadawi to board his flight. Mr. Albadawi waited for more than an hour and

missed his flight because the airline representative could not get clearance from Defendants

to board in time.

       798.859.      Eventually, Mr. Albadawi was rebooked on another flight and was

allowed to board a flight to Amsterdam.

       799.860.      However, when Mr. Albadawi arrived at Amsterdam Airport Schiphol,

he presented himself at the ticket counter for his boarding pass. The airline representative


                                             151
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 152 of 281




called Defendants to obtain clearance but once again due to the delay, Mr. Albadawi missed

his flight to the United States.

          800.861.     After Mr. Albadawi rebooked his flight to the United States, the airline

representative once again contacted Defendants, and after another lengthy delay, obtained

clearance for Mr. Albadawi to board his flight to the United States. The boarding pass was

stamped with the “SSSS” designation indicating that Defendants have labeled him a “known

or suspected terrorist.”

          801.862.     When Mr. Albadawi arrived at Hartsfield-Jackson Atlanta International

Airport, he went to an Automated Passport Control kiosk at customs. His declaration form

had an “X” printed on it with instructions to go to a customs agent. Mr. Albadawi noticed a

CBP officer looking at him. Mr. Albadawi approached the CBP officer and asked if he was

waiting for him. The CBP officer laughed and responded, “how did you know?”

          802.863.     Mr. Albadawi waited two hours for CBP to provide an approval code for

him. Because of the delay, Mr. Albadawi missed his flight to Chicago.

          803.864.     After rebooking, Mr. Albadawi went to a TSA security checkpoint and

experienced substantially similar enhanced screening experience as described above.

          804.865.     When Mr. Albadawi finally arrived at the gate to board his rebooked

flight, Mr. Albadawi was told he could not board because he did not have approval and as a

result, Mr. Albadawi was forced to return to the TSA security checkpoint, go through the

same invasive screening and clearance he had just completed, and obtain approval to board

his flight again.

          805.866.     Once again, Mr. Albadawi missed his flight and he had to rebook his

flight.


                                              152
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 153 of 281




       806.867.      When Mr. Albadawi finally arrived at the gate to board his flight, there

were several TSA agents with chemical testing machines. Mr. Albadawi was once again

subjected to enhanced and invasive screening as described above in public view.

       807.868.      Because of his status on Defendants’ federal terrorterrorist watchlist,

Mr. Albadawi missed four flights in the same trip and it took approximately 43 hours to

return to the United States.

       808.869.      Whenever Mr. Albadawi arrives in the United States from international

trips, two CBP officers check everyone’s passports as they deplane until they identify him.

       809.870.      The two CBP officers then escort him from the gate to an interrogation

room where he is detained and interrogated by FBI agents. All of his personal belongings

are also searched.

       810.871.      Additionally, whenever Mr. Albadawi has electronics in his possession,

CBP officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

       811.872.      As a result, Mr. Albadawi has stopped carrying his laptop when he

travels.

       812.873.      Upon returning from an international flight from Turkey, Mr. Albadawi

was interrogated by FBI agents about Muslim religious leaders that he invited to participate

in a convention that he organized.

       813.874.      During many of the trips that Mr. Albadawi traveled with his wife,

daughter, friends and colleagues, they were subjected to substantially similar treatment as

him.




                                            153
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 154 of 281




       814.875.       Approximately one year ago, when Mr. Albadawi and his daughter had

a connecting flight in South Carolina and attempted to go to their connecting gate, they were

told they were both told to go through the TSA security checkpoint again before being

allowed to board their flight.

       815.876.       Additionally, in the event thatif Mr. Albadawi purchases flight tickets

for colleagues, those colleagues are also subjected to substantially similar treatment as him

and interrogated about him, which has caused him to suffer from shame and embarrassment.

       816.877.       Approximately two years ago, when Mr. Albadawi’s daughter and her

husband returned from a trip to Mexico and arrived at customs, Mr. Albadawi’s daughter was

interrogated about whether her father was Mohammad Albadawi, how often she visits him,

how far his home is from hers, and about the conversations they have with one another.

       817.878.       Upon information and belief, Mr. Albadawi’s family and travel

companions are subjected to the above described treatment because of their relation to him

and because of his status on Defendants’ federal terrorterrorist watchlist.

       818.879.       Mr. Albadawi has filed multiple DHS TRIP inquiries. He has since

received multiple letters as described in paragraph 128 aboveParagraph 217 and was

assigned multiple Redress Control Numbers in connection with those lettersredress control

numbers.

       819.880.       Further, shortly after Mr. Albadawi was designated on the federal

watch listwatchlist, his personal bank account he had open for 18 years was suddenly closed

without notice or explanation of the reasons why it was closed.




                                            154
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 155 of 281




       820.881.       Upon information and belief, Defendants disseminated the stigmatizing

label of “known or suspected terrorist” attached to Mr. Albadawi to his bank, and as a result,

his bank account was closed without notice.

       821.882.       Because of the above described treatment, Mr. Albadawi is routinely

humiliated in public and in front of his family, discouraged from flying, and stigmatized as a

criminal because of his status on Defendants’ federal terrorterrorist watchlist.

       822.883.       In August 2018, Mr. Albadawi arrived at Kansas City International

Airport for a flight to Chicago where he planned to attend his daughter’s wedding.

       823.884.       Approximately 25-30 people on Mr. Albadawi’s flight were guests

attending his daughter’s wedding.

       824.885.       Mr. Albadawi was unable to check in for his flight online or print his

boarding pass and was directed to an airline representative, who then contacted Defendants

to obtain clearance to allow him to board his flight. His boarding pass was stamped with the

“SSSS” designation on it.

       825.886.       Mr. Albadawi’s son, who booked his flight separately, also received a

boarding pass with the “SSSS” designation on it, indicating that he was designated as a

“known or suspected terrorist.” Mr. Albadawi’s son was subjected to the same treatment as

his father.

       826.887.       Upon information and belief, Mr. Albadawi’s son received the “SSSS”

designation on his boarding pass due to his relationship with his father and because he was

traveling with his father.

       827.888.       When Mr. Albadawi and his son scanned their boarding passes at the

entrance to the TSA security checkpoint, the scanner indicated a red light for each, and, as


                                              155
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 156 of 281




protocol, TSA agents then subjected Mr. Albadawi and his son to routine, extensive and

lengthy screenings, an invasive pat down including a search of their groin area, an extensive

search of all of their personal belongings and chemical residue testing of their person and

their belongings – twice – at the TSA security checkpoint and again at the gate, in public view

and in front of their travel companions.

       828.889.       When Mr. Albadawi’s travel companions arrived at the gate,

approximately ten wedding guests were randomly selected for an additional search at the

gate and in public view, despite having cleared the TSA security checkpoint with no issues.

       829.890.       The wedding guests were subjected to an extensive search of all of their

personal belongings and chemical residue testing of their person and belongings.

       830.891.       Since this incident, to avoid enhanced screening and humiliation by

Defendants, many of his family members and his friends have arranged to fly on completely

separate flights, even if traveling to the same destination as from Mr. Albadawi, in order to

avoid enhanced screening and humiliation by Defendants.

       831.892.       Mr. Albadawi felt ashamed and humiliated in front of his friends and

family because they were treated as “known or suspected terrorists” because of their

relationship or association with him, and because they were traveling with him.

       832.893.       Upon information and belief, Mr. Albadawi remains on the federal

terror watch listterrorist watchlist.


                       Plaintiffs Hicham Hall and Faatimah Knight                                 Formatted: Keep with next
                                  (Watchlisted Plaintiffs)
       833.894.       Plaintiff Hicham Hall (“Mr. Hall”) and Plaintiff Faatimah Knight’s (“Mrs.

Knight”) are husband and wife (collectively referred to as “Hall Family”)..


                                             156
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 157 of 281




       834.895.       Since approximately 2014, every time Mr. Hall travels by air, his

boarding pass is routinely stamped with the “SSSS” designation, indicating that he has been

designated by Defendants as a “known or suspected terrorist.”

       835.896.       Since early 2018, after Mrs. Knight married Mr. Hall, every time Mrs.

Knight travels by air, her boarding pass is routinely stamped with the “SSSS” designation,

indicating that she has been designated by Defendants as a “known or suspected terrorist.”

Upon information and belief, Mrs. Knight is subjected to the treatment described above and

was added to Defendants’ federal terrorterrorist watchlist because of her association and

relations to her husband, Mr. Hall.

       836.897.       The Hall Family is routinely unable to check in for their flights online

or print their boarding passes at the airport kiosk.

       837.898.       Instead, the Hall Family is directed each time to an airline

representative, who then contacts Defendants to obtain clearance to allow them to board

their flight, a process that can take a very long time.

       838.899.       Once the airline representative receives clearance from Defendants

allowing them to board their flight, the airline representative prints their boarding passes

with the “SSSS” designation on it.

       839.900.       When the Hall Family scans their boarding passes at the entrance to the

TSA security checkpoint, the scanner indicates a red light.

       840.901.       Upon seeing the “SSSS” designation on their boarding passes, as

protocol, TSA agents then subject the Hall Family to routine, extensive and lengthy screening,

an invasive pat down including a search of their groin area, an extensive search of all of their

personal belongings and chemical residue testing of their person and their belongings –


                                              157
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 158 of 281




twice – at the TSA security checkpoint and again at the gate, in public view and in front of

their travel companions.

       841.902.      Often, whenever the Hall Family arrives in the United States from

international trips, two CBP officers check everyone’s passports as they deplane until they

identify them.

       842.903.      The two CBP officers then escort them from the gate to an interrogation

room where they are detained and interrogated by FBI agents. All of their personal

belongings are also searched.

       843.904.      Sometimes, whenever the Hall Family arrives in the United States from

international trips, upon scanning their passports in an Automated Passport Control kiosk

at customs, their declaration forms have an “X” printed on them with instructions to go to a

customs agent.

       844.905.      Additionally, whenever the Hall Family has electronics in their

possession, CBP officers confiscate their electronics and upon information and belief,

download the information from them, including their laptop and their cell phone, without

their consent.

       845.906.      In 2014, upon arriving at an international airport in Morocco, the

airline representative at the ticketing counter was unable to print his boarding pass and told

Mr. Hall that they needed to contact the United States government to obtain clearance for

him to board his flight back to his home in the United States.

       846.907.      The airline representative contacted Defendants, and after a delay,

obtained clearance for Mr. Hall to board his flights to the United States and printed his

boarding pass.


                                             158
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 159 of 281




       847.908.       However, due to the delay, Mr. Hall missed his flight and had to spend

a significant sum of money to rebook his flight.

       848.909.       Upon arrival at John F. Kennedy International Airport, the pilot made

an announcement on the loudspeaker asking all passengers to present their passports to the

two officers waiting at the gate upon deplaning.

       849.910.       Upon identifying Mr. Hall, the officers announced that “We got him.”

This occurred in public view and Mr. Hall was humiliated because he was being treated like

a criminal in front of the rest of the passengers.

       850.911.       The CBP officers escorted Mr. Hall to passport control and into a private

room where he was detained and interrogated.

       851.912.       Mr. Hall was interrogated about the location and purpose of his trip,

why he chose to study Arabic in Morocco, and who he studied with.

       852.913.       CBP officers made copies of Mr. Hall’s Arabic language books.

       853.914.       CBP officers also confiscated Mr. Hall’s cell phone and laptop and took

them into a private room. Upon information and belief, CPB officers downloaded the

information from him, without his consent.

       854.915.       On August 4, 2018, the Hall Family arrived at Washington Dulles

International Airport for an international trip to Morocco.

       855.916.       The Hall Family was not able to check-in online or at the passport kiosk.

Instead, they were directed to an airline representative for further assistance.

       856.917.       At the ticket counter, after a 30-to-40 -minute delay, and after the

airline representative obtained clearance from Defendants, the Hall Family received their




                                              159
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 160 of 281




boarding passes. Mr. Hall’s boarding pass was stamped with the “SSSS” designation,

indicating that he is designated as a “known or suspected” terrorist.

       857.918.      Mrs. Knight’s boarding pass was also stamped with the “SSSS”

designation, indicating that she is designated as a “known or suspected” terrorist.

       858.919.      Upon information and belief, Mr. Hall received a boarding pass with the

“SSSS” designation because he was traveling with Mrs. Knight.

       859.920.      Upon information and belief, Mrs. Knight received a boarding pass with

the “SSSS” designation because she was traveling with Mr. Hall.

       860.921.      Upon seeing the “SSSS” designation on their boarding passes, as

protocol, TSA agents then subjected the Hall family to routine, extensive and lengthy

screening, an invasive pat down, an extensive search of all of their personal belongings and

chemical residue testing of their persons and belongings at the TSA security checkpoint, and

in public view.

       861.922.      When the Hall Family finally arrived at the gate, several TSA agents

were waiting for them to arrive. The TSA agents had with them a cart with chemical testing

machines.

       862.923.      At the gate and before being allowed to board, in public view, the Hall

Family was once again subjected to an invasive and lengthy pat down, all of their personal

belongings were searched again, and they and their belongings were subjected to another

round of chemical residue testing despite the fact thateven though they had just cleared

security with no issues at the TSA security checkpoint.

       863.924.      Moreover, TSA agents took photographs of the Hall Family before they

were allowed to board their plane.


                                            160
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 161 of 281




       864.925.       The Hall Family was mortified that they were treated like criminals in

front of the same passengers that they were going to board the flight with.

       865.926.       Mr. Hall was also ashamed and embarrassed that his wife was

subjected to humiliating treatment as a resultbecause of her traveling with him.

       866.927.       Mrs. Knight was ashamed and embarrassed that her husband was

subjected to humiliating treatment as a resultbecause of traveling with her.

       867.928.       Upon information and belief, Mr. Hall and travel companions are

subjected to the above described treatment because of their relation and association with

him, because they travel with him, and because of his status on Defendants’ federal

terrorterrorist watchlist.

       868.929.       Upon information and belief, Mrs. Knight and travel companions are

subjected to the above described treatment because of their relation and association with

her, because they travel with her, and because of her status on Defendants’ federal

terrorterrorist watchlist.

       869.930.       Mr. Hall is ashamed and humiliated that his wife witnesses him being

treated by Defendants as a criminal and a “known or suspected terrorist.” Moreover, Mr. Hall

is ashamed and humiliated that his travel companions are routinely made to suffer just

because they are traveling with him.

       870.931.       Mrs. Knight is ashamed and humiliated that her husband witnesses her

being treated by Defendants as a criminal and a “known or suspected terrorist.” Moreover,

Mrs. Knight is ashamed and humiliated that her travel companions are routinely made to

suffer just because they are traveling with her.




                                             161
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 162 of 281




       871.932.       Because of the above described treatment, the Hall Family is routinely

humiliated in public and in front of their family, discouraged from flying, and stigmatized as

a criminal because of their status on Defendants’ federal terrorterrorist watchlist.

       872.933.       The Hall Family is routinely subjected to FBI interrogations because of

their watch listwatchlist status.

       873.934.       In 2016, the Hall Family returned from an international trip to Germany

when CBP officers escorted them from the gate to an interrogation room where FBI agents

were waiting to interrogate them.

       874.935.       FBI agents told Mr. Hall they would resolve his travel issues and

remove him from the “list” if he agreed to become an informant.                                  Formatted: Font color: Text 1


       936.    In order to act as an Informant for the FBI, Hall would have to associate with

members of his religious community under false pretenses, and lie to those members,

including religious leaders.

       937.    Engaging the religious community under false pretenses and lying to members

of his religious community, including religious leaders, goes against the John Doe 2’s

religious beliefs and interferes with his ability to practice his religion.

       875.938.       In January of 2017, the Hall Family arrived at Washington Dulles

International Airport on their way back from an international trip from Tunisia.

       876.939.       When the Hall Family went through customs and inserted their

passports at the kiosk, the kiosk displayed a red “X” and they were instructed to proceed to

a CBP officer for further processing.

       877.940.       CBP officers escorted the Hall Family to secondary inspection where

they were taken to a private room for interrogation.


                                               162
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 163 of 281




       878.941.       Mrs. Knight was interrogated about the purpose of her trip, the length

of their trip, what she and her husband studied in Tunisia, why she chose to study Arabic in

Tunisia, what she was studying regarding religion, and how she and her husband spend their

days in the United States.

       879.942.       Mrs. Knight was then escorted to a waiting area while FBI agents

interrogated Mr. Hall for almost one hour.

       880.943.       As a resultBecause of electronic searches caused by the Hall Family’s

watch listwatchlist status, Mr. Hall’s laptop was destroyed.

       881.944.       In January or February 2015, Mr. Hall was returning from an

international trip to Morocco. CBP Officers escorted Mr. Hall to an interrogation room.

       882.945.       CBP officers seized Mr. Hall’s laptop and took it into a separate room.

And upon information and belief, Defendants searched and copied the data and contents of

his laptop.

       883.946.       As a resultBecause of tampering with his laptop, Defendants corrupted

his laptop and Mr. Hall was forced to purchase a new laptop.

       884.947.       As a result, Mr. Hall has stopped carrying his laptop when he travels.

       885.948.       Upon information and belief, Mr. Hall remains on the federal terror

watch listterrorist watchlist.

       886.949.       Upon information and belief, Mrs. Knight remains on the federal terror

watch listterrorist watchlist.


                                   Plaintiff Khalil Thadi                                       Formatted: Keep with next
                                 (A Watchlisted Plaintiff)




                                             163
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 164 of 281




       887.950.       In March 2017, Mr.Khalil Thadi arrived at Joint Base Myer-Henderson

Hall to provide a carpet estimate at the request of a contractor.

       888.951.       Mr. Thadi completed the appropriate form to go inside the base. After

submitting the form, security officers pulled Mr. Thadi aside for questioning. Security

instructed Mr. Thadi to get out of his car.

       889.952.       Mr. Thadi was questioned about the purpose of his visit. He and his car

were also photographed. This process lasted for 45 minutes. Mr. Thadi was ultimately

denied entry to the base.

       890.953.       Upon information and belief, Mr. Thadi was denied entry to Joint Base

Myer-Henderson Hall because of his status on the watchlist. As a consequenceThus, Mr.

Thadi was unable to provide a carpet estimate to the contractor; thus, he was not awarded a

subcontract and lost out on an important business opportunity.

       891.954.       Since 2004, every time Mr. Thadi travels he is subjected to substantially

similar treatment. His boarding passes for his flights are routinely stamped with the “SSSS”

designation, indicating that he has been designated by Defendants as a “known or suspected

terrorist.”

       892.955.       He is routinely unable to check in for his flights online or print his

boarding pass.

       893.956.       Instead, Mr. Thadi is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time. Once the airline representative receives clearance from

Defendants allowing him to board his flight, the airline representative prints his boarding

pass with the “SSSS” designation on it.


                                              164
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 165 of 281




       894.957.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Thadi to routine, extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings at the TSA security

checkpoint in public view.

       895.958.      Whenever Mr. Thadi returns from an international flight into the

United States, he also experiences substantially similar mistreatment each time.

       896.959.      Whenever Mr. Thadi arrives in the United States, he is routinely

escorted to secondary inspection where he is detained and subjected to lengthy

interrogations by CBP officers.

       897.960.      The CBP officers search his luggage and seize and search his

electronics. Upon information and belief, Defendants downloaded and made copies of the

information on his electronic devices without his consent.

       898.961.      Because of the above-described screening experiences, Mr. Thadi has

missed multiple flights.

       899.962.      Since 2004, the FBI have repeatedly interrogated Mr. Thadi at his home

about a variety of issues including: the purpose of his trips to Morocco, when and where he

and his family went, and whether individuals coerced Mr. Thadi’s family to leave the United

States. Agents have also interrogated Mr. Thadi about specific individuals.

       900.963.      Mr. Thadi has twice been subjected to irregularly long traffic stops.

When Mr. Thadi is pulled over by police, he is told that his name matches with a name within

a list accessed by officers and is detained for long periods of time. Upon information and




                                            165
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 166 of 281




belief, Mr. Thadi’s long traffic stops occurred because of his status on Defendants’ federal

terrorterrorist watchlist.

       901.964.       Mr. Thadi has filed a redress request through DHS TRIP inquiry. On

March 13, 2018, Mr. Thadi received a letter, as described in paragraph 178 aboveParagraph

217 and was assigned a Redress Control Numberredress control number.

       902.965.       As a resultBecause of being placed on the federal terrorterrorist

watchlist, Mr. Thadi has been discouraged from traveling in order to avoid the lengthy

delays, enhanced screening and interrogations by Defendants and the humiliation and

stigma associated with the above described screening experiences.

       903.966.       Upon information and belief, Mr. Thadi remains on the federal

terrorterrorist watchlist.




                                 Plaintiff Esmaeel Paryavi                                      Formatted: Keep with next
                                 (A Watchlisted Plaintiff)

       904.967.       Mr. EsameelEsmaeel Paryavi (“Mr. E. Paryavi”) is the son of Plaintiff

Mohammad Paryavi. Upon information and belief, Defendants have placed Mr. E. Paryavi on

the federal terrorterrorist watchlist because of his relation to Plaintiff Mohammad Paryavi.

       905.968.       On April 22, 2018, Mr. E. Paryavi was departing El Dorado International

Airport in Bogota, Columbia, on his way back from an international trip to Columbia with

friends.


                                            166
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 167 of 281




        906.969.     He was prevented from checking in online or at the kiosk in the airport.

Rather, he was directed to an airline representative for further assistance.

        907.970.     The airline representative called Defendants in order to obtain

clearance to print his boarding pass and allow him to board his flight.

        908.971.     After having passed through the security checkpoint without incident,

Columbian agents pulled Mr. E. Paryavi aside before he was told that he had been randomly

selected for additional screening. In public view and in front of his friends, Mr. E. Paryavi

was subjected to a pat down and a search of his personal belongings.

        909.972.     Mr. E. Paryavi was a Global Entry Holder. Once he arrived at customs at

Dallas/Fort Worth International Airport, he scanned his fingerprints at a kiosk. He received

a receipt marked with an X.

        910.973.     Mr. E. Paryavi presented the receipt to a CBP officer, who explained that

he had been randomly selected for secondary screening. Mr. E. Paryavi was escorted to a

back waiting area where he was met by two other CBP officers who escorted him to another

room.

        911.974.     Mr. E. Paryavi’s personal belongings were searched. The CBP officers

required him to count the money in his wallet. They searched through photos in Mr. E.

Paryavi’s cell phone and made note of the model number and specifications of the phone.

        912.975.      The CBP officers required Mr. E. Paryavi to fill out a worksheet with

information about his place of residence, his place of work, his date of birth, and other

information.

        913.976.     A CBP officer also required Mr. E. Paryavi to provide contact

information for his roommates, the friends he traveled with to Columbia, and immediate


                                             167
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 168 of 281




family members. He was also required to provide the nationality, current place of residence,

and date of birth for all immediate family members.

       914.977.      Mr. E. Paryavi was interrogated for approximately one hour.

       915.978.      Five days later, Mr. E. Paryavi received an email explaining that his

Global Entry had been revoked.

       916.979.      Upon information and belief, Mr. E. Paryavi’s Global Entry was revoked

because of his status on Defendants’ federal terrorterrorist watchlist.

       917.980.      Moreover, upon information and belief, Mr. E. Paryavi’s TSA Pre✓ ®

status has also been revoked, because his boarding passes no longer contain the words, “TSA

Precheck.”

       918.981.      Upon information and belief, Mr. E. Paryavi’s TSA Pre✓ ® was revoked

because of his status on Defendants’ federal terrorterrorist watchlist.

       919.982.      Ever since that trip, when Mr. E. Paryavi travels by air, his boarding

pass is routinely stamped with the “SSSS” designation, indicating that he has been designated

by Defendants as a “known or suspected terrorist.”

       920.983.      He is routinely unable to check in online or print his boarding pass.

       921.984.      Rather, Mr. E. Paryavi is routinely directed to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.

       922.985.      Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.



                                             168
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 169 of 281




       923.986.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. E. Paryavi to routine, extensive and lengthy screening, an

invasive pat down, an extensive search of all of his personal belongings and chemical residue

testing of his person and his belongings at the TSA security checkpoint, in public view and in

front of his travel companions. Mr. E. Paryavi is ashamed and humiliated that his friends

witness him being treated by Defendants as a criminal and a “known or suspected terrorist.”

Moreover, Mr. E. Paryavi is ashamed and humiliated that his travel companions are routinely

made to suffer just because they are traveling with him.

       924.987.      On one occasion, while traveling domestically, an agent at the gate

asked Mr. E. Paryavi to approach the counter and notified him that he needed to verify his

documentation. The agent told Mr. E. Paryavi that the system required his passport.

However, because it was a domestic flight, Mr. E. Paryavi did not have his passport with him.

The agent then called a supervisor. Eventually, the agent told Mr. E. Paryavi he would be able

to board his flight. When Mr. E. Paryavi attempted to board, the system rejected his boarding

pass. Again, an agent spoke with a supervisor to obtain clearance for him to board his flight.

       925.988.      On or about May 28, 2018, Mr. E. Paryavi and his friends were stopped

at a US-Mexico port of entry on his way into the United States. They were directed to pull

over and turn off the car ignition. CBP officers confiscated the passports of Mr. E. Paryavi

and his travel companions. A yellow sticker was placed in Mr. E. Paryavi’s passport.

       926.989.      After two hours of waiting in the car, a CBP officer escorted Mr. E.

Paryavi to a room where he was interrogated about his travel history, his occupation, and

his family.




                                             169
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 170 of 281




       927.990.       The CBP officer searched through Mr. E. Paryavi’s personal belongings

and his photos on his cell phone.

       928.991.       Mr. E. Paryavi has filed a DHS TripTRIP inquiry. He has received a form    Formatted: Font color: Text 1


letter as described in responseParagraph 217 and has beenwas assigned a Redress Control          Formatted: Font color: Text 1
                                                                                                 Formatted: Font color: Text 1
Number in connection with that letter.redress control number
                                                                                                 Formatted: Font color: Text 1

       929.992.       Upon information and belief, Mr. Paryavi remains on the federal terror     Formatted: Font color: Text 1


watch listterrorist watchlist.


                                     Plaintiff Faraz Siddiqui                                    Formatted: Keep with next
                                    (A Watchlisted Plaintiff)

       930.993.       Since approximately 2010, every time Mr.Faraz Siddiqui travels by air,

his boarding pass is routinely stamped with the “SSSS” designation, indicating that he has

been designated by Defendants as a “known or suspected terrorist.”

       931.994.       He is routinely unable to check in for his flights online or print his

boarding pass.

       932.995.       Rather Mr. Siddiqui is directed each time to an airline representative,

who then contacts Defendants to obtain clearance to allow him to board his flight, a process

that can take a very long time.

       933.996.       Once the airline representative receives clearance from Defendants

allowing him to board his flight, the airline representative prints his boarding pass with the

“SSSS” designation on it.

       934.997.       When Mr. Siddiqui scans his boarding pass at the entrance to the TSA

security checkpoint, the scanner indicates a red light.




                                              170
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 171 of 281




       935.998.      Upon seeing the “SSSS” designation on his boarding pass, as protocol,

TSA agents then subject Mr. Siddiqui to routine, extensive and lengthy screening, an invasive

pat down, an extensive search of all of his personal belongings and chemical residue testing

of his person and his belongings – twice – at the TSA security checkpoint and again at the

gate, in public view and in front of his travel companions.

       936.999.      Whenever Mr. Siddiqui arrives in the United States from international

trips, two CBP officers check everyone’s passports as they deplane until they identify him.

       937.1000.     The two CBP officers then escort him from the gate to an interrogation

room where he is detained and interrogated by FBI agents or CBP officers. All of his personal

belongings are also searched.

       938.1001.     Additionally, whenever Mr. Siddiqui has electronics in his possession,

CBP officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

       939.1002.     Upon returning on a flight from Saudi Arabia, Mr. Siddiqui was

interrogated about whether he ever crossed the border from Saudi Arabia to Yemen,

whether he knew anyone who worked for Al Qaeda, and what his opinions are on foreign

matters.

       940.1003.     During many of the trips that Mr. Siddiqui traveled with his wife and

children, they were subjected to substantially similar treatment as him.

       941.1004.     On one occasion, Mr. Siddiqui’s two-months old daughter was

screened.

       942.1005.     In order to avoid being treated as “known or suspected terrorists”

when they travel, Mr. Siddiqui’s wife and children now travel separately from Mr. Siddiqui.


                                             171
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 172 of 281




       943.1006.      On more than one occasion, FBI agents attempted to interrogate Mr.

Siddiqui in his home. Shortly after Mr. Siddiqui refused to speak with FBI agents without an

attorney present, FBI agents interrogated a relative of Mr. Siddiqui. Upon information and

belief, Mr. Siddiqui’s relative was subjected to an FBI interrogation because of his relation to

Mr. Siddiqui and due to Mr. Siddiqui’s status on Defendants’ federal terrorterrorist watchlist.

       944.1007.      Further, shortly after Mr. Siddiqui was designated on the federal

watchlist, his personal bank accounts were suddenly closed without notice or explanation of

the reasons why they were closed.

       945.1008.      Upon information and belief, Defendants disseminated the stigmatizing

label of “known or suspected terrorist” attached to Mr. Siddiqui to his bank, and as a result,

his bank accounts were closed without notice.

       946.1009.      Relatives who share a last name with Mr. Siddiqui also had personal

bank accounts suddenly closed without notice or explanation of the reasons why they were

closed. Upon information and belief, this occurred because of their relation to Mr. Siddiqui

and his status on Defendants’ federal terrorterrorist watchlist.

       947.1010.      Mr. Siddiqui has filed multiple DHS TRIP inquiries. He has since

received multiple form letters as described in Paragraph 217 and has been assigned multiple

Redress Control Numbers in connection with those lettersredress control numbers.

       948.1011.      As a resultBecause of his watchlist designation and his treatment while

traveling, Mr. Siddiqui is unable to apply for jobs which require him to travel.

       949.1012.      Further, Mr. Siddiqui desires to return to Saudi Arabia for Hajj, a

religious obligation for Muslims, but has not done so out of fear of the treatment he would

receive by Defendants.


                                             172
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 173 of 281




       950.1013.         Mr. Siddiqui has considered permanently moving his family outside the

United States to avoid the treatment he receives as a resultbecause of his watchlist

designation.

       951.1014.         Upon information and belief, Mr. Siddiqui remains on the federal

terrorterrorist watchlist.

                                        Plaintiff Zijad Bosnic                                      Formatted: Keep with next
                                      (A Watchlisted Plaintiff)

       952.1015.         Plaintiff Zijad Bosnic (hereinafter “Mr. Bosnic”) was originally born in

Bosnia in 1972 and moved to the United States in 1997. Thereafter, Mr. Bosnic became a

United States citizen.

       953.1016.         Mr. Bosnic is a commercial truck driver. He has been married for

twenty-two years. Together, Mr. Bosnic and his wife have three children, all of whom are

United States citizens.

       954.1017.         Mr. Bosnic lives in Jacksonville, Florida, where he owns his home.

       955.1018.         Because Mr. Bosnic’s wife and children live in Bosnia, he regularly

travels from the United States to Bosnia to spend time with his family.

       956.1019.         On March 1, 2017, Mr. Bosnic appeared at Sarajevo International

Airport in order to board his flight back home to the United States.

       957.1020.         Mr. Bosnic had previously purchased a plane ticket for a Turkish

Airlines flight to Istanbul, Turkey, and he was scheduled to fly to John F. Kennedy

International Airport, and on to Jacksonville International Airport in Florida.

       958.1021.         Mr. Bosnic presented himself at the Turkish Airlines counter with

plenty of time prior to his flight.


                                                173
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 174 of 281




          959.1022.   When Mr. Bosnic first arrived at the ticketing counter, the airline

representative printed his boarding passes and presented them to him.

          960.1023.   However, as the Turkish Airlines representative started to tag his

luggage, the representative informed Mr. Bosnic that he was no longer allowed to board his

flight.

          961.1024.   The Turkish Airlines representative requested that Mr. Bosnic return

his boarding passes, and his luggage was returned to him.

          962.1025.   In response to an inquiry as to why he was being denied boarding, the

Turkish Airlines representative directed Mr. Bosnic to the U.S. Embassy to obtain

information as to why he is no longer permitted to board a flight back to his home in the

United States.

          963.1026.   The following morning, Mr. Bosnic went to the United States Embassy

in Sarajevo, Bosnia to inquire regarding why he was denied boarding and being prevented

from returning to his home in the United States.

          964.1027.   The United States Embassy informed Mr. Bosnic that they had no

information regarding why he was being denied boarding. However, he was advised to fill

out a DHS TRIP complaint.

          965.1028.   Mr. Bosnic immediately filed a DHS TRIP complaint.

          966.1029.   Approximately one week after being denied boarding at the airport,

two men who identified themselves as being employed by the United States Embassy

contacted Mr. Bosnic’s brother and requested that Mr. Bosnic return to the Embassy. They

advised Mr. Bosnic’s brother that they would help Mr. Bosnic return to his home in the United

States.


                                            174
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 175 of 281




          967.1030.   The two men did not leave contact information.

          968.1031.   Mr. Bosnic’s brother contacted Mr. Bosnic, relayed what transpired,

and told him to return to the United States Embassy.

          969.1032.   After arriving at the United States Embassy, Mr. Bosnic was

interviewed by two FBI agents, including FBI Agent Lopez.

          970.1033.   During the interview, the FBI agents asked Mr. Bosnic a series of

routine questions, including his name, where he worked, and what he did for a living.

          971.1034.   The FBI agents interrogated Mr. Bosnic regarding whether he was a

terrorist, whether he believed that ISIS is the reason that he can’t fly, and whether he

believed in terrorism.

          972.1035.   The FBI agents advised Mr. Bosnic they were not certain why he could

not fly, but that they would help him fly again.

          973.1036.   Nearly two months later, on April 21, 2017, Mr. Bosnic received an

email from DHS TRIP stating they had received his travel inquiry form and identity

documentation, and from that point on he could continue to check the status of his inquiry

online.

          974.1037.   Approximately three months after being denied boarding and from

returning to his home in the United States, Mr. Bosnic again arrived at Sarajevo International

Airport in an attemptto try to board another flight home. He reserved a ticket that connected

in Turkey on his way back to his home in Jacksonville, Florida.

          975.1038.   This time, Turkish Airlines personnel were unable to check Mr. Bosnic

in for his flight and did not issue him a boarding pass.




                                              175
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 176 of 281




       976.1039.     On or before May 22, 2017, Mr. Bosnic checked the status of his DHS

TRIP complaint on the DHS TRIP website provided. The website indicated that Mr. Bosnic

was missing documents that he had already provided when he initially filed his complaint on

March 3, 2017.

       977.1040.     Mr. Bosnic immediately emailed DHS TRIP and requested that they not

delay his complaint process any further and attached the alleged missing documents.

       978.1041.     On May 24, 2017, DHS TRIP emailed Mr. Bosnic informing him they had

made a final determination of his case. In the same email, a letter dated May 18, 2017 was

attached, which confirmed that Mr. Bosnic was on Defendants’ No Fly List.

       979.1042.     On or about June 19, 2017, TSA issued a letter that states in part “(TSA)

has determined that you may pose a security threat warranting the immediate revocation of

your Transportation Worker Identification Credential (TWIC) and unescorted access to

secure areas. The letter further stated that “your TWIC has been suspended until this matter

is resolved.”

       980.1043.     The TSA determination to suspend Mr. Bosnic’s TWIC® card, as stated

in the letter, was made “for reasons set forth in 49 C.F.R. § 1572.107”

       981.1044.     Section (a) of 49 C.F.R. § 1572.107 provides that “TSA may determine

that an applicant poses a security threat based on a search of … (2) Terrorist watchlists and

related databases” and “(3) Any other databases relevant to determining whether an

applicant poses, or is suspected of posing, a security threat, or that confirm an applicant’s

identity.”

       982.1045.     Upon information and belief, Mr. Bosnic’s TWIC® card was suspended

due to his placement on the federal terror watch listterrorist watchlist.


                                             176
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 177 of 281




       983.1046.     Mr. Bosnic is a truck driver by trade and much of his livelihood derives

from driving to and from ports and other areas which require a TWIC® card.

       984.1047.     On June 14, 2017, Mr. Bosnic received a one-time waiver that allowed

him to finally return home in the United States.

       985.1048.     Approximately one month later Mr. Bosnic arrived at Jacksonville

International Airport for another international trip to Bosnia.

       986.1049.     He was once again unable to check-in online or at the airport kiosk.

Rather, he was directed to an airline representative for further assistance.

       987.1050.     After presenting himself to the airline representative at the ticket

counter, Mr. Bosnic had to wait approximately 40 minutes before the airline representative

obtained clearance for Mr. Bosnic to board his flight.

       988.1051.     His boarding pass was stamped with the “SSSS” designation, indicating

that he was still designated as a “known or suspected terrorist.”

       989.1052.     Once Mr. Bosnic arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       990.1053.     The boarding pass scanner indicated a red light when Mr. Bosnic’s

boarding pass was scanned.

       991.1054.     Mr. Bosnic was escorted to a different line than the other travelers

passing through the TSA security checkpoint and subjected to enhanced screening.

       992.1055.     Mr. Bosnic was subjected to an extensive and lengthy screening, an

invasive pat down including a search of his groin area, an extensive search of all his personal




                                             177
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 178 of 281




belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

          993.1056.    When Mr. Bosnic arrived at the gate, he was subjected to an additional

search, which included a pat down and search of all his personal belongings, despite the fact

thateven though he had just cleared security with no issues at the TSA security checkpoint.

          994.1057.    In August 2017, Mr. Bosnic arrived at Sarajevo International Airport for

his return trip to the United States.

          995.1058.    After presenting himself to the airline representative at the ticket

counter, Mr. Bosnic had to wait approximately 40 minutes before the airline representative

obtained clearance for Mr. Bosnic to board his flight.

          996.1059.    The airline representative was only able to print his boarding pass to

Vienna, Austria. However, she was unable to print Mr. Bosnic’s boarding pass to the United

States.

          997.1060.    When Mr. Bosnic arrived in Austria, after presenting himself to the

airline representative at the ticket counter, Mr. Bosnic had to wait approximately 40 minutes

before the airline representative obtained clearance for Mr. Bosnic to board his flight.

          998.1061.    His boarding pass was stamped with the “SSSS” designation, indicating

that he was designated as a “known or suspected terrorist.”

          999.1062.    He was subjected to extra screening which included an invasive and

lengthy search of his person and belongings.

          1000.1063.   When Mr. Bosnic arrived at passport control at Dulles International

Airport, he was questioned about whether he boarded any flights to the Middle East, whether

he went to Syria, Pakistan, Afghanistan, or other Muslim-majority countries, whether he was


                                              178
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 179 of 281




ever a member of the military, whether he is a member of any movements, and whether he

was ever arrested in Bosnia or the United States.

       1001.1064.     Mr. Bosnic was subjected to an additional searched of his person and

belongings at the gate before he was allowed to board his flight to Jacksonville.

       1002.1065.     His boarding pass was stamped with the “SSSS” designation, indicating

that he was designated as a “known or suspected terrorist.”

       1003.1066.     Mr. Bosnic previously filed his claims in the Middle District of Florida;

he voluntarily dismissed that action without prejudice on August 17, 2018 in order to

consolidate his claims with this case.

       1004.1067.     Upon information and belief, Mr. Bosnic remains on the federal

terrorterrorist watchlist.

                              Plaintiff Abdu Wakil Cyeef Din
                                 (A watchlisted Plaintiff)

       1068. In 2013, Abdu Cyeef Din arrived at Miami International Airport from a trip to

Morocco and Egypt.

       1069. He went to an Automated Passport Control kiosk at customs. His declaration

form had an “X” printed on it with instructions to go to a customs agent.

       1070. Upon presenting his declaration form to a customs agent, CBP officers escorted

him into a back room where they searched Mr. Cyeef Din’s belongings.

       1071. CBP officers interrogated Mr. Cyeef Din about whether he contacted anyone in

Egypt, including non-governmental organizations (NGOs), whether he had drugs and

whether he contacted drug dealers, why he had a set of books written in Arabic, and whether

he was learning Arabic.



                                             179
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 180 of 281




        1072. Ever since 2013, Mr. Cyeef Din is subjected to enhanced screening and lengthy

delays every time he travels by air.

        1073. His boarding passes for his flights are routinely stamped with the “SSSS”

designation, indicating that he has been designated by Defendants as a “known or suspected

terrorist.”

        1074. He is routinely unable to check in for his flights online or print his boarding

pass.

        1075. Rather, Mr. Cyeef Din is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow him to board his flight, a process that

can take a very long time.

        1076. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

        1077. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Cyeef Din to routine, extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings – twice – at the TSA

security checkpoint and again at the gate, in public view and in front of his travel

companions.

        1078. Moreover, oftentimes the people that Mr. Cyeef Din travels with are also

treated as “known or suspected terrorists” just because they are traveling with him.

        1079. On or about September 2017, Mr. Cyeef Din arrived at Albuquerque

International Airport to board his flight to Oregon with his wife.


                                             180
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 181 of 281




       1080. He and his wife were unable to check-in online or at the airport kiosk. Rather,

they were directed to an airline representative for further assistance.

       1081. After presenting themselves to the airline representative at the ticket counter,

Mr. Cyeef Din and his wife had to wait approximately forty-five minutes before the airline

representative obtained clearance for them to board their flight.

       1082. Their boarding passes were stamped with the “SSSS” designation, indicating

that Mr. Cyeef Din and his wife were designated as a “known or suspected terrorists.”

       1083. Upon information and belief, Mr. Cyeef Din’s wife received a boarding pass

with the “SSSS” designation because she was traveling with Mr. Cyeef Din.

       1084. Once Mr. Cyeef Din and his wife arrived at the TSA security checkpoint, they

provided their boarding passes and identification documents to the TSA agent stationed at

the entrance to the TSA security checkpoint.

       1085. Mr. Cyeef Din was escorted to a different line than the other travelers passing

through the TSA security checkpoint and subjected to enhanced screening.

       1086. Mr. Cyeef Din was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       1087. TSA agents took Mr. Cyeef Din’s wife into a private room where they subjected

her to a search.

       1088. Once Mr. Cyeef Din finally arrived at the gate, two TSA agents and an unknown

individual in a suit were waiting for him to arrive.




                                             181
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 182 of 281




       1089. At the gate and before being allowed to board, in public view, Mr. Cyeef Din

and his wife were once again subjected to an invasive and lengthy pat down, all their

personal belongings were searched again, and their belongings were subjected to another

round of chemical residue testing even though they had just cleared security with no issues

at the TSA security checkpoint.

       1090. Mr. Cyeef Din felt ashamed and humiliated, especially because he was treated

as a “known or suspected terrorist” in public view.

       1091. Upon information and belief, Mr. Cyeef Din and travel companions are

subjected to the above described treatment because of their relation and association with

him, because they travel with him, and because of his status on Defendants’ federal terrorist

watchlist.

       1092. Mr. Cyeef Din’s wife felt ashamed and humiliated, especially because she was

treated as a “known or suspected terrorist” in public view.

       1093. Upon information and belief, Mr. Cyeef Din remains on the federal terrorist

watchlist.

                                  Plaintiff Mirrakhmat Muminov
                                     (A Watchlisted Plaintiff)

       1094. Mirrakhmat Muminov is a refugee and green card holder from Uzbekistan.

       1095. Mr. Muminov has been subject to extensive searches and lengthy delays while

traveling since January 2013.

       1096. On January 10, 2013, Mr. Muminov was returning from a brief business trip to

Canada.




                                            182
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 183 of 281




       1097. Upon presenting the primary CBP officer with his passport, several armed CBP

officers immediately surrounded Mr. Muminov on all sides.

       1098. The CBP officers pointed their guns at Mr. Muminov and ordered Mr. Muminov

to exit his car slowly and show his hands.

       1099. CBP officers then handcuffed Mr. Muminov and escorted him to a holding cell

where they detained him for several hours.

       1100. CBP officers placed Mr. Muminov, who was wearing only a long-sleeve shirt

and no jacket, in a cold cell, with only a metal seat, metal doors, and a small window used by

CBP officers to monitor Mr. Muminov.

       1101. After approximately two and a half hours, a CBP officer escorted Mr. Muminov

into a separate room where he was interrogated about his background, his home-country,

when he first came to the United States and how he arrived, and his religious views, including

which mosque he attends.

       1102. Mr. Muminov was subjected to an invasive pat down and searched and

interrogated for over four hours. His belongings were also seized and searched.

       1103. Mr. Muminov was also subjected to finger printing, forced to provide a piece

of his hair, had the inside of his mouth swabbed, and forced to undergo an iris scan.

       1104. The CBP officers confiscated his cell phone and laptop, and upon information

and belief, downloaded the information and data from his cell phone and laptop without his

consent.

       1105. Mr. Muminov felt ashamed and humiliated because he was being treated by

the government as a criminal and a “known or suspected terrorist.”




                                             183
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 184 of 281




       1106. Ever since this encounter, Mr. Muminov stopped traveling to Canada and as a

result, has lost business opportunities in Canada.

       1107. In July 2014, Mr. Muminov arrived at O’Hare International Airport for a flight

to Ohio.

       1108. He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

       1109. After presenting himself to the airline representative at the ticket counter, Mr.

Muminov had to wait until the airline representative obtained clearance for Mr. Muminov to

board his flight.

       1110. The boarding pass given to Mr. Muminov was stamped with the “SSSS”

designation, indicating that he was designated as a “known or suspected terrorist.”

       1111. Once Mr. Muminov arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1112. The TSA agent then used a microphone to announce a special security code

signaling three or four TSA agents to escort Mr. Muminov to a different line than the other

travelers passing through the TSA security checkpoint and subject him to enhanced

screening.

       1113. Mr. Muminov was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.




                                             184
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 185 of 281




       1114. When Mr. Muminov boarded his flight, an airline representative directed him

to a seat in the first row.

       1115. Mr. Muminov noticed an individual seated near him who was watching him

during the entire flight.

       1116. Upon information and belief, this individual watching Mr. Muminov was an

undercover federal agent.

       1117. Upon boarding his connecting flight from Charlotte, South Carolina to Akron,

Ohio, airline representatives directed Mr. Muminov to sit in the first few rows.

       1118. Again, Mr. Muminov noticed an individual seated near him who was watching

him during the entire flight.

       1119. Upon information and belief, this individual watching Mr. Muminov was also a

federal agent.

       1120. Mr. Muminov felt ashamed and humiliated, especially because he was treated

as a “known or suspected terrorist” in public view.

       1121. Because of his experience, Mr. Muminov cancelled his return flight and drove

back to Chicago, a drive that took approximately eight or nine hours.

       1122. Moreover, as a result his experience, Mr. Muminov stopped traveling by air.

       1123. Because of his designation on the federal terrorist watchlist, Mr. Muminov has

been subjected to citizenship application delays and denials.

       1124. On December 12, 2015, Mr. Muminov’s mother had her visitor visa revoked

without explanation.

       1125. Upon information and belief, Mr. Muminov’s mother’s visa was revoked

because of Mr. Muminov’s status on Defendants’ federal terrorist watchlist.


                                            185
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 186 of 281




        1126. Because of his designation on the federal terrorist watchlist, Mr. Muminov has

been subjected to FBI interrogations.

        1127. Mr. Muminov filed a DHS TRIP Inquiry around approximately 2014. He has

received a letter as described in Paragraph 217 and was assigned a redress control number.

        1128. Upon information and belief, Mr. Muminov remains on the federal terrorist

watchlist.

                                 Plaintiff Anisa Mujanovic
                                 (A Watchlisted Plaintiff)

        1129. Ever since 2015, every time Anisa Mujanovic travels by air, she is subjected to

enhanced screening and lengthy delays.

        1130. Her boarding passes for her flights are routinely stamped with the “SSSS”

designation, indicating that she has been designated by Defendants as a “known or suspected

terrorist.”

        1131. She is routinely unable to check in for her flights online or print her boarding

pass.

        1132. Rather Ms. Mujanovic is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow her to board her flight, a process that

can take a very long time.

        1133. Once the airline representative receives clearance from Defendants allowing

her to board her flight, the airline representative prints her boarding pass with the “SSSS”

designation on it.

        1134. Upon seeing the “SSSS” designation on her boarding pass, as protocol, TSA

agents then subject Ms. Mujanovic to routine, extensive and lengthy screening, an invasive


                                             186
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 187 of 281




pat down including a search of his groin area, an extensive search of all of her personal

belongings and chemical residue testing of her person and her belongings – twice – at the

TSA security checkpoint and again at the gate, in public view and in front of her travel

companions.

       1135. Moreover, oftentimes the people that Mr. Mujanovic travels with are also

treated as “known or suspected terrorists” just because they are traveling with her.

       1136. On June 16, 2017, Ms. Mujanovic and her husband arrived at Minneapolis-Saint

Paul International Airport for an international flight to Bosnia.

       1137. Ms. Mujanovic and her husband were unable to check-in online or at the

airport kiosk. Rather, they were directed to an airline representative for further assistance.

       1138. After presenting themselves to the airline representative at the ticket counter,

Ms. Mujanovic and her husband had to wait before the airline representative obtained

clearance from Defendants for Ms. Mujanovic and her husband to board their flights.

       1139. The boarding passes of both Ms. Mujanovic and her husband were stamped

with the “SSSS” designation, indicating that they were both designated as “known or

suspected terrorists.”

       1140. Once Ms. Mujanovic and her husband arrived at the TSA security checkpoint,

they provided their boarding passes and identification documents to the officer stationed at

the entrance to the TSA security checkpoint.

       1141. The boarding pass scanner indicated a red light when Ms. Mujanovic’s

boarding pass was scanned.




                                             187
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 188 of 281




       1142. Ms. Mujanovic and her husband were both escorted to a different line than the

other travelers passing through the TSA security checkpoint and subjected to enhanced

screening.

       1143. Ms. Mujanovic was subjected to an extensive and lengthy screening, an

invasive pat down including a search of her groin area, an extensive search of all her personal

belongings and chemical residue testing of her person and her belongings in public view.

       1144. Ms. Mujanovic’s husband received substantially similar treatment.

       1145. On August 19, 2017, Ms. Mujanovic and her husband re-entered the United

States at Minneapolis-Saint Paul International Airport.

       1146. Upon presenting their passports to CBP officers at the customs window, Ms.

Mujanovic and her husband were escorted to secondary inspection where they were

detained and interrogated. All their personal belongings were also searched.

       1147. Ms. Mujanovic was interrogated about the reasoning behind ISIS’ killing,

whether she knows any individuals involved with ISIS, whether she’s connected to ISIS,

differences between Sunni and Shia Muslims, and how much money she gives to charities

per year, including the reasons why.

       1148. When Ms. Mujanovic questioned the reasons for her detainment, a CBP officer

responded that she should remove her hijab when she travels to avoid travel delays and

enhanced screening.

       1149. Ms. Mujanovic’s husband was interrogated about whether he sends money to

Bosnia, and whether his wife supports terrorism and terrorist groups including ISIS.




                                             188
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 189 of 281




       1150. Ms. Mujanovic’s husband was asked to provide his passwords for his social

media accounts and interrogated about which social media platforms he utilizes, including

Instagram, Viber, and WhatsApp.

       1151. Both Ms. Mujanovic and her husband’s cell phones were confiscated, and upon

information and belief, Defendants downloaded the data from them without their consent.

       1152. Following this experience, Ms. Mujanovic was diagnosed with post-traumatic

stress disorder (PTSD), experienced stress, depression, and insomnia, and was given

medication in connection with her symptoms.

       1153. On another occasion, CBP officers interrogated Ms. Mujanovic’s children upon

re-entering the United States at Minneapolis-Saint Paul International Airport, one of whom

was a minor.

       1154. CBP officers interrogated Ms. Mujanovic’s son about whether his mom spends

a lot of time on the computer, whether his mom visits Islamist or Jihadist websites, which

religious scholars she listens to, and who she speaks with.

       1155. CBP officers interrogated Ms. Mujanovic’s daughter. However, she was

subjected to far less questioning and given favorable treatment when she informed CBP

officers that she intended to attend college at a private catholic university.

       1156. After that experience, Ms. Mujanovic’s children told their mother they never

wanted to travel with her ever again.

       1157. Ms. Mujanovic felt ashamed and humiliated in front of her family because they

were treated as “known or suspected terrorists” because of their relationship or associated

with her, and because they were traveling with her.




                                              189
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 190 of 281




       1158. Ms. Mujanovic has been subjected to FBI interrogations because of her

watchlist status.

       1159. In August or September 2018, FBI agent Olen Freeman attempted to meet with

Ms. Mujanovic to conduct an FBI interrogation.

       1160. Upon information and belief, the FBI attempted to interrogate Ms. Mujanovic

because of her watchlist designation.

       1161. In 2015, Western Union notified Ms. Mujanovic that her account had been

closed for security reasons. No further explanation was provided.

       1162. Upon information and belief, Ms. Mujanovic’s account was closed because of

her watchlist designation.

       1163. Because of the above described treatment, Ms. Mujanovic has been routinely

humiliated in public and in front of her family and stigmatized as a criminal because of her

status on Defendants’ federal terrorist watchlist.

       1164. Moreover, because of the above described treatment, Ms. Mujanovic has been

discouraged from visiting her mother and sister in Bosnia, and no longer travels by air.

       1165. Upon information and belief, Mr. Mujanovic remains on the federal terrorist

watchlist.


                                Plaintiff Mohamad Hachem
                                 (A Watchlisted Plaintiff)

       1166. Mohamad Hachem is a successful businessman residing in Florida.

       1167. Since approximately 2007, every time Mr. Hachem travels by air, his boarding

pass is routinely stamped with the “SSSS” designation, indicating that he has been designated

by Defendants as a “known or suspected terrorist.”


                                             190
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 191 of 281




        1168. He is routinely unable to check in for his flights online or print his boarding

pass.

        1169. Rather Mr. Hachem is directed each time to an airline representative, who then

contacts Defendants to obtain clearance to allow him to board his flight, a process that can

take a very long time.

        1170. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

        1171. When Mr. Hachem scans his boarding pass at the entrance to the TSA security

checkpoint, the scanner indicates a red light.

        1172. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Hachem to routine, extensive and lengthy screening, an invasive pat

down, an extensive search of all his personal belongings and chemical residue testing of his

person and his belongings – twice – at the TSA security checkpoint and again at the gate, in

public view and in front of his travel companions.

        1173. Whenever Mr. Hachem arrives in the United States from international trips,

two CBP officers check everyone’s passports as they deplane until they identify him.

        1174. The two CBP officers then escort him from the gate to an interrogation room

where he is detained and interrogated by FBI agents or CBP officers. All his personal

belongings are also searched.

        1175. Additionally, whenever Mr. Hachem has electronics in his possession, CBP

officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.


                                             191
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 192 of 281




       1176. On February 10, 2019, Mr. Hachem arrived at Miami International Airport for

an international trip to Panama.

       1177. Mr. Hachem was traveling with his cousin, a Lebanese colonel responsible for

the security of American and European embassies in Lebanon, and with his attorney, for

business purposes. Mr. Hachem’s companions witnessed the entire treatment that he was

subjected to that day, described below.

       1178. Mr. Hachem and his companions were prevented from checking in online and

at the airport kiosk. Instead, they were directed to an airline representative for further

assistance.

       1179. After presenting himself to the airline representative at the ticket counter, the

airline representative informed Mr. Hachem that she could not issue boarding passes for him

or his companions because the airline received an e-mail from Erich Miller, NTVC Watch

Manager informing them that Mr. Hachem was inhibited from flying without the airline first

calling the NTVC.

       1180. After a phone call to NTVC clearing Mr. Hachem for boarding, and after making

sure TSA searched all of Mr. Hachem’s cousin’s checked-in luggage, the airline representative

was able to obtain clearance from Defendants so that Mr. Hachem and his companions could

board their flights.

       1181. This entire ordeal took approximately 90 minutes.

       1182. Mr. Hachem and his companions’ boarding passes were stamped with the

“SSSS” designation indicating that they each have been labeled as “known or suspected

terrorists.”




                                            192
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 193 of 281




       1183. Once Mr. Hachem and his companions arrived at the TSA security checkpoint,

they provided their boarding passes and identification documents to the TSA agent stationed

at the entrance of the TSA security checkpoint.

       1184. Mr. Hachem and his companions were escorted to a different line than the

other travelers passing through the TSA security checkpoint and subjected to enhanced

screening.

       1185. Mr. Hachem was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, in addition to a TSA male agent placing his

fingers inside and around Mr. Hachem’s waist, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view and

in front of his family. Mr. Hachem’s companions received the same treatment.

       1186. The search lasted approximately 60-90 minutes.

       1187. When Mr. Hachem and his travel companions arrived at Tocumen

International Airport in Panama, they were escorted to the diplomatic welcome room in the

airport to receive expedited processing. However, after Panamanian authorities processed

Mr. Hachem’s passport, Mr. Hachem and his travel companions were removed from the

diplomatic welcome room.

       1188. Instead, several Panamanian officers escorted Mr. Hachem into another room

where he was detained and interrogated.

       1189. Mr. Hachem was interrogated in a substantially similar manner he experiences

when interrogated by CBP in the United States.




                                            193
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 194 of 281




       1190. Upon information and belief, Defendants disseminated the federal terrorist

watchlist to the Panamanian government so that it subjects Mr. Hachem to substantially

similar treatment he receives when he travels in the United States.

       1191. Further, Mr. Hachem was interrogated about his religious affiliation.

       1192. Mr. Hachem was traveling to Panama for a meeting with a successful and

influential Panamanian business leader to explore business opportunities. When the

business leader learned that Mr. Hachem and his companions would be late leaving the

airport because of enhanced questioning due to Mr. Hachem’s placement on Defendants’

federal terrorist watchlist, the business leader canceled all scheduled business meetings and

refused to meet with Mr. Hachem and his companions. Thus, as a direct result of Mr.

Hachem’s watchlist designation, Mr. Hachem lost significant business opportunities.

       1193. Mr. Hachem was ashamed and humiliated that a prominent business leader

knew Mr. Hachem was treated as a criminal and a “known or suspected terrorist.” Moreover,

Mr. Hachem felt ashamed and humiliated that his travel companions were made to suffer just

because they were traveling with him.

       1194. Upon their return to the United States, one of Mr. Hachem’s travel companions,

the respected colonel, chose to fly back to Lebanon as opposed to the United States, because

he felt unsafe returning to the United States given the treatment he was subjected to and that

he witnessed Mr. Hachem being subjected to. Thus, only Mr. Hachem and his attorney

returned to the United States.

       1195. Upon returning to Tocumen International Airport in Panama for their return

flight to the United States, Mr. Hachem and his travel companion experienced substantially

similar treatment they received at Miami International Airport when they departed.


                                             194
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 195 of 281




       1196. When Mr. Hachem and his attorney arrived at Miami International Airport,

they were escorted to secondary inspection.

       1197. Mr. Hachem’s attorney was detained in a separate area, despite Mr. Hachem

informing CBP officers that he wished to have his attorney present with him during

interrogations.

       1198. CBP officers informed Mr. Hachem’s attorney that Mr. Hachem would only be

searched, and not interrogated.

       1199. Despite these assurances, CBP officers attempted to interrogated Mr. Hachem.

Mr. Hachem refused to answer questions without the presence of his attorney.

       1200. CBP officers conducted a search of Mr. Hachem’s personal belongings.

       1201. After some time, Mr. Hachem’s attorney asked CBP officer Mahadeo about the

status of his client. Officer Mahadeo informed Mr. Hachem’s attorney that he would be

reunited with his client once they finished interrogating Mr. Hachem, despite prior

assurances that CBP officers would not interrogate Mr. Hachem.

       1202. Mr. Hachem is routinely humiliated in public and in front of his business and

travel companions, discouraged from flying, and stigmatized as a criminal because of his

status on Defendants’ federal terrorist watchlist.

       1203. Mr. Hachem applied to Global Entry however, his application was denied

without providing any explanation.

       1204. Upon information and belief, his application to participate in the Global Entry

program was denied because of his status on the federal terrorist watchlist.

       1205. Further, shortly after Mr. Hachem was designated on the federal watchlist,

Bank of America, Premier American Bank, and a third bank suddenly closed two or three of


                                             195
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 196 of 281




his business bank accounts without notice or explanation of the reasons why they were

closed.

          1206. Upon information and belief, Defendants disseminated the stigmatizing label

of “known or suspected terrorist” attached to Mr. Hachem to his banks; and as a result, his

bank accounts were closed without notice.

          1207. Mr. Hachem has filed a DHS TRIP inquiry. He has received a letter as described

in Paragraph 217 and was assigned a redress control number.

          1208. Upon information and belief, Mr. Hachem remains on the federal terrorist

watchlist.

                                     Plaintiff Ashraf Riad
                                   (A Watchlisted Plaintiff)

          1209. Asraf Riad is an engineer residing in Florida and frequently travels for

business.

          1210. For the past ten years, every time Mr. Riad travels by air, his boarding passes

for his flights are routinely stamped with the “SSSS” designation, indicating that he has been

designated by Defendants as a “known or suspected terrorist.”

          1211. He is routinely unable to check in for his flights online or print his boarding

pass.

          1212. Rather Mr. Riad is directed each time to an airline representative, who then

contacts Defendants to obtain clearance to allow him to board his flight, a process that can

take a very long time.




                                              196
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 197 of 281




        1213. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

        1214. TSA agents then escort Mr. Riad to the TSA security checkpoint and upon

seeing the “SSSS” designation on his boarding pass, as protocol, TSA agents then subject Mr.

Riad to routine, extensive and lengthy screening, an invasive pat down including a search of

his groin area, an extensive search of all of his personal belongings and chemical residue

testing of his person and his belongings – twice – at the TSA security checkpoint and again

at the gate, in public view and in front of his travel companions.

        1215. He often must wait again at the gate for an airline representative to obtain

clearance from Defendants a second time to board his flight, even though Defendants already

provided clearance for him to board his flight prior to his boarding pass being printed in the

first place.

        1216. Moreover, oftentimes the people that Mr. Riad travels with are also treated as

“known or suspected terrorists” just because they are traveling with him.

        1217. Whenever Mr. Riad arrives in the United States from international trips, CBP

officers check everyone’s passports as they deplane until they find him.

        1218. The CBP officers then escort him from the gate to an interrogation room where

he is detained and interrogated. All his personal belongings are also searched.

        1219. Additionally, whenever Mr. Riad has electronics in his possession, CBP officers

confiscate his electronics and upon information and belief, download the information from

them, including his iPad and his cell phone, without his consent.




                                             197
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 198 of 281




       1220. In December 2018, Mr. Riad and his wife arrived at Orlando International

Airport for an international flight to Istanbul, Turkey.

       1221. Mr. Riad and his wife were unable to check-in online or at the airport kiosk.

Rather, he was directed to an airline representative for further assistance.

       1222. After presenting himself to the airline representative at the ticket counter, Mr.

Riad had to wait a significant amount of time until the airline representative obtained

clearance for Mr. Riad and his wife to board their flight.

       1223. Mr. Riad and his wife’s boarding passes were stamped with the “SSSS”

designation, indicating that they were designated as a “known or suspected terrorists.”

       1224. Upon information and belief, Mr. Riad’s wife’s boarding pass was stamped

with the “SSSS” designation because of Mr. Riad’s status on Defendants’ federal terrorism

watchlist.

       1225. Once Mr. Riad and his wife arrived at the TSA security checkpoint, they

provided their boarding passes and identification documents to the TSA agent stationed at

the entrance to the TSA security checkpoint.

       1226. The boarding pass scanner indicated a red light when both Mr. Riad and his

wife’s boarding passes were scanned.

       1227. Mr. Riad and his wife were escorted to a different line than the other travelers

passing through the TSA security checkpoint and subjected to enhanced screening.

       1228. Mr. Riad was subjected to an extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all his personal belongings

and chemical residue testing of his person and his belongings in public view at the TSA

checkpoint. Mr. Riad’s wife received the same treatment.


                                              198
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 199 of 281




       1229. Once Mr. Riad and his wife finally arrived at the gate, several TSA agents were

waiting for them to arrive.

       1230. At the gate and before being allowed to board, in public view, Mr. Riad was

once again subjected to an invasive and lengthy pat down, all his personal belongings were

searched again, and he and his belongings were subjected to another round of chemical

residue testing even though he had just cleared security with no issues at the TSA security

checkpoint. Mr. Riad’s wife received the same treatment.

       1231. Mr. Riad felt humiliated and ashamed that he was being treated by the

government as a criminal and a “known or suspected terrorist.”

       1232. Moreover, Mr. Riad felt ashamed and humiliated that his wife was also treated

as a criminal and “known or suspected terrorist” just because she was traveling with him.

       1233. In December 2018, Mr. Riad and his wife returned to the United States from

his international trip to Turkey.

       1234. Upon arrival at Orlando International Airport, two CBP officers escorted Mr.

Riad and his wife from the gate to secondary inspection where Mr. Riad was interrogated.

       1235. CBP officers searched Mr. Riad’s personal belongings and his person. Mr.

Riad’s wife received the same treatment.

       1236. CBP officers confiscated Mr. Riad’s cell phone; and upon information and

belief, downloaded the information from his phone without his consent.

       1237. On another occasion, Mr. Riad returned from an international trip to Saudi

Arabia after completing Hajj, an Islamic pilgrimage. Upon presenting his declaration form to

CBP at Orlando International Airport he was taken into a back room and interrogated.




                                            199
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 200 of 281




       1238. Mr. Riad was interrogated about which mosque he attends, the contact

information for his mosque, whether he met anyone on his Hajj trip, and whether during his

Hajj trip, he spoke with anyone about religion.

       1239. Mr. Riad has also been subjected to enhanced screening and lengthy delays at

land-border crossings because of his watchlist designation.

       1240. On or about four years ago, Mr. Riad and his family were stopped at a United

States-Canada port of entry on his way into the United States and escorted to secondary

screening by CBP officers.

       1241. He was detained and interrogated for a long time while his car and personal

belongings were searched.

       1242. Mr. Riad and his family were finally allowed back into the United States after

approximately four or five hours.

       1243. Mr. Riad felt humiliated and ashamed that he and his family were detained and

treated as criminals because of their relationship to him.

       1244. Mr. Riad has since avoided traveling across land border crossings.

       1245. Mr. Riad has filed a DHS Trip Inquiry. He has received a letter as described in

Paragraph 217 and was assigned a redress control number.

       1246. Upon information and belief, Mr. Riad remains on the federal terrorist

watchlist.

                                 Plaintiff Mustafa Kamel
                                 (A Watchlisted Plaintiff)

       1247. Imam Mustafa Kamel is a local imam from Orange County, California.




                                             200
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 201 of 281




       1248. Imam Kamel has been subjected to extensive searches and lengthy delays

while traveling since 2008.

       1249. Every time Imam Kamel travels by air, his boarding pass is routinely stamped

with the “SSSS” designation, indicating that he has been designated by Defendants as a

“known or suspected terrorist.”

       1250. He is routinely unable to check in online or print his boarding pass.

       1251. Rather, Imam Kamel is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow him to board his flight, a process that

can take a very long time.

       1252. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

       1253. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Imam Kamel to routine, extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings – twice – at the TSA

security checkpoint and again at the gate, in public view and in front of his travel

companions.

       1254. He is also often searched at the gate and subject to chemical residue testing in

public view.

       1255. In September 2017, Imam Kamel arrived at Los Angeles International Airport

for an international flight to Saudi Arabia and Turkey.




                                            201
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 202 of 281




       1256. He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

       1257. After presenting himself to the airline representative at the ticket counter,

Imam Kamel had to wait until the airline representative obtained clearance for Imam Kamel

to board his flight.

       1258. The boarding pass given to Imam Kamel was stamped with the “SSSS”

designation, indicating that he was designated as a “known or suspected terrorist.”

       1259. Once Imam Kamel arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1260. Imam Kamel was escorted to a different line than the other travelers passing

through the TSA security checkpoint and subjected to enhanced screening.

       1261. Imam Kamel was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       1262. At the gate and before being allowed to board, in public view, Imam Kamel was

once again subjected to an invasive and lengthy pat down, all his personal belongings were

searched again, and he and his belongings were subjected to another round of chemical

residue testing even though he had just cleared security with no issues at the TSA security

checkpoint.

       1263. Imam Kamel felt ashamed and humiliated, especially because he was treated

as a “known or suspected terrorist” in public view.


                                             202
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 203 of 281




       1264. In Medina, Saudi Arabia, Imam Kamel arrived at Prince Mohammad bin

Abdulaziz International Airport for an international flight to Istanbul, Turkey. This time, he

was traveling with 15 other imams.

       1265. Imam Kamel’s travel companions witnessed the events that occurred that day

outlined below.

       1266. After presenting himself to the airline representative at the ticket counter,

Imam Kamel had to wait until the airline representative obtained clearance for Imam Kamel

to board his flight.

       1267. The airline representative was unable to immediately obtain clearance, and

the rest of Imam Kamel’s travel companions boarded their flight, leaving Imam Kamel

behind.

       1268. Imam Kamel felt ashamed and humiliated, especially because he was treated

as a “known or suspected terrorist” in front of his travel companions.

       1269. During this entire process, the airline representative informed Imam. Kamel,

“America doesn’t want you.”

       1270. Finally, after waiting from noon until three or four a.m., Imam Kamel was

cleared by Defendants to board his flight to Istanbul, Turkey.

       1271. Upon his arrival at Istanbul Ataturk Airport, while on the phone obtaining

clearance for Imam Kamel to board his flight, airline representatives questioned Imam

Kamel at the ticket counter about whether he had weapons, where he traveled, and who he

spoke with.




                                             203
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 204 of 281




       1272. When Imam Kamel arrived at Los Angeles International Airport, he went to an

Automated Passport Control kiosk at customs. His declaration form had an “X” printed on it

with instructions to go to a Customs officer.

       1273. Upon presenting his declaration form to a Customs officer, Imam Kamel was

escorted to secondary inspection.

       1274. FBI Agent Adel Hassan interrogated him about whether he was a member of

the Muslim Brotherhood and whether he was receiving funding from anyone outside the

United States.

       1275. Additionally, Imam Kamel’s cell phone was confiscated and searched. Upon

information and belief, CBP officers downloaded the information from it without Imam

Kamel’s consent.

       1276. All of Imam Kamel’s personal belongings were also searched.

       1277. Because of his designation on the federal watchlist, Imam Kamel has been

subjected to additional FBI interrogations.

       1278. For example, in approximately 2015 or 2016, Imam Kamel returned to Los

Angeles, California after performing hajj.

       1279. Upon his arrival at LAX, three FBI agents took Imam Kamel into a private room

and interrogated about his opinions on Syria, Palestine, ISIS, the differences between Sunnis

and Shias, and the refugee crisis concerning Syria and European countries. The FBI agents

also interrogated Imam Kamel about whether he was married, whether he had children, his

home address, and which mosque he works in.

       1280. Imam Kamel has filed multiple DHS TRIP inquiries. He has received multiple

letters as described in Paragraph 217 and was assigned multiple redress control numbers.


                                                204
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 205 of 281




       1281. Upon information and belief, Imam Kamel remains on the federal terrorist

watchlist.

                                     Plaintiff Alaa Abunijem
                                     (A watchlisted Plaintiff)

       1282. Alaa Abunijem has been subject to extensive searches and lengthy delays

while traveling since September 11, 2001.

       1283. Every time Mr. Abunijem travels by air, his boarding pass is routinely stamped

with the “SSSS” designation, indicating that he has been designated by Defendants as a

“known or suspected terrorist.”

       1284. He is routinely unable to check in online or print his boarding pass.

       1285. Rather Mr. Abunijem is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow him to board his flight, a process that

can take a very long time.

       1286. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

       1287. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Abunijem to routine, extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings – twice – at the TSA

security checkpoint and again at the gate, in public view and in front of his travel

companions.




                                            205
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 206 of 281




       1288. He is also often searched at the gate and subject to chemical residue testing in

public view.

       1289. In September 2018, Mr. Abunijem arrived at Sacramento International Airport

for a flight to Seattle, Washington with his wife.

       1290. He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

       1291. After presenting himself to the airline representative at the ticket counter, Mr.

Abunijem had to wait approximately 30 minutes before the airline representative obtained

clearance for Mr. Abunijem to board his flight.

       1292. The boarding pass given to Mr. Abunijem was stamped with the “SSSS”

designation, indicating that he was designated as a “known or suspected terrorist.”

       1293. The boarding pass given to Mr. Abunijem’s wife was not stamped with the

“SSSS” designation, because she purchased the ticket herself.

       1294. Once Mr. Abunijem arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1295. Mr. Abunijem was escorted to a different line than the other travelers passing

through the TSA security checkpoint and subjected to enhanced screening.

       1296. Mr. Abunijem was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint. The TSA screening lasted approximately 30 minutes.




                                              206
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 207 of 281




       1297. When Mr. Abunijem arrived at the gate, the ticketing agent had to make a call

to obtain clearance for Mr. Abunijem to board his flight.

       1298. At the gate and before being allowed to board, in public view, Mr. Abunijem

was once again subjected to an invasive and lengthy pat down, all his personal belongings

were searched again, and he and his belongings were subjected to another round of chemical

residue testing even though he had just cleared security with no issues at the TSA security

checkpoint.

       1299. Although Mr. Abunijem’s wife purchased her ticket separately and her

boarding pass did not contain the “SSSS” designation, Mr. Abunijem’s wife was subject to a

similar search after TSA agents learned that Mr. Abunijem and his wife were traveling

together.

       1300. Mr. Abunijem felt ashamed and humiliated, especially because he was treated

as a “known or suspected terrorist” in public view.

       1301. Mr. Abunijem’s wife felt ashamed and humiliated, especially because she was

treated as a “known or suspected terrorist” in public view.

       1302. On May 8, 2018, Mr. Abunijem arrived at Dubai International Airport for a

flight to San Francisco, California.

       1303. After presenting himself to the airline representative at the ticket counter, Mr.

Abunijem had to wait ninety minutes before the airline representative was able to obtain

clearance from Defendants so that Mr. Abunijem could board his flight.

       1304. After the airline representative hung up the phone with DHS, the

representative told Mr. Abunijem that the person on the phone was asking whether “Mr.

Abunijem looked suspicious and whether he had any weapons.”


                                             207
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 208 of 281




       1305. The airline representative further told Mr. Abunijem that the U.S. was

“considering not allowing Mr. Abunijem to fly.”

       1306. Mr. Abunijem was told that he “has a serious problem and his name was being

flagged.”

       1307. The boarding pass given to Mr. Abunijem was stamped with the “SSSS”

designation, indicating that he was designated as a “known or suspected terrorist.”

       1308. When Mr. Abunijem arrived at the gate, the ticketing agent had to make a call

to obtain clearance for Mr. Abunijem to board his flight.

       1309. When Mr. Abunijem arrived at San Francisco International Airport, he went to

an Automated Passport Control kiosk at customs. His declaration form had an “X” printed on

it with instructions to go to a customs agent.

       1310. Upon presenting his declaration form to a customs agent, Mr. Abunijem was

escorted to secondary inspection.

       1311. CBP officers questioned Mr. Abunijem about what he does for a living, whether

he lived in the U.S., how many children he had, among other questions. Mr. Abunijem was

also instructed to provide his U.S. address to CBP officers.

       1312. Additionally, Mr. Abunijem’s electronics were confiscated and not returned to

him until after more than 45 minutes. Upon information and believe, CBP officers

downloaded the information from them, without Mr. Abunijem’s consent.

       1313. All of Mr. Abunijem’s personal belongings were also searched.

       1314. Mr. Abunijem waited over two hours before he was finally allowed to leave the

airport.




                                             208
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 209 of 281




        1315. In 2009, Mr. Abunijem was traveling from Germany to the United States with

his wife and two young children.

        1316. After boarding their flight, Mr. Abunijem and his family heard their names

being announced on the plane. German authorities boarded the plane and told Mr. Abunijem

and his family that the “Americans did not want them to travel on the flight.”

        1317. Mr. Abunijem and his family were instructed to get their luggage and were

escorted back to the gate where they were told to book another flight.

        1318. Mr. Abunijem has filed multiple DHS TRIP inquiries. He has received multiple

letters as described in Paragraph 217 and was assigned multiple redress control numbers.

        1319. Upon information and belief, Mr. Abunijem remains on the federal terrorist

watchlist.

                                   Plaintiff Abdaljalil Hijaz
                                   (A Watchlisted Plaintiff)

        1320. Since approximately 2015, every time Abdaljalil Hijaz travels by air, his

boarding pass is routinely stamped with the “SSSS” designation, indicating that he has been

designated by Defendants as a “known or suspected terrorist.”

        1321. He is routinely unable to check in for his flights online or print his boarding

pass.

        1322. Rather Mr. Hijaz is directed each time to an airline representative, who then

contacts Defendants to obtain clearance to allow him to board his flight, a process that can

take a very long time.

        1323. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.
                                              209
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 210 of 281




       1324. When Mr. Hijaz scans his boarding pass at the entrance to the TSA security

checkpoint, the scanner indicates a red light.

       1325. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Hijaz to routine, extensive and lengthy screening, an invasive pat

down including, an extensive search of all his personal belongings and chemical residue

testing of his person and his belongings – twice – at the TSA security checkpoint and again

at the gate, in public view and in front of his travel companions.

       1326. Moreover, oftentimes the people that Mr. Hijaz travels with are also treated as

“known or suspected terrorists” just because they are traveling with him.

       1327. Whenever Mr. Hijaz arrives in the United States from international trips, upon

scanning his passport at the Automated Passport Control kiosk at customs, his declaration

form has an “X” printed on it with instructions to go to a Customs agent.

       1328. Additionally, whenever Mr. Hijaz has electronics in his possession, CBP

officers confiscate his electronics, and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

       1329. In August 2018, Mr. Hijaz, his wife, and his two children arrived at Miami

International Airport for an international flight to Jordan.

       1330. Mr. Hijaz and his family were unable to check-in online or at the airport kiosk.

Rather, they were directed to an airline representative for further assistance.

       1331. After presenting themselves to the airline representative at the ticket counter,

Mr. Hijaz had to wait approximately one hour before the airline representative obtained

clearance for Mr. Hijaz and his family to board their flights.




                                              210
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 211 of 281




       1332. Mr. Hijaz and his wife’s boarding passes were stamped with the “SSSS”

designation, indicating that they were designated as a “known or suspected terrorists.”

       1333. Once Mr. Hijaz and his family arrived at the TSA security checkpoint, they

provided their boarding passes and identification documents to the TSA agent stationed at

the entrance to the TSA security checkpoint.

       1334. The boarding pass scanner indicated a red light when Mr. Hijaz and his wife’s

boarding passes were scanned.

       1335. Mr. Hijaz and his family were escorted to a different line than the other

travelers passing through the TSA security checkpoint and subjected to enhanced screening.

       1336. Mr. Hijaz was subjected to an extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all his personal belongings

and chemical residue testing of his person and his belongings in public view at the TSA

checkpoint. Mr. Hijaz’s wife received the same treatment.

       1337. TSA agents searched the backpacks of Mr. Hijaz’s children.

       1338. Once Mr. Hijaz and his family finally arrived at the gate, approximately ten TSA

agents were waiting for them to arrive.

       1339. At the gate and before being allowed to board, in public view, Mr. Hijaz was

once again subjected to an invasive and lengthy pat down, all his personal belongings were

searched again, and he and his belongings were subjected to another round of chemical

residue testing despite the fact that he had just cleared security with no issues at the TSA

security checkpoint. Mr. Hijaz’s wife received the same treatment.

       1340. Mr. Hijaz felt humiliated and ashamed that he was being treated by the

government as a criminal and a “known or suspected terrorist.”


                                            211
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 212 of 281




       1341. Moreover, Mr. Hijaz felt ashamed and humiliated that his family was also

treated as criminals and “known or suspected terrorists” just because they were traveling

with him.

       1342. In September 2018, Mr. Hijaz and his family appeared at the Queen Alia

International Airport in Jordan to return home in to the United States.

       1343. Upon presenting themselves to the airline representative at the ticket counter,

the airline representative provided Mr. Hijaz and his family with their boarding passes to

Turkey. However, she was unable to obtain clearance to provide them with their boarding

passes to Miami. The airline representative told Mr. Hijaz and his family they needed to

obtain their second set of boarding passes in Turkey.

       1344. Upon arrival in Turkey, at the gate, airport security escorted Mr. Hijaz into a

special line where he was interrogated about where he was traveling to and whether he was

carrying any weapons.

       1345. Upon arriving at Miami International Airport and scanning his passport at the

Automated Passport Control kiosk at Customs, his declaration form was printed with an “X”

on it and instructions to go to a Customs officer.

       1346. Mr. Hijaz’s then-approximately-4-month-old baby also received an “X” printed

on the declaration form with similar instructions to go to a Customs officer.

       1347. CBP officers escorted Mr. Hijaz and his family into a back room where Mr. Hijaz

was interrogated about his travels, where he prays and which mosque he attends, whether

he knew the name of the Imam, and whether he knew other individuals who attend his

mosque.




                                             212
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 213 of 281




        1348. CBP officers confiscated Mr. Hijaz’s cell phone for approximately two to three

hours; and upon information and belief, downloaded the information from his phone without

his consent.

        1349. Upon information and belief, Mr. Hijaz’s family and travel companions are

subjected to the above described treatment because of their relation to him and because of

his status on Defendants’ federal terrorism watchlist.

        1350. Further, shortly after Mr. Hijaz was designated on the federal watchlist, his

personal bank account with Wells Fargo was suddenly closed without explanation.

        1351. Mr. Hijaz’s citizenship application has been delayed since March 2017 and

remains pending.

        1352. Upon information and belief, Mr. Hijaz’s citizenship application was

unreasonably delayed as result of his designation on the federal terrorism watchlist.

        1353. Upon further information and belief, if Mr. Hijaz applies for immigration

benefits for family members, those applications will be similarly delayed because of his

designation on the federal watchlist.

        1354. Upon information and belief, Mr. Hijaz remains on the federal terrorism

watchlist.

                                Plaintiff Abdallah Soueidan
                                 (A Watchlisted Plaintiff)

        1355. Every time Abdallah Soueidan travels by air, his boarding pass is routinely

stamped with the “SSSS” designation, indicating that he has been designated by Defendants

as a “known or suspected terrorist.”

        1356. He is routinely unable to check in for his flights online or print his boarding

pass.
                                            213
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 214 of 281




       1357. Rather Mr. Soueidan is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow him to board his flight, a process that

can take a very long time.

       1358. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.

       1359. When Mr. Soueidan scans his boarding pass at the entrance to the TSA security

checkpoint, the scanner indicates a red light.

       1360. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Soueidan to routine, extensive and lengthy screening, an invasive pat

down, an extensive search of all his personal belongings and chemical residue testing of his

person and his belongings – twice – at the TSA security checkpoint and again at the gate, in

public view and in front of his travel companions.

       1361. Moreover, oftentimes the people that Mr. Soueidan travels with are also

treated as “known or suspected terrorists” just because they are traveling with him.

       1362. Whenever Mr. Soueidan arrives in the United States from international trips,

two CBP officers check everyone’s passports as they deplane until they identify him.

       1363. The two CBP officers then escort him from the gate to an interrogation room

where he is detained and interrogated by FBI agents or CBP officers. All his personal

belongings are also searched.

       1364. Additionally, whenever Mr. Soueidan has electronics in his possession, CBP

officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.


                                             214
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 215 of 281




       1365. In or around the winter of 2017 or 2018, Mr. Soueidan arrived at Los Angeles

International Airport for an international flight to Lebanon.

       1366. Mr. Soueidan was unable to check-in online or at the airport kiosk. Rather,

they were directed to an airline representative for further assistance.

       1367. After presenting himself to the airline representative at the ticket counter, Mr.

Soueidan had to wait approximately one hour before the airline representative obtained

clearance for Soueidan to board his flight.

       1368. Mr. Soueidan’s boarding pass was stamped with the “SSSS” designation,

indicating that he was designated as a “known or suspected terrorist.”

       1369. Once Mr. Soueidan arrived at the TSA security checkpoint, he provided his

boarding pass and identification document to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1370. The boarding pass scanner indicated a red light when Mr. Soueidan’s boarding

pass was scanned.

       1371. Mr. Soueidan was escorted to a different line than the other travelers passing

through the TSA security checkpoint and subjected to enhanced screening.

       1372. Mr. Soueidan was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       1373. Once Mr. Soueidan arrived at the gate, approximately ten TSA agents were

waiting for him to arrive.




                                              215
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 216 of 281




       1374. At the gate and before being allowed to board, in public view, Mr. Soueidan

was once again subjected to an invasive and lengthy pat down, all his personal belongings

were searched again, and he and his belongings were subjected to another round of chemical

residue testing despite the fact that he had just cleared security with no issues at the TSA

security checkpoint.

       1375. Mr. Soueidan felt humiliated and ashamed that he was being treated by the

government as a criminal and a “known or suspected terrorist.”

       1376. When Mr. Soueidan reentered the United States following his trip to Lebanon,

two CBP officers were waiting at the gate to check everyone’s passports as they deplaned

until they identified him.

       1377. The two CBP officers then escorted him from the gate to an interrogation room

where he was detained and interrogated. All his personal belongings were also searched.

       1378. Mr. Soueidan was interrogated about the names of individuals he met with in

Lebanon, how often he travels to Lebanon, and whether he knows any members of ISIS.

       1379. Mr. Soueidan’s cell phone was confiscated, and upon information and belief,

Defendants downloaded the data from it without his consent.

       1380. On one occasion, due to unreasonably extensive searches and questioning, Mr.

Soueidan missed his outbound flight to Lebanon and was forced to rebook his ticket for the

next day.

       1381. Because of the above-described treatment, Mr. Soueidan has been routinely

humiliated in public and in front of his family and stigmatized as a criminal because of his

status on Defendants’ federal terrorist watchlist.




                                             216
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 217 of 281




        1382. Moreover, because of the above-described treatment, Mr. Soueidan, a

businessman, has cancelled multiple business trips causing him to lose business

opportunities.

        1383. Mr. Soueidan has filed multiple DHS TRIP inquiries. He received multiple

letters as described in Paragraph 217 and was assigned multiple redress control numbers.

        1384. Upon information and belief, Mr. Soueidan remains on the federal terrorist

watchlist.

                              Plaintiff Abdelmoniem Elamin
                                 (A Watchlisted Plaintiff)

        1385. Abdelmoniem Elamin has been subject to extensive searches and lengthy

delays while traveling since 2017.

        1386. Every time Mr. Elamin travels by air, his boarding passes for his flights are

routinely stamped with the “SSSS” designation, indicating that he has been designated by

Defendants as a “known or suspected terrorist.”

        1387. He is routinely unable to check in for his flights online or print his boarding

pass.

        1388. Rather Mr. Elamin is directed each time to an airline representative, who then

contacts Defendants to obtain clearance to allow him to board his flight, a process that can

take a very long time.

        1389. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.




                                            217
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 218 of 281




          1390. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Elamin to routine, extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all his personal belongings

and chemical residue testing of his person and his belongings – twice – at the TSA security

checkpoint and again at the gate, in public view and in front of his travel companions.

          1391. Moreover, oftentimes the people that Mr. Elamin travels with are also treated

as “known or suspected terrorists” just because they are traveling with him.

          1392. Whenever Mr. Elamin arrives in the United States from international trips, CBP

officers check everyone’s passports as they deplane until they find him.

          1393. The CBP officers then escort him from the gate to an interrogation room where

he is detained and interrogated. All his personal belongings are also searched.

          1394. Additionally, whenever Mr. Elamin has electronics in his possession, CBP

officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

          1395. On October 2017, Mr. Elamin arrived at Dulles International Airport for an

International Trip to Saudi Arabia to perform the Hajj pilgrimage.

          1396. Mr. Elamin was traveling with seven other travel companions, all of whom

witnessed the events that transpired that day described below.

          1397. He was unable to check-in online or at the airport kiosk. Rather, he was

directed to an airline representative for further assistance.

          1398. After presenting himself to the airline representative at the ticket counter, he

had to wait until the airline representative obtained clearance for Mr. Elamin to board his

flight.


                                               218
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 219 of 281




       1399. The boarding pass given to Mr. Elamin was stamped with the “SSSS”

designation, indicating that he was designated as a “known or suspected terrorist.”

       1400. Once Mr. Elamin arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1401. Mr. Elamin was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       1402. Mr. Elamin felt ashamed and humiliated, especially because he was treated as

a “known or suspected terrorist” in front of his travel companions and in public view.

       1403. Once Mr. Elamin arrived at the gate and before being allowed to board, Mr.

Elamin was once again subjected to an invasive and lengthy pat down, all of his personal

belongings were searched again, and he and his belongings were subjected to another round

of chemical residue testing despite the fact that he had just cleared security with no issues at

the TSA security checkpoint.

       1404. Upon his return to the United States, Mr. Elamin traveled by air from King

Abdulaziz International Airport in Saudi Arabia to Istanbul Atatürk Airport in Turkey.

       1405. When Mr. Elamin arrived in Istanbul, upon presenting himself to the airline

representative at the ticket counter, he had to wait until the airline representative obtained

clearance for Mr. Elamin to board his flight.

       1406. As a result, Mr. Elamin missed his return flight to the United States and was

forced to rebook another flight.


                                                219
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 220 of 281




       1407. When Mr. Elamin landed in Dulles International Airport, two CBP officers were

waiting for him at the gate and escorted him to secondary inspection where he was detained

and interrogated for approximately two hours.

       1408. Mr. Elamin was interrogated about whether he traveled to cities other than

Mecca and Medina and whether he has relatives in Saudi Arabia.

       1409. The CBP officers searched his luggage and seized his electronics. Upon

information and belief, Defendants downloaded and made copies of the information on his

electronic devices without his consent.

       1410. On another occasion, at Abu Dhabi International Airport, CBP officers

interrogated Mr. Elamin about his family members in Sudan, including his brother, and asked

for all of their names, whether they have children, and whether they travel out of Sudan.

       1411. CBP officers also interrogated Mr. Elamin about which mosque he attends and

asked about his activities at the mosque.

       1412. Mr. Elamin was interrogated for approximately two or more hours and he

missed his flight back to the United States. CBP officers set up a video camera and recorded

the interrogation.

       1413. Oftentimes, Mr. Elamin’s travel companions receive the same treatment just

because they are traveling with him.

       1414. On one occasion, Mr. Elamin arrived at Dulles International Airport for an

international trip to Jeddah, Saudi Arabia.

       1415. Mr. Elamin was traveling with six other travel companions.




                                              220
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 221 of 281




       1416. Upon presenting themselves to the airline representative at the Turkish

Airlines ticket country, the airline representative informed the group that they would all be

subjected to additional screening because of Mr. Elamin.

       1417. Once Mr. Elamin and his travel companions arrived at the TSA security

checkpoint, they provided their boarding passes and identification documents to the TSA

agent stationed at the entrance to the TSA security checkpoint.

       1418. Mr. Elamin and his travel companions were all subjected to an extensive and

lengthy screening, an invasive pat down including a search of their groin area, an extensive

search of all their personal belongings and chemical residue testing of their person and their

belongings in public view at the TSA checkpoint.

       1419. Mr. Elamin felt ashamed and humiliated in front of his travel companions

because they were treated as “known or suspected terrorists” because of their relationship

or association with him, and because they were traveling with him.

       1420. As a result of the above-described experiences, Mr. Elamin ensures those

traveling with him, including his family members, have separate reservations so they are not

subjected to enhanced screening and lengthy delays.

       1421. Some of Mr. Elamin’s travel companions have also told him that they did not

want to reserve their tickets on the same reservation as Mr. Elamin to avoid the potential of

being subjected to similar treatment by Defendants when they book their ticket on the same

reservation as Mr. Elamin.

       1422. Moreover, Mr. Elamin is discouraged from traveling because of his watchlist

designation.




                                             221
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 222 of 281




       1423. Mr. Elamin, as part of his sincerely-held religious beliefs, routinely

volunteered as a chaplain at Jessup Correctional Institution in Maryland (“Jessup”) where he

led prayers and mentored Muslim inmates.

       1424. Around three or four years ago, Mr. Elamin reapplied to continue these

services and was denied.

       1425. Prison officials informed Mr. Elamin that they denied him in connection with

his travel issues.

       1426. Upon information and belief, Jessup and its employees have access to

information on the TSDB, and upon filing his application to continue serving as a volunteer

chaplain at the institution, Jessup officials learned about Mr. Elamin’s status in the TSDB as

a “known or suspected terrorist.”

       1427. Upon information and belief, based on the information that Jessup officials

obtained in connection with Mr. Elamin from the TSDB, Jessup denied Mr. Elamin’s

application to continue volunteering as a chaplain at the facility.

       1428. Mr. Elamin has filed a DHS TRIP inquiry. He has received a letter as described

in Paragraph 217 and was assigned a redress control number.

       1429. Upon information and belief, Mr. Elamin remains on the federal terrorist

watchlist.

                                   Plaintiff Hassan Shirwa
                                  (A Watchlisted Plaintiff)

       1430. Hassan Shirwa is a 71-year-old United States citizen who regularly travels to

Kenya to visit his family.

       1431. Since approximately 2016, because of Mr. Shirwa’s watchlist designation, he is

regularly subjected to enhanced screening, unreasonable delays and interrogations.
                                              222
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 223 of 281




        1432. As of the date of this filing, Mr. Shirwa is on the No Fly List and as a result, he

is prohibited from flying through United States airspace.

        1433. As a result, he is currently stranded in Kenya, and unable to return home in

the United States.

        1434. Mr. Shirwa was first denied boarding to the United States in June 2016.

        1435. Upon arrival at Jomo Kenyatta International Airport in Kenya, he was told by

an airline representative that he was on the No Fly List and he was therefore not permitted

to fly back to his home in the United States.

        1436. Because of his designation as a “known or suspected terrorist” on the No Fly

List, Mr. Shirwa was stranded abroad in Kenya for approximately one year.

        1437. Mr. Shirwa was finally able to board a flight to return home in the United States

in June 2017.

        1438. However, when Mr. Shirwa arrived at his connection in Frankfurt Airport,

after presenting himself to the airline representative at the ticket counter, Mr. Shirwa had to

wait while the airline representative obtained clearance from DHS for Mr. Shirwa to board

his flight.

        1439. His boarding pass was stamped with the “SSSS” designation on it, indicating

that, although it appeared that he may have been removed from the No Fly List, he was still

designated by Defendants as a “known or suspected terrorist.”

        1440. When Mr. Shirwa finally arrived at Dulles International Airport, CBP officers

detained Mr. Shirwa for approximately one hour, searched his belongings, and forced him to

miss his flight to San Diego and spend the night.




                                                223
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 224 of 281




       1441. The next day, Mr. Shirwa returned to Dulles International Airport for his flight

to San Diego International Airport.

       1442. Mr. Shirwa was not able to check-in online or at the passport kiosk. Instead,

he was directed to an airline representative for further assistance.

       1443. At the ticket counter, after a delay, and after the airline representative

obtained clearance from Defendants, Mr. Shirwa received his boarding pass. Mr. Shirwa’s

boarding pass was stamped with the “SSSS” designation, indicating that he is designated as

a “known or suspected” terrorist.

       1444. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subjected Mr. Shirwa to routine, extensive and lengthy screening, an invasive pat

down, an extensive search of all his personal belongings and chemical residue testing of his

person and belongings at the TSA security checkpoint, and in public view.

       1445. On September 24, 2017, Mr. Shirwa arrived at San Diego International Airport

for an international trip to Kenya.

       1446. He was prevented from checking in online or at the kiosk in the airport.

Rather, he was directed to an airline representative for further assistance.

       1447. After presenting himself to the airline representative at the ticket counter, the

airline representative was unable to print Mr. Shirwa’s boarding pass.

       1448. Mr. Shirwa had to wait while the airline representative called Defendants in

order to obtain clearance to print his boarding pass and allow him to board his flight.

       1449. Mr. Shirwa was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal




                                             224
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 225 of 281




belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

          1450. Mr. Shirwa felt ashamed and humiliated, especially because he was treated as

a “known or suspected terrorist” in public view.

          1451. When Mr. Shirwa arrived at Dulles International Airport for his connecting

flight, he was forced to exit the sterile area of the airport and go through the TSA security

checkpoint again, despite having cleared security in San Diego with no issues.

          1452. Mr. Shirwa experienced the same treatment at Dulles International Airport

that he received at San Diego International Airport.

          1453. On December 15, 2018, Mr. Shirwa attempted to check-in online for his return

flight to the United States with Lufthansa.

          1454. When he was unable to check-in online, he called Lufthansa and the airline

representative informed Mr. Shirwa they did not know the reason why he was unable to

check-in.

          1455. Mr. Shirwa then located an unread letter in his e-mail account from DHS, dated

May 9, 2017, and stated, “It has been determined that [Mr. Shirwa] is on the U.S.

Government’s No Fly List because [he] has been identified as an individual who ‘may be a

threat to civil aviation or national security.”

          1456. Mr. Shirwa was forced to once again cancel his return flight to the United

States.

          1457. Since this ordeal, because of Mr. Shirwa’s watchlist designation and status on

the No Fly List, Mr. Shirwa is once again unable to return home in the United States and

remains stranded abroad.


                                                  225
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 226 of 281




        1458. Mr. Shirwa’s attorneys contacted the United States embassy in Kenya and the

Office of Overseas Citizen Services for assistance. However, both refused to assist in

repatriation and referred his attorneys to TSA.

        1459. Upon information and belief, Mr. Shirwa was added to the No Fly List after he

left the United States, and accordingly he was unable to board a flight to return to his home

in the United States.

        1460. Mr. Shirwa has filed a DHS TRIP inquiry. He has received a letter as described

in Paragraph 217 and was assigned a redress control number.

        1461. Upon information and belief, Mr. Shirwa remains on Defendants’ federal

terrorist watchlist and the No Fly List.

                                   Plaintiff Imad Kadoumi
                                  (A Watchlisted Plaintiff)

        1462. Every time Imad Kadoumi travels by air, his boarding passes for his flights are

routinely stamped with the “SSSS” designation, indicating that he has been designated by

Defendants as a “known or suspected terrorist.”

        1463. He is routinely unable to check in for his flights online or print his boarding

pass.

        1464. Rather Mr. Kadoumi is directed each time to an airline representative, who

then contacts Defendants to obtain clearance to allow him to board his flight, a process that

can take a very long time.

        1465. Once the airline representative receives clearance from Defendants allowing

him to board his flight, the airline representative prints his boarding pass with the “SSSS”

designation on it.



                                             226
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 227 of 281




       1466. Upon seeing the “SSSS” designation on his boarding pass, as protocol, TSA

agents then subject Mr. Kadoumi to routine, extensive and lengthy screening, an invasive pat

down including a search of his groin area, an extensive search of all of his personal

belongings and chemical residue testing of his person and his belongings – twice – at the TSA

security checkpoint and again at the gate, in public view and in front of his travel

companions.

       1467. Moreover, oftentimes the people that Mr. Kadoumi travels with are also

treated as “known or suspected terrorists” just because they are traveling with him.

       1468. Whenever Mr. Kadoumi arrives in the United States from international trips,

CBP officers check everyone’s passports as they deplane until they identify him.

       1469. The CBP officers then escort him from the gate to an interrogation room where

he is detained and interrogated. All of his personal belongings are also searched.

       1470. Additionally, whenever Mr. Kadoumi has electronics in his possession, CBP

officers confiscate his electronics and upon information and belief, download the

information from them, including his laptop and his cell phone, without his consent.

       1471. In September 2018, Mr. Kadoumi arrived at San Francisco International

Airport for an international flight to Istanbul, Turkey.

       1472. Mr. Kadoumi was unable to check-in online or at the airport kiosk. Rather, he

was directed to an airline representative for further assistance.

       1473. After presenting himself to the airline representative at the ticket counter, Mr.

Kadoumi had to wait for a period of time before the airline representative obtained clearance

for Mr. Kadoumi to board his flight.




                                              227
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 228 of 281




       1474. Mr. Kadoumi’s boarding pass was stamped with the “SSSS” designation,

indicating that he was designated as a “known or suspected terrorist.”

       1475. Once Mr. Kadoumi arrived at the TSA security checkpoint, he provided his

boarding pass and identification documents to the TSA agent stationed at the entrance to the

TSA security checkpoint.

       1476. The boarding pass scanner indicated a red light when Mr. Kadoumi’s boarding

passes was scanned.

       1477. Mr. Kadoumi was escorted to a different line than the other travelers passing

through the TSA security checkpoint and subjected to enhanced screening.

       1478. Mr. Kadoumi was subjected to an extensive and lengthy screening, an invasive

pat down including a search of his groin area, an extensive search of all his personal

belongings and chemical residue testing of his person and his belongings in public view at

the TSA checkpoint.

       1479. Once Mr. Kadoumi finally arrived at the gate, several TSA agents were waiting

for him to arrive.

       1480. At the gate and before being allowed to board, in public view, Mr. Kadoumi

was once again subjected to an invasive and lengthy pat down, all of his personal belongings

were searched again, and he and his belongings were subjected to another round of chemical

residue testing despite the fact that he had just cleared security with no issues at the TSA

security checkpoint.

       1481. Mr. Kadoumi felt humiliated and ashamed that he was being treated by the

government as a criminal and a “known or suspected terrorist.”




                                            228
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 229 of 281




       1482. In September 2018, upon his arrival at San Francisco International Airport

from his international trip to Turkey, two CBP officers waiting at the gate checked everyone’s

passports as they deplaned until they identified him.

       1483. When Mr. Kadoumi presented his passport, the two CBP officers escorted Mr.

Kadoumi to secondary inspection where he was detained and interrogated.

       1484. CBP officers searched Mr. Kadoumi’s personal belongings and his person.

       1485. On another occasion, Mr. Kadoumi arrived at Los Angeles International

Airport for an international flight.

       1486. When he arrived at his gate, Mr. Kadoumi was met by two CBP officers who

escorted him into a room.

       1487. CBP officer Gonzalez interrogated Mr. Kadoumi about the international and

domestic sources of donations for Mr. Kadoumi’s local mosque, his specific duties at the

mosque, whether he receives financial compensation from the mosque, Mr. Kadoumi’s

source of financial income, the types of charitable activities Mr. Kadoumi was engaged in

with relation to Syrian non-profit organizations based in the United States, his connections

with individuals who donated money to non-profit organizations assisting Syrians, and his

reasons for traveling to Kuwait, the United Arab Emirates, and Turkey.

       1488. Mr. Kadoumi felt humiliated that he was being treated as a criminal and as a

“known or suspected terrorist.”

       1489. On February 28, 2019, Mr. Kadoumi arrived at San Francisco International

Airport.

       1490. When he arrived at the gate, Mr. Kadoumi was met by two CBP officers who

escorted him into a room.


                                             229
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 230 of 281




          1491. CBP officer So demanded Mr. Kadoumi provide his cell phone and the

password to access it. CBP officer So threatened Mr. Kadoumi that if he did not comply, he

would temporarily confiscate Mr. Kadoumi’s electronic devices for a period of 20-25 days.

          1492. Mr. Kadoumi felt compelled to provide his password to his cell phone, and

upon information and belief, CBP officers downloaded information from his cell phone

without his consent.

          1493. When Mr. Kadoumi requested an explanation for their demand to access his

cell phone, he was told that, “he had been on the list since 2013 and had been through this 8

times.”

          1494. Because of Mr. Kadoumi’s watchlist designation, Mr. Kadoumi has also been

subjected to FBI interrogations.

          1495. Mr. Kadoumi has filed a DHS TRIP inquiry. He has not received a response.

          1496. Upon information and belief, Mr. Kadoumi remains on the federal terrorist

watchlist.

                                   Plaintiff Fadhel Al-Sahlani
                                    (A Watchlisted Plaintiff)

          1497. Imam Fadhel Al-Sahlani is a prominent Imam (religious leader).

          1498. Since approximately 2012, when Imam Al-Sahlani travels by air, his boarding

pass is routinely stamped with the “SSSS” designation, indicating that he has been

designated by Defendants as a “known or suspected terrorist.”

          1499. Imam Al-Sahlani is routinely unable to check in for his flights online or print

his boarding passes. He is routinely subjected to invasive and humiliating enhanced

screenings, unreasonable delays, and interrogations.



                                               230
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 231 of 281




       1500. For example, in or around 2013, Imam Al-Sahlani arrived at Istanbul Ataturk

International Airport for an international flight back to New York.

       1501. Imam Al-Sahlani was prevented from checking in online or at the kiosk in the

airport. Rather, he was directed to a representative at the airline check-in counter for

further assistance.

       1502. When he went to the airline representative at the counter to obtain his

boarding pass, the airline representative was unable to print it.

       1503. Imam Al-Sahlani had to wait until the airline representative called

Defendants to obtain clearance to print his boarding pass and allow him to board his flight.

       1504. When Imam Al-Sahlani finally received his boarding pass, it had the “SSSS”

designation on it, indicating that Defendants have labeled him as a “known or suspected

terrorist.”

       1505. Once Imam Al-Sahlani reached the security line and upon seeing the “SSSS”

designation on his boarding pass, TSA agents took him out of the line and required him to

undergo an extra security check.

       1506. Imam Al-Sahlani had to wait while TSA called a supervisor.

       1507. After the supervisor was called, Imam Al-Sahlani was taken to a private room

for a search. There, Imam Al-Sahlani was subjected to an extensive and lengthy screening

and an invasive full body pat down, including an extensive search of his person and

chemical testing.

       1508. This intensive screening caused Imam Al-Sahlani to experience humiliation

and physical pain, especially given his age.




                                               231
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 232 of 281




       1509. When Imam Al-Sahlani arrived at the gate, five or six TSA agents were

waiting for him.

       1510. Imam Al-Sahlani was taken aside and required to undergo a similar search of

his person and belongings before being allowed to board the flight, even though he had

already cleared security. This screening was conducted in public view.

       1511. Upon arrival in New York, before the passengers deplaned, the pilot

announced over the PA system that passengers should remain on the plane and stay seated.

       1512. Imam Al-Sahlani was approached by multiple agents at his seat on the plane.

       1513. After CBP agents confirmed Imam Al-Sahlani’s identity, the agents escorted

him out of the plane while all the plane passengers looked on.

       1514. The agents took Imam Al-Sahlani to a private room, where he was detained

for approximately two to three hours.

       1515. While in detention, the agents ordered Imam Al-Sahlani to give them the

passwords to his phones and computer and took Imam Al-Sahlani’s unlocked phones out of

his sight.

       1516. Defendants searched through Imam Al-Sahlani’s cell phones and other

electronics, and upon information and belief, downloaded the data from each device

without his consent.

       1517. The agents also made copies of all documents Imam Al-Sahlani had with him

and held his passport for the remainder of the time he was detained.

       1518. Prior to being released, Imam Al-Sahlani CBP officers interrogated him about

his Islamic religious beliefs and practices.




                                               232
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 233 of 281




        1519. Imam Al-Sahlani is routinely questioned by CBP officers about his religion

upon re-entering the country. These questions include questions about members of his

congregation, the funding sources for his religious foundation, and his work as an Imam

providing religious services.

        1520. On at least one occasion when Imam Al-Sahlani was taken off the plane for an

interrogation by FBI agents after an international flight, an FBI agent identified themselves

as an FBI agent and told Imam Al-Sahlani, “We know about you more than you know about

yourself.”

        1521. On at least one occasion when traveling internationally, Imam Al-Sahlani was

not permitted to walk to the TSA security line on his own and was required to be escorted

by an airline representative.

        1522. In or around 2018, Imam Al-Sahlani arrived at John F. Kennedy Airport for a

domestic flight to Detroit.

        1523. Once again Imam Al-Sahlani was unable to check in online or at the kiosk in

the airport. Rather, he was directed to a representative at the airline check-in counter for

further assistance.

        1524. When he went to the airline representative at the counter to obtain his

boarding pass, the airline representative was unable to print Imam Al-Sahlani’s boarding

pass. Instead, Imam Al-Sahlani was delayed until the airline representative called

Defendants in order to obtain clearance to print his boarding pass and allow him to board

his flight.

        1525. When Imam Al-Sahlani finally received his boarding pass, it had “SSSS”

printed on it.


                                             233
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 234 of 281




        1526. Once Imam Al-Sahlani reached the security line, TSA agents took him out of

the line and required him to undergo an extra security check.

        1527. Imam Al-Sahlani had to wait, in public view, until TSA called a supervisor.

        1528. After the supervisor was called, Imam Al-Sahlani was taken aside. There,

Imam Al-Sahlani was required to undergo an invasive full-body pat-down and chemical test

of his person and his belongings.

        1529. When Imam Al-Sahlani arrived at the gate, multiple TSA agents were waiting

for him.

        1530. Before being allowed to board the flight, Imam Al-Sahlani was taken aside

and required to undergo a search of his person and luggage that used an Airport Police Dog

even though he already cleared security. This humiliating screening was done in public

view.

        1531. When Imam Al-Sahlani arrived at Wayne County Airport for his return flight

on January 9, 2019, he experienced the same inability to obtain his boarding pass and had

to again wait for the airline representative to make a call-in order to print his boarding

pass.

        1532. Once he obtained his boarding pass, Imam Al-Sahlani was required to

undergo a full search of his body and person by agents upon going to the TSA Security Line.

        1533. Once he was allowed to go to the gate for his flight, he was required to

undergo another search, in public, before being permitted to board his flight.

        1534. Imam Al-Sahlani flies at least once a month to Detroit as part of his work as

an Imam. Imam Al-Sahlani experiences anxiety before each trip in anticipation of

heightened scrutiny because of his status on Defendant’s federal terrorist watchlist and is


                                             234
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 235 of 281




required to arrive at the airport far in advance of his flight so that he does not miss it due to

delays.

          1535. Imam Al-Sahlani applied for Global Entry and was denied. Upon information

and belief, his application and request for reconsideration were both denied due to his

inclusion on the federal terrorist watchlist.

          1536. This heightened scrutiny has caused Imam Al-Sahlani to feel afraid and

embarrassed to fly.

          1537. As a prominent Imam, Imam Al-Sahlani receives invitations to travel to

various countries but rejects such invitations, because he does not want to undergo delays,

detention, interrogation and public humiliation as he has in the past.

          1538. Imam Al-Sahlani has not performed hajj for six years, in large part because he

is afraid of traveling and does not want to go through the humiliation and detention that is

caused because of his status on Defendants federal terrorist watchlist.

          1539. Imam Al-Sahlani wants to perform hajj to fulfill his sincerely-held religious

beliefs but is unable to do so because of Defendants.

          1540. Imam Al-Sahlani wants to accept international travel invitations but is unable

to do so because of his status on Defendants’ federal terrorist watchlist.

          1541. Imam Al-Sahlani has been forced to miss multiple flights because of the

delays.

          1542. In one instance flying back from Toronto with family members, the delays

caused Imam Al-Sahlani to be unable to take his return flight back to the United States until

three days later.




                                                235
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 236 of 281




       1543. During those three days, Imam Al-Sahlani had to pay for a hotel and rental

car out-of-pocket for himself and his family members.

       1544. The later flight caused Imam Al-Sahlani to miss work, and members of his

congregation who sought his assistance were unable to do so for those three days.

       1545. When Imam Al-Sahlani travels with his wife and teenage child, they are also

unable to print their boarding passes and are forced to go through an intensive search of

their person and luggage. His family travel companions are treated like “known or

suspected terrorists” and subjected to substantially-similar screening process that Imam

Al-Sahlani receives.

       1546. Imam Al-Sahlani’s young children, including his child who has undergone

similar scrutiny when traveling with Imam Al-Sahlani, no longer feel comfortable and avoid

traveling with him, because they do not want to witness or be subjected to similar scrutiny.

       1547. In July 2014, Imam Al-Sahlani filed a DHS TRIP inquiry. He received a letter

in January 2015 as described in Paragraph 217 and was assigned a redress control number.

       1548. Upon information and belief, Imam Al-Sahlani remains on the federal terrorist

watchlist

                                           COUNT I                                             Formatted: Keep with next, Keep lines together


       FAILURE TO PROVIDE A HEARING AND PRE-DEPRIVATION NOTICE, OR                             Formatted: Keep with next, Keep lines together
     ALTERNATIVELY, POST-DEPRIVATION NOTICE IN VIOLATION OF THE FIFTH                          Formatted: No underline
              AMENDMENT RIGHT TO– PROCEDURAL DUE PROCESS                                       Formatted: No underline
             (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1005.1549.      The foregoing allegations are realleged and incorporated herein.

       1006.1550.      Defendants have placed Plaintiffs’ names in the Terrorist Screening

Database.


                                             236
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 237 of 281




       1007.1551.     Defendants have placed Plaintiffs’ names in TSA and CBP watchlists

generated by amorphous, unreliable, and high-risk targeting rules, such as the Quiet Skies or

Silent Partner Selectee List.

       1552. As described above, Plaintiffs have experienced economic, reputational, and

liberty harms due to the “invasive additional screening and other liberty-constraining

activities when they fly or reenter the country at a land border or port.” Elhady v. Piehota,

303 F. Supp. 3d 453, 464 (E.D. Va. 2017). Plaintiffs have been “detained for hours while they

are searched and questioned.” Id. This “screening has caused them to avoid travel.” Id.

       1008.1553.     As   described    above,   Plaintiffs   have   experienced    economic,

reputational, and liberty harms due to Defendants’ placement of their names on the

watchlist. Plaintiffs’ “status in the TSDB has been disseminated to third parties outside the

relevant federal agencies and airlines, including state and local authorities, courts, foreign

governments, gun sellers, banks, and car dealers.” Id. at 465. In fact, “[d]issemination of the

Watch List may be so widespread that it is tantamount to public disclosure, even if only

distributed to other government and private entities that need the information for official

objectives.” Id. at 465.

       1554. As described above, the stigma caused by Plaintiffs being placed on the

watchlist have caused Plaintiffs injury in the form of lost jobs and business opportunities,

failure to get approval for regulatory and employment licenses, the inability to obtain

approval to purchase a handgun, injury to social and familial relationships, refusal to serve

them at restaurants, harm, delay to the immigration status of family members, loss of bank

and Western Union accounts, and the inability to volunteer and provide religious education

and ministry at prisons.


                                             237
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 238 of 281




       1009.1555.     Each of the Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals only learned that he or she was placed on the

federal terrorist watchlist subsequent toafter being added on the federal terrorist watchlist

and seek to challenge such placementsuffering harm as a result.

       1010.1556.     Plaintiffs’ experiences are substantially similar to thousands of other

Americans and foreign nationals on the No Fly, Selectee, Expanded Selectee, TSDB, Quiet

Skies/Silent Partner Selectee, and other rules-based terrorist screening lists. Plaintiffs

experiences are indictive of Defendants’ current practices and policies.            Accordingly,

Plaintiffs bring this procedural due process challenge both as-applied to themselves, and

facially to the category of watchlisted persons who have not been arrested, charged, or

convicted of a terrorism-related offense.

       1011.1557.     Defendants’ actions as described above in refusing to provide Plaintiffs

and similarly situated American citizens, lawful permanent residents, and foreign nationals

with any notice of their placement has deprived Plaintiffs and similarly situated American

citizens, lawful permanent residents, and foreign nationals of constitutionally protected

liberty interests.

       1012.1558.     Defendants’ actions in nominating Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals to the federal terrorist

watchlist blatantly violate the requirement that “nominations must not be solely based on

race, ethnicity, national origin, religious affiliation, or First Amendment protected activities.”

49 U.S.C. § 114(h)(3).

       1013.1559.     Even when a nomination is not “solely” based on race, ethnicity,

national origin, religious affiliation, or First Amendment protected activities, Defendants


                                              238
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 239 of 281




consider and rely on those protected traits as factors supporting placement on federal

terrorist watchlists.     Defendants considered and relied upon one or more of these

impermissible factors in placing Plaintiffs and similarly American citizens, lawful permanent

residents, and foreign nationals on federal terrorist watchlists.

       1014.1560.       Defendants who contributed to the placement of Plaintiffs and similarly

situated American citizens, lawful permanent residents, and foreign nationals on the federal

terrorist watchlist knew that their actions violated clearly established federal and

constitutional law.

       1015.1561.       Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals have a liberty interest in traveling free from unreasonable

burdens within, to, and from the United States, including through land border crossings and

over U.S. air space. Defendants have deprived Plaintiffs and similarly situated American

citizens, lawful permanent residents, and foreign nationals of their right to travel on equal

terms as other travelers. Defendants have deprived Plaintiffs and other similarly situated

American citizensindividuals of their liberty interest in traveling free from unreasonable

burdens.

       1016.1562.       Plaintiffs and similarly situated American citizens, lawful permanent     Formatted: Indent: Left: 0", First line: 0.5"


residents, and foreign nationals have a right to be free from false government stigmatization

as individuals who are “known or suspected to be” terrorists, or who are otherwise

associated with terrorist activity.     Defendants have officially imposed on Plaintiffs and

similarly situated American citizens, lawful permanent residents, and foreign nationals the

stigmatizing label of “known or suspected terrorists” without a constitutionally adequate




                                              239
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 240 of 281




legal mechanism for doing so. Defendants have then disseminated the stigmatizing label to

foreign, state and local government entities and private partners.

       1563. Even Plaintiffs who are neither United States citizens nor present in the United

States have liberty rights. Ibrahim v. Dep't of Homeland Sec., 669 F.3d 983, 995 (9th Cir.

2012). Likewise, United States citizens in the United States have a legally protected interest

in their immediate family’s ability to freely travel to the United States. Trump v. Hawaii, 138

S. Ct. 2392, 2416 (2018).

       1017.1564.     Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals have a liberty interest in nonattainder (i.e. the interest

against being singled out for punishment without trial). Defendants’ actions have singled

out Plaintiffs and others similarly situated for punishments that include, but are not limited

to, inability to travel by air, unreasonable burdens placed upon travel, false association with

a list of individuals suspected of terrorism, handcuffing and detention as “prisoners,”

deprivation of the Second Amendment right to bear arms, unreasonable searches and

seizures of electronic devices, and discriminatory targeting on the basis of race, ethnicity,

national origin, and religion.

       1018.1565.     Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals have been burdened or prevented from boarding

commercial flights, have been burdened or prevented from entering the United States at land

border crossings, have had their bank or Western Union accounts closed, have been

prevented from making wire transfers at financial institutions, have had their citizenship

applications delayed indefinitely due to an “FBI name check,” and have lost lucrative




                                             240
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 241 of 281




economic opportunities, credentials, and employment. Plaintiffs have suffered from other

forms of financial harm.

       1019.1566.     All citizens, lawful permanent residents, and foreign nationals

adversely affected by the terrorist watchlist are entitled to a constitutionally adequate legal

mechanism that affords them full notice of the reasons and bases for their placement and a

meaningful opportunity to contest their continued inclusion. Yet Defendants have failed to

provide the most basic ingredients of due process, which is notice and a meaningful

opportunity to be heard.

       1020.1567.     Defendants shield their watchlist decisions from review, and do not

provide Plaintiffs or any similarly affected citizensindividuals an impartial tribunal which

can substantively evaluate the propriety of (a) the Defendants’ watchlist inclusion standards,

(b) Defendants’ adherence to their own standards, (c) the facts purportedly justifying

Plaintiffs’ placement on the TSDB, classification within the TSDB, or placement on other

federal terrorist watchlists, (d) the lack of opportunity to offer any clarification or correction

of those facts by Plaintiffs, or (e) the constitutionality of Defendants’ nomination or redress

processes.

       1568. By imposing on Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals the stigmatizing label of “known or suspected

terrorists” or “terrorists,” and by failing to provide Plaintiffs and others similarly situated

with a constitutionally adequate legal mechanism to challenge that designation, Defendants

have deprived Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals of their protected liberty interests.




                                              241
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 242 of 281




       1021.1569.    These protected liberty interests include military base access, TWIC

card access, and TSA Precheck and Global Entry Access. Although the Government claims

that these are non-reviewable security determinations, the reporting of information that

informs the security determination is not unreviewable and is actionable if done in an illegal

or discriminatory manner. Rattigan v. Holder, 689 F.3d 764, 767 (D.C. Cir. 2012). Moreover,

the Supreme Court has stated that the power to exclude civilians from a military base is

“limited by the Constitution and by the standard administrative requirement that ‘[the

Government] must not act in an arbitrary or capricious manner,’” United States v. Albertini,

472 U.S. 675, 694 (1985).

       1022.1570.    Defendants knew at the time they acted unlawfully that Supreme Court

precedent required that, whenever a citizen is deprived of a liberty interest, the federal

government must at least provide the deprived with some form of notice that a deprivation

occurred.

       1023.1571.    Defendants have violated the constitutional rights of Plaintiffs and

similarly situated American citizens, lawful permanent residents, and foreign nationals

without affording them due process of law. Defendants will continue to do so into the future

if Plaintiffs and similarly situated American citizens, lawful permanent residents, and foreign

nationals are not afforded the relief demanded below.

       1024.1572.    By placing Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals on the federal terrorist watchlist, Defendants

have caused them an actual, imminent and irreparable injury that cannot be undone through

monetary remedies.




                                             242
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 243 of 281




       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.




                                              243
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 244 of 281




                                           COUNT II                                                  Formatted: Normal
                                                                                                     Formatted: Font: Not Bold, No underline
DEPRIVATION OF PROTECTED LIBERTIES IN VIOLATION OF THE FIFTH AMENDMENT
                   RIGHT TO– SUBSTANTIVE DUE PROCESS
            (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1025.1573.      The foregoing allegations are realleged and incorporated herein.

       1026.1574.      Substantive   due    process    protects   Americans’     freedom    from

government action which infringes upon their fundamental constitutional rights.

Government action which infringes upon these rights cannot be arbitrary and must be

narrowly tailored to serve a compelling government interest.

       1027.1575.      Defendants have placed Plaintiffs on the watchlist despite lacking any

reasonable suspicion that Plaintiffs are known, suspected, or potential terrorists.

       1028.1576.      Plaintiffs’ experience is substantially similar to thousands of other

Americans and foreign nationals on the watchlist and reflects Defendants’ current practices

and policies.

       1029.1577.      Defendants’ actions in nominating Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals to the federal terrorist

watchlist blatantly violate the requirement that “’nominations’ must not be solely based on

race, ethnicity, national origin, religious affiliation, or First Amendment protected activities.”

49 U.S.C. § 114(h)(3).

       1030.1578.      Even when a nomination is not “solely” based on race, ethnicity,

national origin, religious affiliation, or First Amendment protected activities, Defendants

consider and rely on those protected traits as factors supporting placement on the federal

terrorist watchlist.     Defendants considered and relied upon one or more of these



                                              244
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 245 of 281




impermissible factors in placing Plaintiffs and similarly American citizens, lawful permanent

residents, and foreign nationals on the federal terrorist watchlist.

       1031.1579.     Defendants’ consideration of and reliance on the suspect classifications

of race, ethnicity, national origin, religious affiliation, as well as First Amendment protected

activities, throughout the federal terrorist watchlisting system has placed an undue burden

on Plaintiffs’ fundamental rights to be free from discrimination.

       1032.1580.     Defendants’ dissemination of the watchlist to the gun market in order

to hinder and preclude Plaintiffs’Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals from purchasing guns has placed an undue

burden on Plaintiffs’ fundamental right to keep and bear arms. See McDonald v. City of

Chicago, Ill., 561 U.S. 742, 778 (2010).

       1033.1581.     Defendants’ policy of subjecting Plaintiffs’ and similarly situated

watchlisted American citizens, lawful permanent residents, and foreign nationals to has

placed an undue burden on Plaintiffs’ fundamental right to be free from unreasonable

searches and seizures.

       1034.1582.     By    placing        Plaintiffs   and   similarly   situated   American

citizensindividuals on the federal terrorist watchlist, lawful permanent residents, and

foreign nationals on the federal terrorist watchlist, Defendants have placed an undue burden

on their fundamental right to travel domesticallyharmed them as explained in Count I, above.

       1035.    By placing Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals on the federal terrorist watchlist, Defendants

have placed an undue burden on their fundamental right to travel internationally.




                                                 245
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 246 of 281




       1036. By Plaintiffs and similarly situated American citizens, lawful permanent

residents, and foreign nationals on the federal terrorist watchlist, Defendants have treated

Plaintiffs like second-class citizens.

       1037.1583.     Defendants lack a compelling interest in placing innocent persons,

particularly those with no prior terrorism related criminal record and no probable cause for

suspicion of terrorism related crimes, on the federal terrorist watchlist.

       1038.1584.     Defendants’ watchlist lacks a compelling interest insofar as their true

purpose is to provide law enforcement with a tool to harass and intimidate American

Muslims, to track such persons, and coerce American Muslims into becoming informants.

       1039.1585.     Defendants’ watchlists are also not narrowly tailored insofar as the

federal terrorist watchlists are entirely and demonstrably ineffectual and obvious

alternatives exist. The Defendants, for example, have never placed a person who committed

a violent act of terrorism inside the United States on the No Fly List prior to the terrorist act.

       1040.1586.     Defendants’ actions in placing Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals on the federal terrorist

watchlist, officially imposing on Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals the stigmatizing label of “known or suspected

terrorists,” and widely disseminating the stigmatizing label to numerous governmental and

private partners, are arbitrary and capricious, shock the conscience, violate the decencies of

civilized conduct and are so brutal and offensive that they do not comport with the

traditional ideas of fair play and decency.

       1041.1587.     Because Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals have not been charged with any violent or


                                              246
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 247 of 281




terrorism-related crimes and are United States citizens, Plaintiffs challenge their placement

and the placement of others similarly situated American citizensindividuals on the federal

terrorist watchlist on a broad, as-applied basis.

       1042.1588.     Plaintiffs’ substantive due process challenge is also facial, as there are

no circumstances where their placement or the placement of others similarly situated on the

federal terrorist watchlist is narrowly tailored to achieve any compelling government

interest.

       1043.1589.     Defendants have thus violated Plaintiffs’ constitutional rights and the

constitutional rights of other similarly situated American citizens, lawful permanent

residents and foreign nationals without affording them due process of law. Defendants will

continue to do so into the future if Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals are not afforded the relief demanded below.

       1044.1590.     By placing Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals on the federal watchlist, Defendants have caused

them an actual, imminent and irreparable injury that cannot be undone through monetary

remedies.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                           COUNT III                                                 Formatted: No underline


 UNLAWFUL AGENCY ACTION IN VIOLATION OF THE ADMINISTRATIVE PROCEDURE
                    ACT, 5 U.S.C. §§ 702,§ 706 – DHS TRIP
           (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1045.1591.     The foregoing allegations are realleged and incorporated herein.

                                              247
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 248 of 281




       1046.1592.     Defendants’ placement of Plaintiffs on the terrorist watchlist,

placement of Plaintiffs on the Quiet Skies/Silent Partner Selectee List and other rules-based

terror targeting lists, and subsequent DHS TRIP and TSC determinations regarding Plaintiffs’

watchlist status, constitute agency actions.

       1047.1593.     Plaintiffs and other similarly situated American citizensindividuals are

not required to exhaust the DHS TRIP process in connection with any watchlist status, under

the holding in Darby v. Cisneros, 509 U.S. 137 (1993). See Gulet Mohamed v. Eric R. Holder, Jr.,

et al., Case No. 11-cv-00050, Dkt. 70 at 22 (E.D.V.A. 2011) (Exhibit 7See Mohamed v. Holder,

995 F. Supp. 2d 520, 533-35 (E.D. Va. 2014) (declining to require plaintiff to administratively

exhaust the DHS TRIP process under Fourth Circuit standards for judicial imposition of

administrative exhaustion in non-APA cases and noting that Congress did not mandate

exhaustion of DHS TRIP process); Crooker v. Transportation Sec. Admin., 323 F. Supp. 3d 148,

156 (D. Mass. 2018) (following Mohamed); Kovac v. Wray, 3:18-cv-110, Dkt. No. 12, --- F.

Supp. 3d ----, 2019 WL 1057935, at *12-14 (N. D. Tex. Mar. 5, 2019).

       1048.1594.     Defendants’ actions in placing Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals on the federal terrorist

watchlist, officially imposing on Plaintiffs the stigmatizing label of “known or suspected

terrorists,” disseminating the stigmatizing label to governmental and private partners, and

providing no constitutionally adequate avenue for redress, were and are arbitrary,

capricious, an abuse of discretion, otherwise not in accordance with law, and contrary to

constitutional rights, power, privilege, or immunity, and should be set aside as unlawful

pursuant to 5 U.S.C. § 706.




                                               248
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 249 of 281




       1049.1595.      Defendants’ actions in nominating Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals to the federal terrorist

watchlist blatantly violate the requirement that “’nominations’ must not be solely based on

race, ethnicity, national origin, religious affiliation, or First Amendment protected activities.”

49 U.S.C. § 114(h)(3).

       1050.1596.      Even when a nomination is not “solely” based on race, ethnicity,

national origin, religious affiliation, or First Amendment protected activities, Defendants

consider and rely on those protected traits as factors supporting placement on the federal

terrorist watchlist.     Defendants considered and relied upon one or more of these

impermissible factors in placing Plaintiffs and similarly American citizens, lawful permanent

residents, and foreign nationals on the federal terrorist watchlist.

       1051.1597.      Defendants have failed to provide Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals, who have been

unreasonably burdened or denied boarding on commercial flights due to their placement on

the federal terrorist watchlist, with a constitutionally adequate mechanism that (a) affords

them notice of the reasons and bases for their placement on the federal terrorist watchlist

and (b) provides a meaningful opportunity to contest their continued inclusion on the

federal terrorist watchlist. Defendants’ action is arbitrary, capricious, an abuse of discretion,

otherwise not in accordance with law, and contrary to constitutional rights, power, privilege,

or immunity, and should be set aside as unlawful pursuant to 5 U.S.C. § 706.

       1052.1598.      Because Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals do not present a security threat to commercial

aviation, Defendants’ actions as described above in including Plaintiffs and other similarly


                                              249
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 250 of 281




situated American citizensindividuals on the federal terrorist watchlist unreasonably

burdens or prevents them from boarding commercial flights or entering the United States

across the border, are arbitrary, capricious, an abuse of discretion, otherwise not in

accordance with law, and contrary to constitutional rights, power, privilege, or immunity,

and should be set aside as unlawful pursuant to 5 U.S.C. § 706.

       1053.1599.     By placing Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals on the federal watchlist, Defendants caused them

an actual, imminent and irreparable injury that cannot be undone through monetary

remedies.


       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                   COUNT IV                                                          Formatted: Don't keep lines together
    VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. §, 706 – NCIC
             (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1600. The foregoing allegations are realleged and incorporated herein.

       1601. Defendants share watchlist information, including Plaintiffs’ identities and

personal information, through the National Criminal Information Center (“NCIC”). The

Government’s purported authority for doing so is 28 C.F.R. § 20.20 and 28 U.S.C. § 534.

       1602. Neither 28 C.F.R. § 20.20 and 28 U.S.C. § 534, nor any other provision, allows

sharing non-criminal information such as watchlist information.

       1603. The Government lacks the statutory and regulatory authority to share

Plaintiffs’ information through the NCIC.


                                              250
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 251 of 281




       1604. The Government’s sharing of Plaintiffs’ information is contrary to rules

promulgated through notice and comment.

       1605. The Government’s sharing of Plaintiff’s authority is “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law,” in violation of 5 U.S.C.

§ 706(2)(A).

       1606. The Government’s sharing of Plaintiff’s authority is “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” in violation of 5 U.S.C.

§ 706(2)(A).

       1607. The Government’s sharing of Plaintiff’s authority is “without observance of

procedure required by law,” in violation of 5 U.S.C. § 706(2)(A).


       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                      COUNT V
           VIOLATION OF THE FIFTH AMENDMENT (– EQUAL PROTECTION)
                      TO THE UNITED STATES CONSTITUTION
               (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1054.1608.     The foregoing allegations are realleged and incorporated herein.

       1055.1609.     Defendants’ actions in placing Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals on the federal terrorist

watchlist, officially imposing on Plaintiffs the stigmatizing label of “known or suspected

terrorists,” disseminating the stigmatizing label to governmental and private partners, and

providing no constitutionally adequate avenue for redress, are discriminatory and constitute



                                              251
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 252 of 281




actions that target individuals for distinctive and adverse treatment on the basis of

constitutionally protected traits and activities.

       1056.1610.     As a matter of policy and official practice, Defendants consider at least

the following traits of Plaintiffs’ and similarly situated American citizens, lawful permanent

residents, and foreign nationals origin as factors for designation as terrorists and inclusion

in the TSDB and throughout the watchlisting system: national origination from Muslim-

majority countries, ethnic origination as Arab or Middle Eastern, travel to Muslim-majority

countries, travel on religious pilgrimages, learning Arabic, attending mosques, zakat

donations to Muslim charities, the wearing of typical Muslim dress, the frequency of Muslim

prayer, adherence to sharia law, affiliations with Muslim organizations, family relationships

to other Muslims, and associations with other Muslims.

       1057.1611.     Defendants selectively apply and enforce watchlist and screening

policies to individuals who appear to be or who are known or suspected to be Muslim or

Middle Eastern.

       1612. The disparate treatment between Muslims and non-Muslims is the result of

Defendants’ intentional and purposeful discrimination.

       1058.1613.     Plaintiffs’ experiences are substantially similar to thousands of other

Americans and foreign nationals on the watchlist and reflect Defendants’ current practices

and policies. Accordingly, Plaintiffs brings this equal protection challenge both as-applied to

themselves and facially.

       1059.1614.     Defendants’ actions in nominating Plaintiffs and similarly situated

American citizens, lawful permanent residents, and foreign nationals to the federal terrorist

watchlist blatantly violate the requirement that “’nominations’ must not be solely based on


                                              252
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 253 of 281




race, ethnicity, national origin, religious affiliation, or First Amendment protected activities.”

49 U.S.C. § 114(h)(3).

       1060.1615.       Even when a nomination is not “solely” based on race, ethnicity,

national origin, religious affiliation, or First Amendment protected activities, Defendants

consider and rely on those protected traits as factors supporting placement on federal

terrorist watchlists.     Defendants considered and relied upon one or more of these

impermissible factors in placing Plaintiffs and similarly American citizens, lawful permanent

residents, and foreign nationals on federal terrorist watchlists.

       1061.1616.       By placing Plaintiffs and similarly situated American citizens, lawful

permanent residents, and foreign nationals on federal terrorist watchlists, Defendants have

treated them like second-class citizens.

       1062.1617.       Many of the Watchlisted Plaintiffs have been subjected to

interrogations about their religious practices and beliefs, the answers of which, upon

information and belief, are factors that were considered in their inclusion to the federal

terrorterrorist watchlist.

       1063.1618.       Defendants’ above-described actions were motivated by the race,

ethnicity, national origin, religious affiliation, religious exercise, gender, and associations of

Plaintiffs and similarly situated American citizens, lawful permanent residents, and foreign

nationals.

       1064.1619.       Defendants’ above-described actions have had a discriminatory effect

upon and have disparately impacted Plaintiffs and similarly situated American citizens,

lawful permanent residents, and foreign nationals who are or who are perceived as Muslim,




                                              253
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 254 of 281




Arab, Middle Eastern, or otherwise belonging to a racial, ethnic, or national origin class

associated with Muslim-majority regions of the world.

       1065.1620.     Defendants’ above-described actions, policies, course of conduct, or

pattern of practice that mandate, permit, or consider the above-described discriminatory

treatment of Plaintiffs and similarly situated American citizens, lawful permanent residents,

and foreign nationals does not serve a compelling state interest or a legitimate or public

purpose, nor are they the least restrictive means or narrowly tailored to achieve any such

interest.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                          COUNT VVI                                                  Formatted: No underline


    VIOLATION OF THE UNITED STATES CONSTITUTION – FOURTH AMENDMENT
             (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1066.1621.     The foregoing allegations are realleged and incorporated herein.

       1067.1622.     Plaintiffs assert this Claim against both the official capacity Defendants

and against the Unidentified CBP and FBI Agents in their individual capacities who

personally directed or carried out the seizure, confiscation, searching, copying, downloading,

or uploading of information from Plaintiffs’ electronic devices.

       1068.1623.     On June 22, 2018, the Supreme Court recognized in Carpenter v. United

States, 138 S. Ct. 2206, 2214 (2018) that: “The Fourth Amendment protects ‘[t]he right of the

people to be secure in their persons, houses, papers, and effects, against unreasonable

searches and seizures.’ The basic purpose of this Amendment our cases have recognized, is


                                              254
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 255 of 281




to safeguard the privacy and security of individuals against arbitrary invasions by

governmental officials. ….... The Founding generation crafted the Fourth Amendment as a

response to the reviled ‘general warrants' and ‘writs of assistance’ of the colonial era, which

allowed British officers to rummage through homes in an unrestrained search for evidence

of criminal activity. Riley v. California, 134 S. Ct. 2473, 2494 (2014) …)…. Likewise in Riley,

the Court recognized the ‘immense storage capacity’ of modern cell phones in holding that

police officers must generally obtain a warrant before searching the contents of a phone.”

See also United States v. Kim, 103 F. Supp. 3d 32, 54 (D.D.C. 2015) (suggesting United States

v. Ickes, 393 F.3d 501 (4th Cir. 2005), holding that manual search of phone contents is not a

border search, is no longer good law in light of Riley ); U.S. v. Kolsuz, 890 F.3d 133, 141 (4th

Cir. 2018) (suggesting the question of manual searches is open and declining to reach it).

       1069.1624.     As a matter of official policy and practice, and particularly at the border,

Defendants seize and confiscate watchlisted individuals’ electronic devices. Defendants

routinely do not return the electronic devices to the watchlisted individuals for weeks or

months, if not longer. See CBP Directive No. 3340-049A) (Ex. 6)

       1070.1625.     As a matter of official policy and practice, and particularly at the border,

Defendants download and copy the contents of watchlisted individuals’ electronic devices

onto Defendants’ computers and upload those contents to Defendants’ watchlisting and

intelligence databases. Defendants then review that material in a manner which constitutes

a search for Fourth Amendment and other purposes.

       1071.1626.     As a matter of official policy and practice, Defendants’ utilize the

contents of watchlisted individuals’ electronic devices as a source of intelligence.

Defendants’ utilize the contents and contacts of watchlisted individuals’ electronic devices


                                              255
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 256 of 281




in order to launch investigations into and nominate associates of the watchlisted individual

for rules-based terrorist monitoring and inclusion in the federal terrorist watchlist.

       1072.1627.      Defendants lack consent, reasonable suspicion, probable cause, or a

warrant for their seizures and searches of watchlistees’ electronic devices.watchlisted

individuals’ electronic devices. See United States v. Kolsuz, 185 F. Supp. 3d 843, 853 (E.D. Va.

2016), aff’d, 890 F.3d 133 (4th Cir. 2018), as amended (May 18, 2018) (forensic search of

computer is border search requiring reasonable suspicion).

       1073.1628.      Defendants lack reasonable suspicion, probable cause, or arrest

warrants related to terrorism crimes that would justify Plaintiffs’ and similarly situated

American citizens, permanent residents, and foreign nationals’ inclusion on the federal

terrorist watchlist.

       1074.1629.      Defendants’ seizures and searches are unreasonable, unconstitutional,

and violate Plaintiffs and other watchlistees’watchlisted individuals’ reasonable

expectations of privacy.

       1075.1630.      Defendants and their officers and agents knew that their seizures and

searches were unreasonable, unconstitutional under settled federal and constitutional law,

and violated Plaintiffs and other watchlistees’watchlisted individuals’ reasonable

expectations of privacy at the time they carried out the searches and seizures.

       1076.1631.      Defendants have confiscated Plaintiffs’ electronic devices, copied the

devices’ contents, and searched and utilized those contents for intelligence and

investigations.   Defendants have engaged these seizures and searches solely because

Plaintiffs and similarly situated American citizens, permanent residents, and foreign

nationals are listed on the federal terrorist watchlist.


                                              256
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 257 of 281




       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                          COUNT VIVII                                                 Formatted: No underline


                        VIOLATION OF THE FIRST AMENDMENT
                 (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1077.1632.     The foregoing allegations are realleged and incorporated herein.

       1078.1633.     The First Amendment provides that “Congress shall make no law . . .

abridging the freedom of speech, or of the press; or the right of the people peaceably to

assemble.” U.S. Const. amend. I. These rights “are protected not only against heavy-handed

frontal attack, but also from being stifled by more subtle governmental interference.” Bates

v. City of Little Rock, 361 U.S. 516, 523 (1960). As the Supreme Court has explained,

“associational rights . . . can be abridged even by government actions that do not directly

restrict individuals' ability to associate freely.” Lyng v. Int'l Union, UAW, 485 U.S. 360, 367 n.5

(1988); see AFL-CIO v. FEC, 333 F.3d 168, 175 (D.C. Cir. 2003) (explaining that compulsory

“disclosure of political affiliations and activities can impose just as substantial a burden on

First Amendment rights as can direct regulation”); Baird v. State Bar of Ariz., 401 U.S. 1, 6-7

(1971) (explaining that “[w]hen a State seeks to inquire about an individual’s beliefs and

associations a heavy burden lies upon it to show that the inquiry is necessary to protect a

legitimate state interest”).

       1.      Defendants’ policies and practiceDefendants’ make watchlisted individuals’             Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                      Space After: 0 pt, Line spacing: Double, Numbered +
associations, including family, coworkers, friends, and religious congregants, the target of          Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
                                                                                                      Alignment: Left + Aligned at: 1.56" + Indent at: 1.81"

increased “known or suspected terrorist” scrutiny. Association alone forms the basis for


                                               257
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 258 of 281




placement on rules-based terrorist monitoring lists, for subjecting to enhanced terrorist

“SSSS” scrutiny at airports, for referring to secondary inspection and detention at land

borders, for delaying and denying visa and immigration benefits, for interrogation about the

watchlisted individuals’ practices, and for nomination to the TSDB.

       1079.1634.    Defendants’ policies and practices broadly permit suspicionless              Formatted: Indent: Left: 0", First line: 0.5", Space After:
                                                                                                   0 pt
searches and copying of Plaintiffs’ and similarly situated watchlisted individuals’ electronic

devices.    Defendants searches and copying are done in pursuit of intelligence and

information about Plaintiffs and similarly situated watchlisted individuals’ communications,

expressions, social media activities, and associations.      Defendants intend to use that

intelligence and information in order to single out Plaintiffs’ and similarly situated

watchlisted individuals’ families, friends, coworkers, coreligionists, and other associates for

investigation as potential terrorists.Their searches through Plaintiffs’ phones specifically

sought information about Plaintiffs’ expressed speech and personal associations, which are

protected by the First Amendment. See Alasaad v. Nielsen, No. 17-CV-11730-DJC, 2018 WL

2170323, at *23 (D. Mass. May 9, 2018) (watchlist plaintiffs properly asserted First

Amendment claim related to border searches of phones for associational or expressive

content).

       1080. The seizure, search, and copying of Plaintiffs’ and similarly situated

watchlisted individuals’ electronic devices gives the government possession of confidential

lists of Plaintiffs’ memberships and associations. Such “[c]ompulsory disclosure … ‘can

seriously infringe on privacy of association and belief guaranteed by the First Amendment,’

and can ‘have ... a profound chilling effect.’” Buckley v. Valeo, 424 U.S. 1, 64 (1976); accord

Perry v. Schwarzenegger, 591 F.3d 1126, 1135 (9th Cir. 2009).


                                             258
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 259 of 281




       1081.1.        Defendants have placed an undue burden on Plaintiffs’ and similarly

situated individuals’ First Amendment rights to expression and association.

       1082.1635.     Warrantless seizures and searches of the contents of Plaintiffs’

electronic devices, including information about Plaintiffs’ associations and affiliations,

impose a significant or substantial burden on watchlisted individuals’ First Amendment

rights to expression and association.

       1636. Defendants also intend to use that intelligence and information to single out

Plaintiffs’ and similarly situated watchlisted individuals’ families, friends, coworkers,

coreligionists, and other associates for investigation as potential terrorists.

       1637. The Government’s search thus “was carried out for the purpose of abridging

First Amendment freedoms,” United States v. Mayer, 503 F.3d 740, 753 (9th Cir. 2007).

       1083.1638.     Defendants’ actions in burdening Plaintiffs’ and similarly situated

watchlisted individuals’ First Amendment rights to expression and association are not

supported by a compelling or legitimate state interest, because. Defendants lack reasonable

suspicion, probable cause, or a warrant indicating that the watchlisted individuals are

terrorist criminals. Indeed, Plaintiffs were not being investigated for any specific reasons

concerning any specific threat or crime.

       1639. Defendants’ searching and seizing of electronic devices, along with other          Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                Space After: 0 pt, Line spacing: Double, Numbered +
policies and practices that Defendants apply to individuals on the watchlist, make              Level: 1 + Numbering Style: 1, 2, 3, … + Start at: 1 +
                                                                                                Alignment: Left + Aligned at: 1.56" + Indent at: 1.81"

watchlisted individuals’ associations, including family, coworkers, friends, and religious

congregants, the target of increased “known or suspected terrorist” scrutiny. Association

alone forms the basis for placement on rules-based terrorist monitoring lists, for subjecting

to enhanced terrorist “SSSS” scrutiny at airports, for referring to secondary inspection and


                                              259
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 260 of 281




detention at land borders, for delaying and denying visa and immigration benefits, for

interrogation about the watchlisted individuals’ practices, and for nomination to the TSDB.

       1640. Defendants have placed an undue burden on Plaintiffs’ and similarly situated

individuals’ First Amendment rights to expression and association.

       1084.1641.     Defendants actions in burdening Plaintiffs’ and similarly situated             Formatted: Indent: Left: 0", First line: 0.5", Space After:
                                                                                                      0 pt
watchlisted individuals’ First Amendment rights to expression and association are not

narrowly tailored, not the least restrictive means, and not in furtherance of an appropriate

form of means-end balancing to achieve a government interest.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                        COUNT VIIVIII

  VIOLATION OF THE UNITED STATES CONSTITUTION –FIFTH AMENDMENT – SELF-
                                INCRIMINATION
             (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1642. The foregoing allegations are realleged and incorporated herein.

       1643. The Fifth Amendment protects the fundamental individual right against self-

incrimination.

       1644. Defendants, after seizing Plaintiffs’ electronic devices, have forced them to

open those devices, including by providing passwords and by using biometric means such as

facial recognition or fingerprints.

       1645. Even if the Government had the right to seize and search a device, that does

not allow the Government to infringe upon an individual’s other rights. Matter of Residence

in Oakland, California, 354 F. Supp. 3d 1010, 2019 WL 176937, at *2 (N.D. Cal. Jan. 10, 2019).

                                              260
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 261 of 281




        1646. Requiring the providing of passwords or the use of biometric means such as

facial recognition or fingerprints violates the Fifth Amendment. Id. at *2-4.


        WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                       COUNT IX
                       VIOLATION OF THE SECOND AMENDMENT
                 (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

        1085.1647.     The foregoing allegations are realleged and incorporated herein.

        1086.1648.     The Second Amendment protects the fundamental individual right to

bear arms.

        1087.1649.     Defendants disseminate the federalist terrorist watchlist with the

knowledge and intent that law enforcement agencies and providers of background checks

will use the watchlist to screen gun purchasers, and thereafter block, hinder, or burden

watchlisted individuals in their attempt to obtain guns.

        1088.1650.     Even where a watchlisted individual possesses valid permits to possess

and carry firearms, their watchlist status is used as a basis to deny the purchase of firearms.

        1089.1651.     Multiple states and government entities have adopted or considered

laws and policies which bar individuals listed on the federal terrorist watchlist from

purchasing firearms.

        1652. As a resultThese laws and policies have been encouraged by Defendants.

        1090.1653.     Because of their watchlist status, Plaintiffs and similarly situated

individuals have been blocked, hindered, or burdened from exercising their right to bear

arms.
                                              261
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 262 of 281




       1091.1654.         Defendants have placed an undue burden on Plaintiffs’ and similarly

situated individuals’ Second Amendment right to own firearms.

       1092.1655.         Defendants’ actions in burdening Plaintiffs’ and similarly situated

watchlisted individuals’ Second Amendment right to own firearms are not supported by a

compelling or legitimate state interest, because Defendants lack reasonable suspicion,

probable cause, or a warrant that watchlisted individuals are terrorist criminals.

       1093.1656.         Defendants actions in burdening Plaintiffs’ and similarly situated

watchlisted individuals’ Second Amendment right to own firearms are not narrowly tailored,

not the least restrictive means, and not in furtherance of an appropriate form of means-end

balancing to achieve a government interest.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.

                                             COUNT VIIIX                                             Formatted: Font: Not Bold, No underline


             VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT –
                    GENERAL INTRUSION OF RELIGIOUS PRACTICE
                (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1094.1657.         The foregoing allegations are realleged and incorporated as though

fully set forth herein.

       1095.1658.         This Claim is asserted on behalf of all Plaintiffs against the official

capacity Defendants, as well as Unidentified FBI Agents and Unidentified CBP Agents in their

individual capacities.

       1096.1659.         The Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. §

2000bb et. seq., provides that Defendants “shall not substantially burden a person’s exercise


                                                262
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 263 of 281




of religion” unless that burden is the least restrictive means to further a compelling

governmental interest. 42 U.S.C. § 2000bb01(a) and (b).

       1097.1660.     An individual’s exercise of religion is substantially burdened when the

government conducts an intrusive inquiry into a person’s religious beliefs as a component of

official government action. Such inquiries place pressure on the person to modify or violate

their beliefs, and singles them out for disfavored treatment. As the Supreme Court once

recognized (with an analysis that applies with greater force post-RFRA), “It is not only the

conclusions that may be reached by the [Government] which may impinge on rights

guaranteed by the Religion Clauses, but also the very process of inquiry leading to findings

and conclusions.” N.L.R.B. v. Catholic Bishop of Chicago, 440 U.S. 490, 502 (1979). A Supreme

Court plurality later recognized that government action which requires “inquiry into the

recipient's religious views” including details of how “sectarian” those views are “is not only

unnecessary but also offensive. It is well established, in numerous other contexts, that courts

should refrain from trolling through a person'sperson’s or institution'sinstitution’s religious

beliefs.” Mitchell v. Helms, 530 U.S. 793, 828 (2000).

       1098.1661.     Defendants have policies and practices that require intrusive religious

inquiry of individuals scooped up in watchlisting surveillance. Plaintiffs have experienced

recurrent inquiry into the details of their religious practices, including how religious they

are, which subdivision sects of Islam they adhere to, how often they pray, which mosque they

attend, who else worships at the mosque, what Islam-related charities they support, what

they think of jihad, whether they follow sharia law, and other intrusive and detailed

questions about their faith. These lines of questioning have been conducted by Unidentified

CBP and FBI officers, pursuant to policies and practices promulgated by Defendants.


                                             263
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 264 of 281




       1099.1662.     Plaintiffs’ practice of Islam is substantially burdened by repeated and

intrusive Government inquiry into their beliefs, their religious communities, and their

religious practices. Plaintiffs are subjected to this disfavored treatment due to Defendants’

policies and practices that use the federal watchlisting system to target Muslim communities

and rely, at least in part, on the details of Plaintiffs’ adherence to the Muslim faith as factors

supporting inclusion on the federal terrorist watchlist.

       1663. Plaintiffs are subjected to less harsh treatment when they act against their

sincerely-held religious beliefs, such as by sending their children to Catholic school, or (as

one Plaintiff was specifically told by an unidentified CBP defendant), by declining to wear a

hijab. The result of this is that Plaintiffs are pressured by Defendants to go against their

sincerely-held religious beliefs.

       1100.1664.     Defendants’ placement of Plaintiffs on the federal terrorterrorist

watchlist or rules-based lists based upon Plaintiffs’ answers to these lines of questions is not

narrowly tailored to achieve any compelling governmental interest.

       1101.1665.     Defendants' unlawful actions have imposed and are imposing an

immediate and ongoing harm on Plaintiffs and have deprived them of constitutional and

statutory rights, resulting in damage to their reputations, and material and economic loss.

       1102.1666.     Absent injunctive, declaratory, and monetary relief against the

Defendants, Plaintiffs and similarly situated individuals have been and will continue to be

harmed.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief, in addition to damages, in the form described in the Prayer for Relief below,




                                              264
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 265 of 281




plus all such other relief this Court deems just and proper including costs and attorneys' fees

incurred in this action.

                                             COUNT IXXI                                                Formatted: No underline


     VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT – UMRAH/HAJJ
              (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
             (as to Plaintiffs Farid Sulayman and Faraz Siddiqui, only)

       1103.1667.         The foregoing allegations are realleged and incorporated as though

fully set forth herein.

       1104.1668.         This Claim is asserted on behalf of Plaintiff Farid Sulayman and Plaintiff

Faraz Siddiqui only.

       1105.1669.         The Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. §

2000bb et. seq., provides that Defendants "shall not substantially burden a person's exercise

of religion" unless that burden is the least restrictive means to further a compelling

governmental interest. 42 U.S.C. § 2000bb01 (a) and(b).

       1106.1670.         Plaintiff Farid Sulayman holds a sincere religious belief that he

personally performs Umrahumrah, a religious pilgrimage to Mecca, Saudi Arabia. See fn. 10,

above. As a religious leader, it is also part of his sincerely held religious beliefs that lead

Muslim pilgrims who wish to perform Umrahumrah. Plaintiff Farid Sulayman's compliance

with these beliefs is a religious exercise.

       1107.1671.         The Defendants’ actions in creating and then placing Plaintiff Farid

Sulayman on the federal terrorterrorist watchlist imposes a substantial burden on Plaintiff

Farid Sulayman's religious exercise and similarly situated individuals. Defendants have

imposed a burdensome, stigmatizing, and public screening process that is discouraging

Plaintiff Farid Sulayman from engaging in Umrahumrah in order to avoid the treatment

                                                 265
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 266 of 281




directed at him by Defendants. Defendants' actions have also damaged Plaintiff Farid

Sulayman's standing in his community thereby jeopardizing his ability to lead congregations

in the future. Plaintiff Farid Sulayman intends to lead Umrahumrah group in order to fulfill

his sincerely held religious beliefs.

       1108.1672.     Plaintiff Faraz Siddiqui desires to perform the hajj, a different form of

religious pilgrimage of Hajj to Saudi ArabiaMecca, see fn. 10, above, but has not done so out

of fear of the terrorist scrutiny and treatment he would receive by Defendants.

       1109.1673.     The federal terrorterrorist watchlist chills Plaintiff Farid Sulayman's

and Plaintiff Faraz Siddiqui’s religious exercise.

       1110.1674.     The federal terrorterrorist watchlist is not narrowly tailored to achieve

any compelling governmental interest.

       1111.1675.     The federal terrorterrorist watchlist is not the least restrictive means

of furthering Defendants' stated interests.

       1112.1676.     The United States government has no compelling interest in restricting

Plaintiff Farid Sulayman’s ability to lead pilgrims on a religious rite of passage, Umrahumrah.

       1113.1677.     The United States government has no compelling interest in restricting

Plaintiff Faraz Siddiqui’s ability to perform the Hajj pilgrimage.

       1114.1678.     Defendants' unlawful actions are imposing an immediate and ongoing

harm on Plaintiff Farid Sulayman and have caused Plaintiff Farid Sulayman emotional

distress, deprivation of his constitutional and statutory rights, damage to his reputation, and

material and economic loss.




                                              266
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 267 of 281




       1115.1679.         Defendants' unlawful actions are imposing an immediate and ongoing

harm on Plaintiff Faraz Siddiqui and have caused him emotional distress, deprivation of his

constitutional and statutory rights, and damage to his reputation.

       1116.1680.         Absent injunctive and declaratory relief against the Defendants and the

federal terrorterrorist watchlist, Plaintiff Farid Sulayman, Plaintiff Faraz Siddiqui, and

similarly situated individuals have been and will continue to be harmed. So long as

Defendants maintain the federal terrorterrorist watchlist, Plaintiff Farid Sulayman's and

Faraz Siddiqui's exercise of their religious beliefs, including performing Hajjhajj and leading

Umrahumrah, will be substantially burdened.

       WHEREFORE, Plaintiff Farid Sulayman and Plaintiff Faraz Siddiqui requests this

Honorable Court grant declaratory and injunctive relief, in addition to damages, in the form

described in the Prayer for Relief below, plus all such other relief this Court deems just and

proper including costs and attorneys’ fees incurred in this action.

                                            COUNT XXII                                              Formatted: No underline


             VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT –
                                  INFORMANT PRESSURE
                 (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
               (as to PlaintiffPlaintiffs John Doe, 2 and Hicham Hall only)

       1117.1681.         The foregoing allegations are realleged and incorporated as though

fully set forth herein.

       1118.1682.         This Claim is asserted on behalf of PlaintiffPlaintiffs John Doe 2 and

Hicham Hall only, against both the official capacity Defendants and the Unidentified FBI

Agents in their individual capacities.




                                                267
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 268 of 281




       1119.1683.     The Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. §

2000bb et. seq., provides that Defendants “shall not substantially burden a person’s exercise

of religion” unless that burden is the least restrictive means to further a compelling

governmental interest. 42 U.S.C. § 2000bb01(a) and (b).

       1684. Defendants have placed Plaintiff JohnPlaintiffs Doe 2 on the No Fly List and

Hicham on a Selective Screening list, at least in part, because of histheir Muslim religious

beliefs. John Doe’s presence on the No Fly ListAs explained above, this has impeded his

ability to travel, including to visit his fiancé, and subjected him to repeated and intrusive

questioning. In the course of investigations related to the No Fly Listcaused John Doe 2 and

Mr. Hall harm.

       1120.1685.     As explained above, FBI agents have interrogated Plaintiff John Doe

about his Muslim religious beliefs, including his prayer habitstold John Doe 2 and mosque

attendance. FBI agents have pressured Plaintiff John Doe to disclose who else he knows who

attends his mosque. FBI agents have told Plaintiff John Doe Mr. Hall that if he agreesthey

agree to accept money and work as an FBI Informant, histheir travel issues (including his No

Flyrespective watchlist status) will be resolved.

       1121. Plaintiff John Doe sincerely believes that accepting the Government’s offer of

cash and a removal of his travel restriction in order to serve as a mole in his Muslim

community violates his religious beliefs. Cultivating honesty, trust, integrity, good faith, and

fellowship are crucial to Plaintiff John Doe’s practice of Islam. Muslim teachings proscribe

bearing false witness against one’s neighbor by engaging in relationships and religious

practices under false pretenses, and betraying the trust and confidence of one’s religious

community.


                                             268
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 269 of 281




       1122. Defendants’ placement of Plaintiff John Doe on the No Fly List and recruitment

of him as an informant is pressuring him to infiltrate his religious community as a

government informant, and to spy and eavesdrop on other Muslims’ words and deeds—

regardless of whether his religious brothers and sisters are suspected of wrongdoing—and

then to report his observations to the FBI.

       1686. As explained above, working as an informant for the FBI would require John

Doe 2 and Mr. Hall to violate their sincerely-held religious beliefs.

       1123.1687.      Defendants have forced Plaintiff John Doe 2 and Mr. Hall into an

impermissible choice between obeying histheir sincerely -held religious beliefs regarding

honesty, integrity, trust and community, or continuing to experience Government

interrogations related to the Government-imposed punishment of placing himthem on the

No Fly Listwatchlist, which severely restricts his travel including his ability to visit loved

ones abroadimposes harm on Doe and Hall.

       1124.1688.      The No Fly List,Placing John Doe 2 and Mr. Hall on their respective

watchlists, and the related recruitment of John Doe 2 and Hall as a government

informantinformants against the Muslim community, imposes a substantial burden on and

chills histheir religious exercise.

       1125.1689.      Defendants’ placement of John Doe 2 and Mr. Hall on the No Fly List, or

on any subset of the federal terrorterrorist watchlist, is not narrowly tailored to achieve any

compelling governmental interest.

       1126.1690.      Defendants’ recruitment of John Doe 2 and Mr. Hall as an FBI

informantinformants is not narrowly tailored to achieve any compelling governmental

interest.


                                              269
                Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 270 of 281




       1127.1691.     Defendants' unlawful actions have imposed and are imposing an

immediate and ongoing harm on Plaintiff John Doe 2 and Mr. Hall and have deprived

himthem of histheir constitutional and statutory rights, resulting in damage to his

reputation, and material and economic loss.

       1692. None of the Defendants' unlawful actions are narrowly tailored to serve a

compelling Government interest.

       1128.1693.     Absent injunctive, declaratory, and monetary relief against the

Defendants, Plaintiff John Doe 2, Mr. Hall, and similarly situated individuals have been and

will continue to be harmed.

       WHEREFORE, Plaintiffs John Doe 2 and Hicham Hall request this Honorable Court

grant declaratory and injunctive relief, in addition to damages, in the form described in the

Prayer for Relief below, plus all such other relief this Court deems just and proper including

costs and attorneys’ fees incurred in this action.

                                       COUNT XIII
            VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION ACT –
                  INABILITY TO VOLUNTEER AT PRISONS OR JAILS
               (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)
                     (as to Plaintiff Abdelmoniem Elamin only)

       1694. The foregoing allegations are realleged and incorporated as though fully set

forth herein.

       1695. This Claim is asserted on behalf of Plaintiff John Doe Abdelmoniem Elamin

only, against only the official capacity Defendants.

       1696. The Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. § 2000bb et.

seq., provides that Defendants “shall not substantially burden a person’s exercise of religion”



                                              270
               Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 271 of 281




unless that burden is the least restrictive means to further a compelling governmental

interest. 42 U.S.C. § 2000bb01(a) and (b).

          1697. Defendants have placed Mr. Elamin on the national terrorist watchlist list, at

least in part, because of his Muslim religious beliefs. As explained above, this has caused

Elamin harm.

          1698. Upon information and belief, Defendants have disclosed Mr. Elamin’s status on

the national terrorist watchlist to third party prisons, including Jessup Correctional

Institution.

          1699. As the intended direct and proximate result of Defendants’ disclosure, Jessup

Correctional Institution no longer permits Mr. Elamin to volunteer and provide religious

services at the prison.

          1700. As explained above, these disclosures and the resulting inability for him to

volunteer at Jessup or other prisons or jails have interfered with Mr. Elamin’s sincerely-held

religious beliefs.

          1701. Defendants’ placement of Mr. Elamin on the national terrorist watchlist list is

not narrowly tailored to achieve any compelling governmental interest.

          1702. Defendants’ disclosure of Mr. Elamin’s status with Jessup Correctional

Institution is not narrowly tailored to achieve any compelling governmental interest.

          1703. Defendants’ disclosure of Mr. Elamin’s status with other prisons and jails is not

narrowly tailored to achieve any compelling governmental interest.

          1704. Defendants' unlawful actions have imposed and are imposing an immediate

and ongoing harm on Mr. Elamin and have deprived him of his constitutional and statutory

rights.


                                               271
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 272 of 281




       1705. None of the Defendants' unlawful actions are narrowly tailored to serve a

compelling Government interest.

       1706. Absent injunctive and declaratory relief against the Defendants, Mr. Elamin

and similarly situated individuals have been and will continue to be harmed.

       WHEREFORE, Plaintiff Abdelmoniem Elamin requests this Honorable Court grant

declaratory and injunctive relief, in addition to damages, in the form described in the Prayer

for Relief below, plus all such other relief this Court deems just and proper including costs

and attorneys' fees incurred in this action.                                                     Formatted: Font: Bold, Underline




                                               272
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 273 of 281




                                       COUNT XIXIV                                            Formatted: No underline


VIOLATION OF THE UNITED STATES CONSTITUTION – NON-DELEGATION DOCTRINE
            (Jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702)

       1129.1707.    The foregoing allegations are realleged and incorporated herein.

       1130.1708.    Congress has not provided the Executive Branch with intelligible

principles from which the Executive can implement its watchlist schemes regarding civil

aviation and national security.

       1131.1709.    Congress has not directed the Executive Branch to create the

watchlisting system, the Quiet Skies initiativeand Silent Partner initiatives, or any other

rules-based lists.

       1132.1710.    Congress has not directed the Executive Branch to utilize the

watchlisting system, the Quiet Skies initiativeand Silent Partner initiatives, or any other

rules-based lists to impose consequences upon innocent people, their family members, their

colleagues or other associates.

       1133.1711.    Congress has not authorized the Executive Branch to utilize the

watchlisting system to encourage financial institutions to close bank accounts or ban wire

transfers, to block or revoke security or employment credentials, to hinder or bar the

purchase of guns, to recruit informants, or to instruct state and local law enforcement to

detain individuals based on their watchlist status.

       1134.1712.    Congress has not authorized the Executive Branch to disseminate the

TSDB to governmental and private partners.




                                             273
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 274 of 281




       1135.1713.     Homeland Security Presidential Directive 6 is an illegal usurpation of

Congress’ legislative function and the executive order runs afoul of separation of powers

principles.

       1136.1714.     The Executive Branch’s assignment of the watchlisting function to TSC

violates Congress’ directive that the TSA should determine who belongs on federal terrorist

watchlists and the consequences that flow from being on those lists.

       1137.1715.     Congress has not delegated to TSA the authority to create a process that

can culminate in the removal of individuals from the TSDB.

       1138.1716.     In the alternative, Congress’s delegation to TSA to create a redress

process is defective because the Executive Branch has allocated watchlist authority in a

manner that prevents TSA from creating a meaningful redress process.

       1139.1717.     Congress has not granted the WLAC or TSC with statutory authority to

promulgate decisions regarding all policies, procedures, practices and instructions

pertaining to the federal terrorist watchlist, including, but not limited to: (1) watchlist

nomination and removal procedures; (2) specific criteria used to nominate persons to the

TSDB; (3) redress procedures; (4) vetting of information used to nominate persons to the

TSDB; and, (5) dissemination of a person’s designation in the TSDB to state and local

authorities, courts, foreign governments, private corporations, private contractors, airlines,

gun sellers, financial institutions, the captains of sea-faring vessels, and others.

       1140.1718.     As a result, Defendants have illegally acted beyond their authority.

       WHEREFORE, Plaintiffs requests this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other relief

this Court deems just and proper including costs and attorneys’ fees incurred in this action.        Formatted: Font: Bold, Underline



                                              274
Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 275 of 281




                   275
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 276 of 281




                                     Prayer for Relief


       WHEREFORE, Plaintiffs respectfully request:


       1.     A declaratory judgment that Defendants’ policies, practices, and customs

related to the federal terrorist watchlisting system violate the First Amendment, Second

Amendment, Fourth Amendment, and Fifth Amendment to the United States Constitution, as

well as the Religious Freedom Restoration Act and the Administrative Procedure Act;

       2.     A declaratory judgment that Defendants’ policies, practices, and customs

violate the non-delegation doctrine of the United States Constitution;

       3.     With respect to Counts V and VI, aA declaratory judgment that:

              a.     Defendants’ policies and practices violate the First and Fourth

                     Amendments by authorizing searches of Plaintiffs’ and similarly

                     situated travelers’ electronic devices, absent a warrant supported by

                     probable cause that the devices contain contraband or evidence of a

                     violation of immigration or customs laws, and without particularly

                     describing the information to be search;

              b.     Defendants violated Plaintiffs’ First and Fourth Amendment rights by

                     searching their electronic devices absent a warrant supported by

                     probable cause that the devices contained contraband or evidence of a

                     violation of immigration or customs laws, and without particularity

                     describing the information to be searched;

              c.     Defendants’ policies and practices violate the Fourth Amendment by

                     authorizing the confiscation of travelers’ electronic devices, for the


                                            276
     Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 277 of 281




            purpose of effectuating searches of those devices after travelers leave

            the border, absent probable cause that the devices contain contraband

            or evidence of a violation of immigration or customs laws; and

     d.     Defendants’Defendants violated the Fourth Amendment rights of

            Plaintiffs’ by confiscating their electronic devices for a period of

            unreasonable duration.

     e.     Defendants violated the Fifth Amendment by requiring Plaintiffs to

            provide passwords or biometric information for the purposes of

            unlocking their electronic devices.

4.   An injunction that:

     a.     requires Defendants to remedy the constitutional and statutory

            violations identified above, including the removal of Plaintiffs from any

            watchlist or database that burdens or prevents them from flying or

            entering the United States across the border; and,

     b.     requires Defendants to provide individuals designated on the federal

            terrorist watchlist with a legal mechanism that affords them notice of

            the reasons and bases for their placement on the federal terrorist

            watchlist and a meaningful opportunity to contest their continued

            inclusion on the federal terrorist watchlist;

5.   With respect to Counts V and VI, an injunction that:

     a.c.   Enjoins Defendants from searching electronic devices absent a warrant

            supported by probable cause;




                                   277
              Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 278 of 281




              b.d.   Enjoins Defendants (i) from confiscating travelers’ electronic devices,

                     to effectuate searches of those devices after travelers leave the border,

                     absent probable cause that the devices contain contraband or evidence

                     of a violation of immigration or customs laws, and (ii) in such cases,

                     promptly to seek a warrant to search the device;

              e.     EnjoinsEnjoins defendants from requiring individuals detained at the

                     border to provide passwords or biometric information for the

                     purposes of unlocking their electronic devices;

              c.f.   Requires Defendants to return Plaintiff Fadi Suliman’s phone or any

                     electronic devices or data Defendants’ took from any other Plaintiff;

                     and,

              d.g.   EnjoinsRequires Defendants to expunge all information gathered from,

                     or copies made of, the contents of Plaintiffs’ electronic devices, and all

                     of Plaintiffs’ social media information and device passwords. ; and

              h.     Prohibits the Government from sharing TSDB information through the

                     National Criminal Information Center.

       6.5.   A trial by jury;

       7.6.   An award of attorneys’ fees, costs, and expenses of all litigation, pursuant to

28 U.S.C. § 2412;

       8.7.   Damages for Defendants’ violations of their clearly established rights under

the U.S. constitution and federal law; and,

       9.8.   Such other and further relief as the Court may deem just and proper.

                                       JURY DEMAND


                                              278
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 279 of 281




       NOW COME Plaintiffs, by and through their undersigned counsel, and hereby demand

trial by jury of the above-referenced causes of action.

                                           CAIR LEGAL DEFENSE FUND


                                           BY:   /s/ Lena F. Masri
                                           LENA F. MASRI (20251) ‡
                                           GADEIR I. ABBAS (20257) ‡ *
                                           CAROLYN HOMER (20409) ‡
                                           AHMED M. MOHAMED (LA 36590) *β
                                           453 New Jersey Ave, SE
                                           Washington, DC 20003
                                           Phone: (202) 488-8787

                                           CAIR-FLORIDA

                                           By:   /s/ Thania Diaz Clevenger
                                           THANIA DIAZ CLEVENGER (FL 97301)β
                                           OMAR SALEH (FL 91216)β
                                           8076 N. 56th Street
                                           Tampa, Florida 33617
                                           Phone: (813) 514-1414
                                           Facsimile: (813) 987-2400

                                           CAIR-MICHIGAN

                                           BY:   /s/ Amy Doukoure
                                           AMY DOUKOURE (MI: P80461) β
                                           30201 Orchard Lake Road, Suite 260
                                           Farmington Hills, MI 48334
                                           Phone: (248) 559-2247

                                           CAIR-WASHINGTON

                                           By:     /s/ Amanda Misasi
                                           AMANDA MISASI (WSBA # 53699) α
                                           815 First Avenue, Suite 204
                                           Seattle, WA 98104
                                           Phone: (206) 367-4081

                                           CAIR-NEW JERSEY

                                           By:   /s/ Birjees Rehman
                                           BIRJEES REHMAN (NJ 136132015) α

                                             279
           Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 280 of 281




                                       4475 South Clinton Avenue, Suite 202
                                       South Plainfield, NJ 07080
                                       Phone: 908.668.5900
                                       Facsimile: 908-291-1367

                                       CAIR-MINNESOTA

                                       By:   /s/ Amir Malik
                                       AMIR MALIK (MN 0327426) β
                                       ELLEN A. LONGFELLOW (MN 160039) β
                                       2511 East Franklin Ave., #100
                                       Minneapolis, MN 55406
                                       Phone: (612) 206-3360
                                       Facsimile: (612) 206-3361

                                       PASTOR & ASSOCIATES, P.C.

                                       BY:     /s/ Caridad Pastor Cardinale
                                       CARIDAD PASTOR CARDINALE (20435) ‡
                                       525 E. Big Beaver Road Suite 206
                                       Troy, Michigan 48083
                                       Phone: (248) 619-0065

                                       ‡ Admitted to practice in this Court
                                       *Mr. Abbas is licensed in VA, not in D.C. Practice
                                       limited to federal matters.
                                       *Mr. Mohamed is licensed in LA & NY, not D.C.
                                       Practice limited to federal matters.
                                       β Pro Hac Admission Pending
                                       α Admitted Pro Hac


                                       Attorneys for Plaintiffs


Dated: August 29, 2018March 10, 2019




                                        280
             Case 8:18-cv-02415-PX Document 48-1 Filed 03/22/19 Page 281 of 281




                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2018March 10, 2019, I electronically filed the

foregoing document with the Clerk of the Court for the District of Maryland using the ECF

System, which will send notification to the registered participants of the ECF System as listed

on the Court’s Notice of Electronic Filing.

                                              /s/ Lena Masri




                                               281
